                                                                            Case 2:20-cv-02291-DOC-KES        Document 361 Filed 11/01/21   Page 1 of 113 Page
                                                                                                                  ID #:9248


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                                                                               7
                                                                               8                        UNITED STATES DISTRICT COURT
                                                                               9                       CENTRAL DISTRICT OF CALIFORNIA
                                                                              10
                                                                                    LA ALLIANCE FOR HUMAN                     Case No. 2:20-cv-02291
                                                                              11    RIGHTS, a non-profit corporation,
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                    JOSEPH BURK, GEORGE FREM,
Spertus, Landes & Umhofer, LLP




                                                                              12    WENZIAL JARRELL, CHARLES                  AMENDED AND SUPPLEMENTAL
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                                    MALOW, KARYN PINSKY,                      COMPLAINT FOR:
                                      LOS ANGELES, CA 90025




                                                                              13    LEANDRO SUAREZ, HARRY
                                                                                    TASHDJIAN, CHARLES VAN                    (1) Negligence
                                                                              14    SCOY, and GARY WHITTER,                   (2) Violation of Mandatory Duty
                                                                                    individuals,                                  (Cal. Gov’t Code § 815.6; Welf.
                                                                              15                                                  & Inst. Code § 17000)
                                                                                                        Plaintiffs,           (3) Violation of Cal. Civ. Code §
                                                                              16                                                  3490, et seq.
                                                                                          v.                                  (4) Violation of Cal. Civ. Code §
                                                                              17                                                  3501 et seq.
                                                                                    CITY OF LOS ANGELES, a                    (5) Inverse Condemnation/Violation
                                                                              18    municipal entity; COUNTY OF LOS               of Art. I § 19 of California
                                                                                    ANGELES, a municipal entity; and              Constitution
                                                                              19    DOES 1 through 200 inclusive,             (6) Waste of Public Funds and
                                                                                                                                  Resources (Cal. Civ. Proc. Code
                                                                              20                        Defendants.               § 526a)
                                                                                                                              (7) Violation of California Disabled
                                                                              21                                                  Persons Act (Cal. Civ. Code § 54,
                                                                                                                                  et seq.)
                                                                              22                                              (8) Violation of TITLE II of the
                                                                                                                                  Americans with Disabilities Act,
                                                                              23                                                  42 U.S.C. §§ 12131 et seq.
                                                                                                                              (9) Violation of Section 504 of the
                                                                              24                                                  Rehabilitation Act, 29 U.S.C. §§
                                                                                                                                  791 et seq.
                                                                              25                                              (10) Violation of Due Process and
                                                                                                                                  Equal Protection (42 U.S.C. §
                                                                              26                                                  1983; U.S. Const. amend.
                                                                                                                                  V/XIV)
                                                                              27                                              (11) Violation of Due Process –
                                                                                                                                  State Created Danger Doctrine
                                                                              28                                                  (42 U.S.C. § 1983; U.S. Const.
                                                                                                                                  amend XIV)

                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                            Case 2:20-cv-02291-DOC-KES   Document 361 Filed 11/01/21   Page 2 of 113 Page
                                                                                                             ID #:9249


                                                                               1
                                                                                                                         (12) Uncompensated Taking (42
                                                                               2                                            U.S.C. § 1983; U.S. Const.
                                                                                                                            amend. V/XIV)
                                                                               3                                         (13) Municipal Liability for
                                                                                                                            Unconstitutional Custom or
                                                                               4                                            Policy (42 U.S.C. §1983)
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                                                                                              AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                            Case 2:20-cv-02291-DOC-KES      Document 361 Filed 11/01/21        Page 3 of 113 Page
                                                                                                                ID #:9250


                                                                               1                                  INTRODUCTION
                                                                               2         1.     Nearly two years after this case was filed, and after hundreds of
                                                                               3   millions of dollars have poured into Los Angeles through federal and state
                                                                               4   pandemic relief, the devastation on the streets and the impact on both the housed
                                                                               5   and unhoused communities have only gotten worse. LA Alliance for Human
                                                                               6   Rights—of which both housed and unhoused are members—and Plaintiffs named
                                                                               7   herein filed this lawsuit to change the trajectory of the homelessness for the
                                                                               8   benefit of both communities.
                                                                               9         2.     The mortality rate of homeless individuals who die on the streets has
                                                                              10   leapt to five per day. That’s equivalent to a 9/11 event every two years, or a
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                                                                              11   Sandy Hook school shooting once a week. The 2020 point-in-time (PIT) count
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                                                                              12   showed 66,436 persons experiencing homelessness in Los Angeles County (a rise
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                                                                              13   of 12.7% from 2019), 41,290 of whom live in the City of Los Angeles (16.1%
                                                                              14   increase).1 This is in addition to 12 and 14 percent respective increases from the
                                                                              15   year before2 and doesn’t include the wave of people who have lost their jobs or
                                                                              16   otherwise become homeless due to Covid-19 because the 2021 PIT count was
                                                                              17   cancelled. Using the 2020 PIT numbers, there has been an increase in
                                                                              18   homelessness by approximately 60% since 2013 in both City and County, with
                                                                              19   the numbers of unsheltered homeless doubling.3 With the eviction moratorium
                                                                              20   expiring and Project Roomkey winding down, the numbers are likely to reach
                                                                              21   over 100,000 by next year.
                                                                              22
                                                                              23
                                                                              24         1
                                                                                            Los Angeles Homeless Services Authority (“LAHSA”), 2020 Greater
                                                                                   Los Angeles Homeless Count Results (Sept. 3, 2020),
                                                                              25   https://www.lahsa.org/news?article=726-2020-greater-los-angeles-homeless-
                                                                                   count-results.
                                                                              26          2
                                                                                            LAHSA, 2019 Greater Los Angeles Homeless Count – Data Summary
                                                                                   Total Point-In-Time Homeless Population by Geographic Areas (June 16, 2020),
                                                                              27   https://www.lahsa.org/documents?id=3467-2019-greater-los-angeles-homeless-
                                                                                   count-total-point-in-time-homeless-population-by-geographic-areas.pdf.
                                                                              28          3
                                                                                            Los Angeles Almanac, Homelessness in Los Angeles County 2020,
                                                                                   http://www.laalmanac.com/social/so14.php (last visited Oct. 21, 2021).
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                                                                                                  AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                            Case 2:20-cv-02291-DOC-KES        Document 361 Filed 11/01/21          Page 4 of 113 Page
                                                                                                                  ID #:9251


                                                                               1          3.     Plaintiffs filed this case to provide the City of Los Angeles (the
                                                                               2   “City”) and County of Los Angeles (the “County”) an opportunity to make a
                                                                               3   different choice—to work together under the auspices of this Court to overcome
                                                                               4   the finger-pointing and paralysis that have plagued this issue for decades. For a
                                                                               5   year, City and County politicians paraded to Court, professing a desire to end this
                                                                               6   crisis, and work with plaintiffs and the Court to reach a global resolution. The
                                                                               7   City and County have had every opportunity to reach a global resolution and take
                                                                               8   urgent action on the burgeoning human crisis of homelessness. Instead, the City
                                                                               9   and County continue their antics of blame-shifting and in-fighting over
                                                                              10   comprehensive solutions.
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                                                                              11          4.     Despite admitting that it is blatantly failing to provide sufficient
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                                                                              12   treatment, the County claims it is doing “enough” and “doing its job” but the
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                                                                              13   streets tell a different story: the mentally ill visibly suffer in intersections, parks,
                                                                              14   and sidewalks. Even the antiquated conservatorship laws can’t work as they
                                                                              15   were meant to when there is nowhere for conserved persons to go. Without
                                                                              16   medical supervision, the most severely affected cannot hold jobs or housing, and
                                                                              17   are left to wander and fend for themselves in a horrific cycle of degradation. And
                                                                              18   the number of those suffering has climbed with the increased prevalence of
                                                                              19   illegal narcotics, which are being used to self-medicate or are the cause of the
                                                                              20   mental decline in the first place. Available drug treatment beds are likewise
                                                                              21   woefully unobtainable while the drug addiction crisis rages, and our communities
                                                                              22   are ravaged. The County’s silos of care make it nearly impossible for anyone
                                                                              23   with a comorbidity (that is, suffering from more than one ailment—for example
                                                                              24   mental illness and drug addiction, which often go hand-in-hand) to obtain help.
                                                                              25   Los Angeles is one of only two counties in the state that does not have an
                                                                              26   integrated administration to address individuals suffering with both mental health
                                                                              27   and substance use disorders. This is particularly bad news given that a recent
                                                                              28   California Policy Lab study reported 50% of unsheltered individuals suffer from

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                                                                                                  AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                            Case 2:20-cv-02291-DOC-KES       Document 361 Filed 11/01/21      Page 5 of 113 Page
                                                                                                                 ID #:9252


                                                                               1   a trimorbidity of physical health, mental health, and substance abuse conditions.4
                                                                               2   The County has the obligation to provide for indigent mental and public health,
                                                                               3   and is woefully failing in its obligations.
                                                                               4         5.     Meanwhile the City, who has the primary land-use obligation to its
                                                                               5   constituents, struggles—and fails—to balance the needs of the housed and
                                                                               6   unhoused. The near-exclusive focus on building permanent supportive housing
                                                                               7   through Proposition HHH (“HHH”) in the last five years has led to lethal under-
                                                                               8   funding of emergency and interim shelter solutions which has in turn left
                                                                               9   thousands to decline and die on the streets without support from County services.
                                                                              10   Those individuals in turn, without services or shelter, languish and decline,
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                                                                              11   ultimately requiring increased long-term services as a result of unnecessary years
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                                                                              12   spent subject to the horrors of the street.
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                                                                              13         6.     Through this litigation, as a result of an agreement reached between
                                                                              14   the City and County in what all parties hoped was a sign of future cooperation, an
                                                                              15   additional 9,633 beds have been funded according to a recent court filing, with
                                                                              16   shared operating costs and provision of mainstream services.5 1,100 of these
                                                                              17   beds were already in the works through the Mayor’s “A Bridge Housing”
                                                                              18   program, 834 of these beds are permanent supportive housing projects which had
                                                                              19   been long-planned, and an undefined number (likely over one thousand) are
                                                                              20   “rapid rehousing” vouchers which don’t add to the bed inventory (but do help
                                                                              21   prevent homelessness). Still, this agreement undisputedly added thousands of
                                                                              22   much-needed interim beds to the inventory. Yet while this agreement was a
                                                                              23   welcome departure from the City and County’s historical squabbling over
                                                                              24
                                                                              25         4
                                                                                            Janey Rountree, Nathan Less, & Austin Lyke, Health Conditions Among
                                                                                   Unsheltered Adults in the U.S. 4, California Policy Lab (Oct. 2019), available at
                                                                              26   https://www.capolicylab.org/wp-content/uploads/2019/10/Health-Conditions-
                                                                                   Among-Unsheltered-Adults-in-the-U.S.pdf.
                                                                              27          5
                                                                                            Def. City of Los Angeles’ Quarterly Status Report Pursuant to the Mem.
                                                                                   of Understanding Between the Cty. of Los Angeles and the City of Los Angeles
                                                                              28   at 64-71, ECF No. 342.

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                                                                            Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21    Page 6 of 113 Page
                                                                                                                    ID #:9253


                                                                               1   responsibility and blame, and a needed infusion of interim shelter opportunities,
                                                                               2   it still did not lead to a comprehensive agreement which would relieve the
                                                                               3   suffering on the streets in a meaningful way. Shelter remains unattainable for
                                                                               4   most, services are inaccessible for most, and streets are unbearable for all.
                                                                               5         7.     Homeless encampments are entrenched throughout the City and
                                                                               6   County. With increased population density, unlimited property accumulation has
                                                                               7   fostered a proliferation of flea-infested rats and other vermin, which are largely
                                                                               8   responsible for the recent outbreaks of medieval diseases. Large items obstruct
                                                                               9   the free passage and use of the streets and sidewalks. Encampments have
                                                                              10   brought with them rampant drug sales and use, which in turn provide a platform
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                                                                              11   for violent assaults and property crimes. Crime both on and by homeless
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                                                                              12   residents has intensified. 6 A homeless individual is eight times more likely to be
                                      LOS ANGELES, CA 90025




                                                                              13   a victim or suspect of a crime than a housed person. In the City of Los Angeles,
                                                                              14   42 crimes involving homeless individuals are reported per day, over half of
                                                                              15   which are violent. 80-90% of crimes reported at a homeless encampment are
                                                                              16   violent.7 To date in Central Bureau Homicide (which encompasses Skid Row
                                                                              17   area), 40% of the homicides thus far this year have been “transient-related” both
                                                                              18   as suspects and victims. 8
                                                                              19
                                                                              20         6
                                                                                            Joel Grover & Amy Corral, A Homeless Man Punched Two People in the
                                                                                   Face, But Was Cited and Released, NBC Los Angeles, (Nov. 11, 2019, 4:00
                                                                              21   PM), https://www.nbclosangeles.com/news/local/hollywood-violent-homeless-
                                                                                   attacks-increase-video-564682831.html; Eric Leonard, Homeless Crime Jumps
                                                                              22   Nearly 50 Percent in Los Angeles, LAPD Says, NBC Los Angeles (Dec. 10,
                                                                                   2018, 4:52 PM), https://www.nbclosangeles.com/news/local/LAPD-Reports-
                                                                              23   Spike-in-Homeless-Crime-502407861.html; Zoie Matthew, Crimes Against the
                                                                                   Homeless Have Risen, and Advocates are Searching for Answers, Los Angeles
                                                                              24   Magazine (Oct. 15, 2019), https://www.lamag.com/citythinkblog/homeless-
                                                                                   crime/.7
                                                                              25            Sophie Flay & Grace Manthey, What is really going on with homeless
                                                                                   crime? We crunched the numbers, ABC Eyewitness News,
                                                                              26   https://abc7.com/feature/homeless-crime-los-angeles-data-response/10827722/
                                                                                   (last visited Oct. 21, 2021).
                                                                              27          8
                                                                                            Kevin Rector, On front lines of L.A.’s homicide spike, these detectives
                                                                                   race to solve mounting caseloads,
                                                                              28   https://www.latimes.com/california/story/2021-10-22/l-a-homicide-detectives-
                                                                                   face-mounting-caseloads (Oct. 22, 2021).
                                                                                                                             6
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                                                                            Case 2:20-cv-02291-DOC-KES       Document 361 Filed 11/01/21        Page 7 of 113 Page
                                                                                                                 ID #:9254


                                                                               1         8.     The multiplication of makeshift structures, garbage, human waste,
                                                                               2   and other detritus has created circumstances throughout the City that are
                                                                               3   crippling for local businesses, unlivable for residents, and deadly for those on the
                                                                               4   streets. The environmental impact from power-washing human waste and used
                                                                               5   needles into our oceans is unassessed and untold. Together the City and County
                                                                               6   spend over a billion dollars annually providing police, emergency, and support
                                                                               7   services to those living on the streets. And still, the tragedy unfolds.
                                                                               8         9.     As mental health affliction and drug addiction rates have risen over
                                                                               9   the last several decades, so has the cost of housing. Support structures for those
                                                                              10   on the streets have been stretched to the breaking point by burgeoning demands
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                                                                              11   and insufficient funding by local, state, and federal governments. The population
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                                                                              12   of people experiencing homelessness has nearly doubled since 2012 while
                                      LOS ANGELES, CA 90025




                                                                              13   sustainable short- and long-term solutions have been in short supply. Los
                                                                              14   Angeles County Department of Public Health has repeatedly warned the City that
                                                                              15   basic hygiene services are needed to maintain public health in or near homeless
                                                                              16   encampments—but those critical services have been in short supply. 9 With the
                                                                              17   start of the pandemic, there was a tremendous push to place bathrooms and
                                                                              18   sanitation stations near encampments to maintain hygiene, but those are rarely
                                                                              19   serviced and are now down to only 1/3 of their previous number at a time when
                                                                              20   homelessness continues to increase.10
                                                                              21         10.    Homeless advocates have put pressure on the City and County for
                                                                              22   years to permit public camping, allow the accumulation of piles of personal
                                                                              23   property on the streets, and generally make it more comfortable for people to live
                                                                              24   on the streets. But street-living is by no means more “comfortable,” because of
                                                                              25
                                                                                         9
                                                                                            Matt Stiles, As Homeless Crisis Worsens in L.A., The County Leans On
                                                                              26   City Officials To Act, Los Angeles Times (June 8, 2019, 5:04 PM),
                                                                                   https://www.latimes.com/local/lanow/la-me-homeless-county-letter-20190608-
                                                                              27   story.html.
                                                                                          10
                                                                                             Lexis-Olivier Ray, City Reverses Decision to Remove Washing Stations
                                                                              28   From Encampments Following L.A. Taco Investigation, L.A. Taco (Aug. 5,
                                                                                   2021) https://www.lataco.com/bathroom-stations-encampments-la-city/.
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                                                                            Case 2:20-cv-02291-DOC-KES       Document 361 Filed 11/01/21        Page 8 of 113 Page
                                                                                                                 ID #:9255


                                                                               1   significant health issues and inherent danger involved in being unsheltered.
                                                                               2   Enforcement of homeless-related crimes has been reduced, or in some cases
                                                                               3   eliminated, in the name of compassion. But allowing people to die on the streets
                                                                               4   isn’t compassionate; it’s cruel.
                                                                               5         11.    The massive build-up of property and tents has made the sidewalks
                                                                               6   unpassable: Karyn Pinsky must walk with her young son in a stroller in the
                                                                               7   middle of traffic. The Inner-City Arts Center must hire security to walk with
                                                                               8   students and staff to and from campus. Business owners have suffered as well—
                                                                               9   customers cannot access stores and are declining to patronize them due to
                                                                              10   conditions on the streets, and business owners are spending hundreds of
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                                                                              11   thousands of dollars on increased sanitation and security measures and cannot
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                                                                              12   maintain employees. Joseph Burk has lost tenants and hundreds of thousands of
                                      LOS ANGELES, CA 90025




                                                                              13   dollars in client accounts. Residents and workers throughout the area are
                                                                              14   confronted daily by disease, illicit drug sales and use, prostitution, and general
                                                                              15   filth and squalor. People are openly using drugs, urinating, and defecating in
                                                                              16   public. And while blocked sidewalks negatively affect the entire community,
                                                                              17   none are impacted as negatively as those using mobility devices such as Charles
                                                                              18   Van Scoy and Leandro Suarez, who cannot step down off the curb and walk
                                                                              19   around the blockage but instead are prevented from accessing entire areas of their
                                                                              20   community.
                                                                              21         12.    Residential and commercial buildings alike have endured fires from
                                                                              22   homeless camps, where makeshift heaters are used to keep people warm, open air
                                                                              23   fires are used to cook food, utility wiring is tampered with to provide electricity,
                                                                              24   and arsons arise out of drug or property disputes. 11 Businesses are being dropped
                                                                              25
                                                                              26         11
                                                                                            James Queally, Firecrackers. Molotov cocktails. Fire attacks have
                                                                                   shaken L.A.’s homeless community, Los Angeles Times (Oct. 18, 2019, 7:00
                                                                              27   AM), https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                   attacks-fire; Joel Grover & Amy Corral, Los Angeles Homeless Illegally Use Fire
                                                                              28   Hydrants to Fill Water Balloons, Bathe, Shave, NBC Los Angeles (Aug. 23,

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                                                                            Case 2:20-cv-02291-DOC-KES       Document 361 Filed 11/01/21      Page 9 of 113 Page
                                                                                                                 ID #:9256


                                                                               1   by insurance companies because of the fire risk associated with homeless
                                                                               2   encampments next to their buildings. 12 Shockingly, more than 50% of the fires
                                                                               3   responded to by Los Angeles Fire Department are homeless related, and one-third
                                                                               4   of those are intentionally started (arson).
                                                                               5         13.    The frequency of criminal conduct has increased so dramatically in
                                                                               6   some areas that law enforcement officials can respond only to the most egregious
                                                                               7   crimes—and often only after serious damage has been done. And those who are
                                                                               8   experiencing homelessness pay the highest price for this lawlessness. Violent
                                                                               9   assaults at encampments have doubled and robberies have increased 144%.13 As
                                                                              10   Rev. Andy Bales of Union Rescue Mission notes, “The crime on Skid Row has
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                                                                              11   skyrocketed . . .we used to have a rare occurrence of shootings. Now we have
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                                                                              12   them every week. People are suffering from robberies, rape, hunger, the cold or
                                      LOS ANGELES, CA 90025




                                                                              13   heat – you name it. I don’t know if there’s a place anyone can suffer more. It’s
                                                                              14   an absolute disaster.” 14 Year after year, assaults against homeless victims have
                                                                              15   increased, as the number of vulnerable subject to predators increases. In 2020
                                                                              16   nearly 20% of homicides in Los Angeles were on unhoused individuals.15 Crime
                                                                              17   involving homeless individuals (as either victim or suspect) is 8% of the crime in
                                                                              18   Los Angeles (11% of violent crime), but homeless people only make up about
                                                                              19
                                                                              20
                                                                              21
                                                                                   2019, 5:11 PM), https://www.nbclosangeles.com/investigations/Los-Angeles-
                                                                              22   Homeless-Illegally-Use-Fire-Hydrants-to-Fill-Water-Balloons-Bathe-Shave-
                                                                                   558051461.html.
                                                                              23          12
                                                                                             Joel Grover & Amy Corral, Your Insurance Is Canceled Because of
                                                                                   Homeless Tent Fires, NBC Los Angeles (Sept. 23, 2019, 11:55 AM),
                                                                              24   https://www.nbclosangeles.com/news/local/LA-Homeless-Encampment-Fires-
                                                                                   Insurance-Rates-Tents-Homelessness-561145811.html.
                                                                              25          13
                                                                                             Ethan Ward, Crime at tent encampments rises during the pandemic year,
                                                                                   Crosstown (May 4, 2021), https://xtown.la/2021/05/04/crime-homeless-
                                                                              26   individuals/.
                                                                                          14
                                                                                             Id.
                                                                              27          15
                                                                                             Eric Leonard, LA’s Staggering Murder Rate Linked to Gang Shootings
                                                                                   and Violence Against Homeless, NBC Los Angeles (Nov. 23, 2020, 8:01 PM),
                                                                              28   https://www.nbclosangeles.com/news/local/las-staggering-murder-rate-linked-to-
                                                                                   gang-shootings-and-violence-against-homeless/2469360/.
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                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 10 of 113 Page
                                                                                                               ID #:9257


                                                                             1   1% percent of the population. Random violent attacks by unhoused individuals
                                                                             2   have increased significantly, often due to drug consumption.16
                                                                             3         14.    Humans living on the streets and in their cars have no regular access
                                                                             4   to sanitation facilities, so trash and human waste end up in public spaces and
                                                                             5   ultimately our oceans. Businesses are regularly cleaning used syringes out of
                                                                             6   their drains; an untold number are washed into our waterways. The
                                                                             7   environmental impact of the homelessness crisis was recently underscored in a
                                                                             8   letter from the Environmental Protection Agency.17 Yet the governmental
                                                                             9   policies and inaction that perpetuate these pollutants continue unabated.
                                                                            10         15.    The City of LA’s Bureau of Sanitation regularly power-washes
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   streets, sidewalks, and other public spaces that have been occupied by
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                                                                            12   unsheltered individuals; but those clean-ups cost millions of dollars and are
                                      LOS ANGELES, CA 90025




                                                                            13   ineffective in proactively addressing the crisis.18 In 2018, it cost over $35 million
                                                                            14   to conduct almost 15,000 clean-ups of homeless encampments, yet the ultimate
                                                                            15   benefits both to the encampment residents and to surrounding community are
                                                                            16   minimal at best. The residents of the encampments are permitted to retain most
                                                                            17   of their belongings (health hazards included) back to the exact same area after the
                                                                            18   clean-up is conducted. Trash and human waste are often permitted to remain or
                                                                            19   are pushed into surrounding streets. Id. The City’s 2019-2020 budget increased
                                                                            20
                                                                            21
                                                                            22
                                                                            23         16
                                                                                           LAPD Says Random, Violent Attacks By Unhoused Residents Are on The
                                                                                 Rise, CBS Los Angeles (May 19, 2021, 11:32 PM),
                                                                            24   https://losangeles.cbslocal.com/2021/05/19/lapd-says-random-violent-attacks-by-
                                                                                 unhoused-residents-are-on-the-rise/.
                                                                            25          17
                                                                                           Letter from Andrew Wheeler, Administrator, U.S. Environmental
                                                                                 Protection Agency, to Gavin C. Newsom, Governor of California (Sept. 26,
                                                                            26   2019), https://www.epa.gov/sites/production/files/2019-
                                                                                 09/documents/9.26.19_letter-epa.pdf.
                                                                            27          18
                                                                                           Joel Grover & Amy Corral, Homeless Encampment Cleanups: Are
                                                                                 Millions of Tax Dollars Being Wasted?, NBC Los Angeles (May 13, 2019, 8:44
                                                                            28   AM), https://www.nbclosangeles.com/news/local/Los-Angeles-Homeless-
                                                                                 Encampments-Tent-City-Trash-Garbage-Waste-Cleanup-509849151.html.
                                                                                                                        10
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 11 of 113 Page
                                                                                                               ID #:9258


                                                                             1   funding for these programs by $6.45 million and the 2021-2022 budget for these
                                                                             2   programs is even higher.19
                                                                             3         16.     Even including the 2,000 beds in the Mayor’s A Bridge Home
                                                                             4   program (of which approximately 1,400 are currently open), and the
                                                                             5   approximately 5,000 beds added through the City/County agreement last year
                                                                             6   (80% of which are open), it is still insufficient to get ahead of the problem of
                                                                             7   28,852 individuals living unsheltered on the streets of Los Angeles. And does
                                                                             8   nothing to incentivize those who choose to be on the streets to come inside. An
                                                                             9   additional burden is placed on the defendants by many of the smaller neighboring
                                                                            10   municipalities, which have done very little to address their own crises and instead
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   rely on the City and County to pick up their slack. Yet instead of addressing
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                                                                            12   these issues head-on, defendants maintain their inadequate trajectory: “[A]n
                                      LOS ANGELES, CA 90025




                                                                            13   average of 207 people exit homelessness every day—while 227 people become
                                                                            14   homeless.”20 The problem continues to outpace the solutions.
                                                                            15         17.    Proposition HHH, a $1.2 billion City project, is now expected to net
                                                                            16   only 5,730 supportive units and 1,376 affordable units, at a staggering cost of an
                                                                            17   average of $578,339 per bed. 21 As the City Controller noted, “The projects are
                                                                            18   too expensive and too slow to make a meaningful difference for people living on
                                                                            19   our streets.”22 Likewise Measure H—a county-wide tax increase that was
                                                                            20   originally estimated to net $355 million in homeless-relief funding available per
                                                                            21
                                                                                       19
                                                                                           Emily Alpert Reyes & Benjamin Oreskes, L.A. expands cleanup teams
                                                                            22   for homeless encampments, vowing to be ‘less reactive’, Los Angeles Times
                                                                                 (June 28, 2019, 1:18 PM), https://www.latimes.com/local/lanow/la-me-ln-
                                                                            23   homeless-encampment-cleanups-plan-20190628-story.html; CITY OF LOS
                                                                                 ANGELES, DETAIL OF DEPARTMENT PROGRAMS: SUPPLEMENT TO THE 2021-22
                                                                            24   ADOPTED BUDGET VOLUME 346 (July 2021),https://cao.lacity.org/budget21-
                                                                                 22/2021-22%20White%20Book%20-%20Volume%202.pdf.
                                                                            25          20
                                                                                           See LAHSA, supra note 1, https://www.lahsa.org/news?article=726-
                                                                                 2020-greater-los-angeles-homeless-count-resultsx.
                                                                            26          21
                                                                                           Los Angeles Mayor, Summary of the HHH Pipeline,
                                                                                 https://www.lamayor.org/summary-hhh-pipeline       (last visited Oct. 21, 2021).
                                                                            27          22
                                                                                           Ron Galperin, It’s time for Los Angeles to pivot on HHH: Ron Galperin,
                                                                                 Los Angeles Daily News (Mar. 14, 2021, 12:32 AM),
                                                                            28   https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-
                                                                                 ron-galperin/.
                                                                                                                          11
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                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 12 of 113 Page
                                                                                                               ID #:9259


                                                                             1   year—is spread so thin it serves more to feed the County’s own bureaucracy than
                                                                             2   to make any significant dent in the crisis.23
                                                                             3         18.    Despite the magnitude of the problem, there is hope. Steps could be
                                                                             4   taken to provide safe sleeping spaces for the entire homeless population for a
                                                                             5   fraction of the funds currently devoted the homelessness crisis. Reno recently
                                                                             6   build an emergency and transitional shelter community which holds 600 beds at
                                                                             7   the cost of only $11,203 per bed and was built in less than 60 days. 24 Union
                                                                             8   Rescue Mission built a Sprung structure (large membrane tent) in a matter of
                                                                             9   months—the single tent houses more than 100 people at a cost of only $10,000
                                                                            10   per bed (including a six-month stay, security, and social services). 25 The City has
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                                                                            11   actually utilized this same structure in several places—yet for a variety of
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                                                                            12   reasons, the City’s cost was quadruple Union Rescue Missions’, at $42,000 per
                                      LOS ANGELES, CA 90025




                                                                            13   bed. 26 In Hawaii, the city of Honolulu is putting up large military-grade
                                                                            14   inflatable tents in select parks to quickly and effectively provide shelter when the
                                                                            15   demand exceeds supply, at a cost of $6,000 per bed which also includes a 90-day
                                                                            16   stay, security, and social services. 27 Tiny houses are being used in Seattle for
                                                                            17
                                                                            18         23
                                                                                           LAHSA, LAHSA Releases 2019 Housing Inventory Count (Sept. 19,
                                                                                 2019), https://www.lahsa.org/news?article=584-lahsa-releases-2019-housing-
                                                                            19   inventory-count (“On our present course, it will take far too long to build far too
                                                                                 few units of housing to effectively end this crisis” – Peter Lynn, executive
                                                                            20   director  LAHSA).
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                                                                                           Renard Decl. at 1, LA Alliance for Human Rights v. City of Los
                                                                            21   Angeles,   ECF 13-2, Case No. 21-55395.
                                                                                        25
                                                                                           Rev. Andy Bales and J. Michael Arnold, When it Comes to
                                                                            22   Homelessness, We Must Do More and We Must Do it Now, Los Angeles
                                                                                 Downtown News (Aug. 5, 2019),
                                                                            23   http://www.ladowntownnews.com/opinion/when-it-comes-to-homelessness-we-
                                                                                 must-do-more-and/article_6b08711a-b57e-11e9-850e-670a231aefa4.html.
                                                                            24          26
                                                                                           Joel Grover and Amy Corral, Inside the Massive Tent That Might be a
                                                                                 Partial Solution Homelessness in LA, NBC Los Angeles (Sept. 11, 2019, 1:45
                                                                            25   PM), https://www.nbclosangeles.com/news/local/los-angeles-la-homeless-
                                                                                 encampments-sprung-tents-shelter-skid-row/1965408/.
                                                                            26          27
                                                                                           Dan Nakaso, Pilot project aimed at reducing Oahu’s homeless will start
                                                                                 in Waipahu, Star Advertiser (Oct. 20, 2019, 5:28 PM),
                                                                            27   https://www.staradvertiser.com/2019/10/20/hawaii-news/pilot-project-aimed-at-
                                                                                 reducing-oahus-homeless-will-start-in-waipahu/; Allyson Blair, Giant inflatable
                                                                            28   tents for the homeless could be coming to a park near you, Hawaii News Now

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                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21        Page 13 of 113 Page
                                                                                                                ID #:9260


                                                                             1   $6,000 to $10,000 per house to create micro-villages as bridge housing. 28 Entire
                                                                             2   kits can be purchased to house a family of 4 in a large tent complete with
                                                                             3   furniture, refrigerator, heater, and electrical generator for a little more than
                                                                             4   $2,000 ($500 per bed). 29 Large “festival” tents that can be purchased for $400
                                                                             5   are being used by the city of Modesto to address its own homelessness crisis. 30
                                                                             6   3D printed 400-square foot homes can be built in less than 24 hours and cost only
                                                                             7   $4,000 to construct.31 Connect Homes produces fully integrated off-the-grid
                                                                             8   modular shelters for $20,000 to $30,000 per bed, with two-story options to
                                                                             9   densify. 32 Pallet shelters, small “tiny home” type emergency structures which
                                                                            10   can be built in less than an hour, only cost approximately $8,000 per two-bed unit
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   but the City of Los Angeles spent an astonishing $130,000 to place them due to
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                                                                            12   over-engineering and over-regulation; comparatively Sonoma County spent only
                                      LOS ANGELES, CA 90025




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                                                                                 (Nov. 27, 2018), https://www.hawaiinewsnow.com/2018/11/28/giant-inflatable-
                                                                            17   tents-homeless-could-be-coming-an-oahu-park-near-you/; Ashley Mizuo,
                                                                                 Honolulu opens short-term homeless shelter in Wahiawa, The Honolulu Star-
                                                                            18   Advertiser (May 14, 2021) https://www.yahoo.com/entertainment/honolulu-
                                                                                 opens-short-term-homeless-161100501.html.
                                                                            19          28
                                                                                           See Sharon Lee, Tiny House Villages in Seattle: An Efficient Response to
                                                                                 Our Homelessness Crisis, SHELTERFORCE: The Original Voice of Community
                                                                            20   Development (Mar. 15, 2019), Shareselfhelp.org/about-share-the-self-help-and-
                                                                                 recovery-exchange/history-vision-share-the-self-help-and-recovery-exchange/.
                                                                            21          29
                                                                                           Relief ShelterKits, Relief Tents: Concept Designs,
                                                                                 https://www.relieftents.com/relief-tents/shelterkit-living-supportkit/ (last visited
                                                                            22   Oct. 22,  2021).
                                                                                        30
                                                                                           Kevin Valine, Modesto homeless camp is filling up, but officials adapt to
                                                                            23   find room for more, The Modesto Bee (May 13, 2019, 4:58 PM),
                                                                                 https://www.modbee.com/news/local/article230345544.html.
                                                                            24          31
                                                                                           Aria Bendix, These 3D-printed homes can be built for less than $4,000
                                                                                 in just 24 hours, Business Insider (Mar. 12, 2019, 2:09 PM),
                                                                            25   https://www.businessinsider.com/3d-homes-that-take-24-hours-and-less-than-
                                                                                 4000-to-print-2018-9; Sharon Jayson, 3-D-pringed homes a concept turns into
                                                                            26   something solid, The Washington Post (Mar. 6, 2020, 3:00 AM),
                                                                                 https://www.washingtonpost.com/realestate/3d-printed-homes-a-concept-turns-
                                                                            27   into-something-solid/2020/03/05/61c8b0d2-36e4-11ea-bf30-
                                                                                 ad313e4ec754_story.html.
                                                                            28          32
                                                                                           Connect Shelters, https://www.connect-shelters.com/ (last visited Oct.
                                                                                 21, 2021).
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                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 14 of 113 Page
                                                                                                               ID #:9261


                                                                             1   $21,817 per unit, the City of Riverside spent only $17,000 per cabin, and Tacoma
                                                                             2   only $12,000, all for the same structure. 33
                                                                             3         19.    Using the average $10,000-per-bed number and extrapolating, it
                                                                             4   would cost roughly $289 million to provide a bed for every unsheltered person in
                                                                             5   the City; fortunately there is close to that amount ($233 million) of unallocated
                                                                             6   funds remaining in the Proposition HHH budget which even the City Controller
                                                                             7   agrees should be redirected to low cost interim housing. 34 Even more funds
                                                                             8   ($339 million) are currently dedicated to projects which are in pre-development,
                                                                             9   meaning they have not yet even started building. 35 Beyond the City of Los
                                                                            10   Angeles, it would take only an extra $172 million to provide a bed for every
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   unsheltered person in the rest of the County. 36 That’s only one-third of the
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                                                                            12   Measure H budget for just a single year (it’s a ten-year program). 37 Combined, it
                                      LOS ANGELES, CA 90025




                                                                            13   is less than one-eighth of the nearly $4 billion received by defendants for Covid-
                                                                            14   19 relief in the last two years, less than half of the $1,117,844,849 received by
                                                                            15   the City and County in Department of Housing and Urban Development
                                                                            16   (“HUD”) and state funding in 2019 and 2020 for homelessness relief, and doesn’t
                                                                            17   make a dent in the City and County’s combined 2021-2022 general budgets of
                                                                            18   $47.4 billion. “Money is not necessarily the issue, it’s about leadership.” 38
                                                                            19
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                                                                            21         33
                                                                                           Doug Smith, $130,0000 for an 8-foot-by-8-foot shed? That’s what L.A.
                                                                                 is paying in a bid to house the homeless, Los Angeles Times (Dec. 12, 2020, 5:51
                                                                            22   PM), https://www.latimes.com/california/story/2020-12-12/los-angeles-tiny-
                                                                                 homes-homeless.
                                                                            23          34
                                                                                           See Galperin, supra note 21, https://www.dailynews.com/2021/03/14/its-
                                                                                 time-for-los-angeles-to-pivot-on-hhh-ron-galperin/.
                                                                            24          35
                                                                                           See Los Angeles Mayor, supra note 20,
                                                                                 https://www.lamayor.org/summary-hhh-pipeline.
                                                                            25          36
                                                                                           See LAHSA, supra note 2, https://www.lahsa.org/documents?id=3467-
                                                                                 2019-greater-los-angeles-homeless-count-total-point-in-time-homeless-
                                                                            26   population-by-geographic-areas.pdf.
                                                                                        37
                                                                                           Fiscal Year 2020-21 Measure H and Homeless Housing, Assistance and
                                                                            27   Prevention (HHAP) Funding Recommendations (All Affected) (3 VOTES), (Sept.
                                                                                 15, 2020) https://homeless.lacounty.gov/wp-content/uploads/2020/11/9-15-20-
                                                                            28   Measure-H-Final-Approved-Brd-Ltr.pdf.
                                                                                        38
                                                                                           H’rg Transcript, March 19, 2020, ECF No. 39, at 33:8-9.
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                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 15 of 113 Page
                                                                                                               ID #:9262


                                                                             1         20.    And there are places to put these kinds of shelters. Hundreds of
                                                                             2   acres adjacent to LAX are owned and controlled by the City and could support
                                                                             3   thousands of beds. 39 Under Title V of the McKinney-Vento Homeless Assistance
                                                                             4   Act 40, the federal government is obligated to lease or deed underutilized federal
                                                                             5   property to local governments for the specific purpose of homeless assistance,
                                                                             6   such as the abandoned Federal Aviation Administration (FAA) building in
                                                                             7   Hawthorne. 41 The County’s General Hospital (LAC+USC) Building, with 1.5
                                                                             8   million square feet of space in the heart of East L.A., has been vacant for over a
                                                                             9   decade—the County at one point considered utilizing it for homeless assistance
                                                                            10   but is now evaluating it as a “mixed use” property.42 83 acres of County-owned
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                                                                            11   property exist at the old County “poor farm,” Rancho Los Amigos, a brilliant
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                                                                            12   19th-century solution whereby homeless housing and medical care was combined
                                      LOS ANGELES, CA 90025




                                                                            13   with a working farm to both feed the residents and sell for profit to support the
                                                                            14   project.43 The unused acreage has been approved for a new County office-park
                                                                            15
                                                                            16
                                                                            17
                                                                            18         39
                                                                                            Rob Eshman, Opinion: Imagine if L.A. put the same effort into housing
                                                                                 the homeless that it does Olympic athletes, Los Angeles Times: Opinion (Nov.
                                                                            19   10, 2019, 4:00 AM), https://www.latimes.com/opinion/story/2019-11-
                                                                                 10/homeless-crisis-housing-2028-olympics-los-angeles.
                                                                            20           40
                                                                                            42 U.S.C. § 11411.
                                                                                         41
                                                                                            Jeff Stein, Trump officials tour unused FAA facility in California in
                                                                            21   search for place to relocate homeless people, The Washington Post (Sept. 11,
                                                                                 2019, 5:49 PM), https://www.washingtonpost.com/business/2019/09/12/trump-
                                                                            22   officials-tour-unused-faa-facility-california-search-place-relocate-homeless-
                                                                                 people/.
                                                                            23           42
                                                                                            Jacqueline Ramírez, Second community meeting explores future of
                                                                                 former County Hospital, Boyle Heights Beat (Sept. 18, 2019),
                                                                            24   https://boyleheightsbeat.com/second-community-meeting-explores-future-of-
                                                                                 former-county-hospital/; Alex Medina, Community meeting to explore former
                                                                            25   County Hospital re-use, Boyle Heights Beat (June 12, 2019),
                                                                                 https://boyleheightsbeat.com/community-meeting-to-explore-former-county-
                                                                            26   hospital-re-use/.
                                                                                         43
                                                                                            See Historic American Buildings Survey, Los Angeles County Poor
                                                                            27   Farm (Rancho Los Amigos, Los Angeles County) Rancho Los Amigos Medical
                                                                                 Center,
                                                                            28   http://lcweb2.loc.gov/master/pnp/habshaer/ca/ca3500/ca3509/data/ca3509data.pd
                                                                                 f (last visited Oct. 21, 2021).
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                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21      Page 16 of 113 Page
                                                                                                               ID #:9263


                                                                             1   rather than repurpose it for its original intent.44 The County owns over 200 acres
                                                                             2   of the Los Angeles County Fairgrounds (“Fairplex”) in Pomona which, while
                                                                             3   currently leased to the non-profit Los Angeles County Fair Association, may be
                                                                             4   negotiated to support shelters. The L.A. City Controller has identified 13,948
                                                                             5   separate properties within the City owned by various public entities, many of
                                                                             6   which are vacant or underutilized. 45 Even small lots could support pallet houses
                                                                             7   individual tents, or “tiny home” communities with shared bathroom facilities.
                                                                             8   Plaintiffs have identified 166.58 acres of usable City- or County-owned property
                                                                             9   that could quickly be used for these very projects. 46
                                                                            10         21.    Board-and-care facilities—which offer housing, meals, and basic
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                                                                            11   assistance for those who need supportive care—are closing all over California at
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                                                                            12   rapid rates because it is becoming economically infeasible to remain open. 47 This
                                      LOS ANGELES, CA 90025




                                                                            13   has resulted in thousands of individuals becoming homeless in Los Angeles
                                                                            14   County in the last few years—and without such supportive care, their conditions
                                                                            15   inevitably decline. Those same facilities—which are paid only $35 per-night-
                                                                            16
                                                                                       44
                                                                                           Steven Sharp, Historic Rancho Los Amigos Campus Slated for
                                                                            17   Redevelopment, URBANIZE Los Angeles (June 24, 2020, 9:55 AM),
                                                                                 https://urbanize.city/la/post/historic-rancho-los-amigos-campus-slated-
                                                                            18   redevelopment.
                                                                                        45
                                                                                           Los Angeles City Controller, Publicly-Owned Properties,
                                                                            19   https://controllerdata.lacity.org/dataset/Publicly-Owned-Properties/bawf-
                                                                                 ixme/data (last visited Mar. 9, 2020); Los Angeles City Controller, Property
                                                                            20   Panel: A guide to publicly-owned properties in the City of Los Angeles,
                                                                                 https://lacontroller.maps.arcgis.com/apps/Cascade/index.html?appid=b6d7907c1
                                                                            21   18d4ea2a1dd96bc0425633d (last visited Mar. 9, 2020); Natalie Hoberman,
                                                                                 Despite housing crisis, LA lags in building its own sprawling land portfolio,
                                                                            22   TheRealDeal (May 28, 2019, 1:00 PM),
                                                                                 https://therealdeal.com/la/2019/05/28/despite-housing-crisis-la-lags-in-building-
                                                                            23   on-its-own-sprawling-land-portfolio/.
                                                                                        46
                                                                                           Mitchell Decl. Ex. D, at 104, ECF No. 239-1.
                                                                            24          47
                                                                                           Jocelyn Wiener, Overlooked mental health “catastrophe:” Vanishing
                                                                                 board-and-care-homes leave residents with few options, CalMatters: Projects
                                                                            25   (Apr. 15, 2019), https://calmatters.org/projects/board-and-care-homes-closing-in-
                                                                                 california-mental-health-crisis/; Loss of Board and Care Facilities is at Crisis
                                                                            26   Level: Undermines California Counties’ Efforts to Support Individuals with
                                                                                 Serious Mental Illness, Older Adults and Persons with Disabilities at Risk of
                                                                            27   Homelessness, Steinberg Institute, County of Los Angles, County Behavioral
                                                                                 Health Directors Association,https://namisantaclara.org/wp-
                                                                            28   content/uploads/2020/11/Loss-of-Board-and-Care-Facilities-is-at-Crisis-Level-
                                                                                 2.28.20.pdf (last visited Oct. 21, 2021).
                                                                                                                           16
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                                                                      Case 2:20-cv-02291-DOC-KES            Document 361 Filed 11/01/21         Page 17 of 113 Page
                                                                                                                 ID #:9264


                                                                             1   per-guest by government entities—could be subsidized by the City and County
                                                                             2   (known as “patch funding”) to prevent closures and encourage more to open. No
                                                                             3   infrastructure would need to be built, and the property owners would have greater
                                                                             4   financial incentive to stay open or open anew to provide beds, meals, and basic
                                                                             5   care. Similarly, the shared/collaborative housing model supported by
                                                                             6   organizations like SHARE!, Haaven, and others, boasts zero infrastructure costs
                                                                             7   with the added benefit of self-sustenance after a one-time $4,000-per-bed
                                                                             8   investment.48
                                                                             9         22.      For decades, the City and County have failed to dedicate the
                                                                            10   necessary funds or build the infrastructure to support the significant numbers of
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                                                                            11   unhoused persons. This failure of public will has been exacerbated by recent
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                                                                            12   legal decisions, including Martin v. City of Boise, in which the Ninth Circuit
                                      LOS ANGELES, CA 90025




                                                                            13   held, “‘[S]o long as there is a greater number of homeless individuals in a
                                                                            14   jurisdiction than the number of available beds in shelters,’ the jurisdiction cannot
                                                                            15   prosecute homeless individuals for ‘involuntarily sitting, lying, and sleeping in
                                                                            16   public.’” Martin v. City of Boise, 920 F.3d 584, 617 (9th Cir. 2019) (alterations
                                                                            17   in original omitted) (citation omitted), cert. denied, 140 S. Ct. 674 (2019). In
                                                                            18   December 2019, the Supreme Court declined to take up the Martin case on
                                                                            19   review. Despite the sweeping ruling in Martin, and huge increase in numbers of
                                                                            20   unsheltered in the City and County, neither entity has been able to pivot their
                                                                            21   strategy to address the decision, and the crisis has increased exponentially. This
                                                                            22   has had a profoundly negative affect on both the homeless community and Los
                                                                            23   Angeles as a whole.
                                                                            24         23.      While this is not a natural disaster, it is a disaster nonetheless, and it
                                                                            25   should be treated that way. The only way to address this crisis with the urgency
                                                                            26   it deserves is an emergency response—providing immediate shelter for all,
                                                                            27   increasing necessary outreach, services, and treatment, and abating the
                                                                            28
                                                                                       48
                                                                                            See para. 70 infra.
                                                                                                                 17
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 18 of 113 Page
                                                                                                               ID #:9265


                                                                             1   degradation of our cities and communities, for the good of everyone. The City
                                                                             2   saw the success of this very model at multiple locations in Los Angeles so far,
                                                                             3   including, inter alia, the Venice Boardwalk, Echo Park (though the clearance
                                                                             4   could have been handled more effectively), McArthur Park, Rose/Penmar, and
                                                                             5   CD11 underpasses. It can be done cheaply, quickly, and compassionately, and it
                                                                             6   must be done now.49
                                                                             7                      I.    JURISDICTION AND VENUE
                                                                             8         24.    This action is brought pursuant to 42 U.S.C. § 1983, the Americans
                                                                             9   with Disabilities Act (42 USC §§12131 et seq.) (“ADA”), Section 504 of the
                                                                            10   Rehabilitation Act of 1973 (29 U.S.C. § 794 et seq.) (“Section 504”), and the
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   Fifth, and Fourteenth Amendments of the United States Constitution. This Court
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                                                                            12   has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, 1367, 2201 and 2202.
                                      LOS ANGELES, CA 90025




                                                                            13         25.    This court has supplemental jurisdiction over Plaintiffs’ state law
                                                                            14   claims pursuant to 28 U.S.C. § 1367, as it arises from the same case or
                                                                            15   controversy as Plaintiffs’ federal claims.
                                                                            16         26.    All of the actions and omissions complained of occurred in the
                                                                            17   Central District of California. Therefore, venue is proper in this District. 28
                                                                            18   U.S.C. §1331.
                                                                            19                      II.    GENERAL ALLEGATIONS
                                                                            20         27.    Plaintiffs are informed and believe, and thereon allege, that, at all
                                                                            21   times herein mentioned, each of the Defendants and Does 1-20 inclusive was the
                                                                            22
                                                                                       49
                                                                                          Plaintiffs file this amended complaint after the Ninth Circuit vacated this
                                                                            23   Court’s April 20, 2021 preliminary injunction. Specifically the Ninth Circuit
                                                                                 noted a delta between the Court’s order and Plaintiffs’ allegations and facts:
                                                                            24   Plaintiffs had not demonstrated evidence that Plaintiffs and members of the
                                                                                 Alliance are Black because Plaintiffs had not moved on any issues that were
                                                                            25   based on race, had no unsheltered homeless individuals named in the original
                                                                                 complaint, had not alleged existence of a Special Relationship or shown they are
                                                                            26   confined to Skid Row, or were deprived of medically necessary care. Plaintiffs
                                                                                 have amended this complaint to add Wenzial Jarrell, an unsheltered Black man
                                                                            27   living in Skid Row, as a Plaintiff, and added a number of named Alliance
                                                                                 members who are also unsheltered and persons of color. Plaintiffs have
                                                                            28   supplemented their Equal Protection, Due Process allegations and 17000 claims
                                                                                 to address the Ninth Circuit’s concerns.
                                                                                                                          18
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 19 of 113 Page
                                                                                                               ID #:9266


                                                                             1   agent, employee, and co-conspirator of each of the remaining Defendants, and in
                                                                             2   participating in the acts alleged in this Complaint, acted within the scope of such
                                                                             3   agency and employment, in furtherance of the conspiracy, and with the
                                                                             4   permission and consent of the co-conspirator Defendants.
                                                                             5         28.    All causes of action brought under California law are for equitable
                                                                             6   and injunctive relief only. Therefore, no tort claim was necessary prior to filing
                                                                             7   this suit. See Cal. Gov. Code § 905 (West, 2019); Qwest Commc’ns Corp. v. City
                                                                             8   of Berkeley, 146 F. Supp. 2d 1081 (N.D. Cal. 2001); Hart v. County of Alameda,
                                                                             9   76 Cal. App. 4th 766 (1999).
                                                                            10         29.    Each paragraph of this Complaint is expressly incorporated into each
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                                                                            11   cause of action set forth below.
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                                                                            12                     III.     FACTUAL ALLEGATIONS
                                      LOS ANGELES, CA 90025




                                                                            13   A.    History of Homeless Treatment in Los Angeles
                                                                            14         30.    What is now known as Skid Row began in the late 1800s as a
                                                                            15   concentration of day-rate hotels, bars, and brothels catering to the “rail riders”
                                                                            16   (transients riding the trains) due to its proximity to where the trains terminated at
                                                                            17   Los Angeles.50 Service providers like the Union Rescue Mission opened their
                                                                            18   doors to help the indigent who congregated there. Decades later, when the 1970s,
                                                                            19   brought a push for “de-institutionalization” of those suffering from mental
                                                                            20   illnesses, Skid Row became a beacon of hope for those needing services and
                                                                            21   shelter.51 At the same time, DTLA experienced an economic resurgence and
                                                                            22   developers began restoring the Skid Row area. Activists (fearful of losing
                                                                            23   housing) and downtown interests (fearful of homeless individuals wandering into
                                                                            24
                                                                            25         50
                                                                                           Sebastin Kempkens, L.A.’s Homelessness Crisis: How Did We Get
                                                                                 Here?, LA Weekly (Nov. 21, 2018), https://www.laweekly.com/l-a-s-
                                                                            26   homelessness-crisis-how-did-we-get-here/; 99% Invisible: The Containment
                                                                                 Plan, Radiotopia (Oct. 10, 2017), https://99percentinvisible.org/episode/the-
                                                                            27   containment-plan/; Union Rescue Mission, About Skid Row,
                                                                                 https://urm.org/about/faqs/about-skid-row/  (last visited Mar. 9, 2020).
                                                                            28          51
                                                                                           See Kempkens, supra note 50, https://www.laweekly.com/l-a-s-
                                                                                 homelessness-crisis-how-did-we-get-here/.
                                                                                                                         19
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES            Document 361 Filed 11/01/21       Page 20 of 113 Page
                                                                                                                 ID #:9267


                                                                             1   the wealthier areas), together, pushed back and fought for a policy of
                                                                             2   “containment” with the goal of centralizing missions, charities, and other
                                                                             3   homeless services within the 50-square block area, encouraging “undesirable
                                                                             4   population elements” to stay within the boundaries, in return for an agreement
                                                                             5   with the City to keep redevelopment out of it.52
                                                                             6          31.      The drafters of the Containment Policy were concerned that PEH
                                                                             7   and other “undesirables” could spread to other parts of the City; to combat this
                                                                             8   “people problem” the City implemented
                                                                             9                a containment approach that starts by defining an area in
                                                                                              which Skid Row activities would be allowed, but outside of
                                                                            10                which no disruptive Skid Row activity would be tolerated . . .
                                                                                              new borders were drawn that define a potential area of
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                                                                            11                containment that would pull Skid Row activities away from
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                                                                                              other land uses without significant relocation of housing.
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                                                                            12
                                      LOS ANGELES, CA 90025




                                                                            13   (Declaration of Elizabeth Mitchell (“Mitchell Decl.”) Ex. A at 143, ECF 265-1.)
                                                                            14   (emphasis added). The “containment approach” had four pillars to it: (a) “a
                                                                            15   deliberate control of housing stock, its allocation and location” to condense the
                                                                            16   homeless within a smaller area of downtown Los Angeles, (b) businesses catering
                                                                            17   to Skid Row “undesirables” would be discouraged outside of the containment
                                                                            18   area, (c) services to the homeless would be centralized in the area of containment
                                                                            19   to keep the homeless there, and (d) “amenities” that attract the homeless, such as
                                                                            20   parks and public restrooms, would be centralized in the contained area. Id. The
                                                                            21   Containment Policy (the “Containment” or “Policy”) included specific maps that
                                                                            22   defined where “undesirables” would be concentrated, and also included “buffers”
                                                                            23   to further isolate the “undesirables” from others. Id. This appalling Containment
                                                                            24   Policy remained until it was formally denounced in 2016, but in fact the Policy
                                                                            25   persists to this day.
                                                                            26
                                                                                        52
                                                                                          Rich Connell, SKID ROW: ‘Containment Strategy’ of Aiding Residents,
                                                                            27   Easing Impact on Business District Is Slow and Frustrating, Los Angeles Times
                                                                                 (Aug. 5, 1985, 12:00 AM), https://www.latimes.com/archives/la-xpm-1985-08-
                                                                            28   05-me-3525-story.html; 99% Invisible, supra note 47,
                                                                                 https://99percentinvisible.org/episode/the-containment-plan/.
                                                                                                                         20
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 21 of 113 Page
                                                                                                               ID #:9268


                                                                             1         32.    The 1980s and 1990s, with the crack epidemic and simultaneous
                                                                             2   cuts to the welfare system, brought in true and enduring homelessness, with
                                                                             3   encampments springing up on sidewalks and criminals preying on the
                                                                             4   vulnerable. 53 Then-mayor Tom Bradley opened an urban campground along the
                                                                             5   L.A. River, but it was soon closed due to terrible living conditions. At various
                                                                             6   times groups have placed portable toilets in key encampment locations, only to
                                                                             7   have the city remove them when they became magnets for prostitution and drug
                                                                             8   use. In the early 1990s, as a settlement of litigation between the City and County,
                                                                             9   Los Angeles Homeless Services Authority (“LAHSA”), a joint-powers authority,
                                                                            10   was created to oversee the City and County’s homeless response. The aim was
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                                                                            11   more accountability, but ultimately it has resulted in an accountability deficit.
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                                                                            12         33.    That deficit is particularly apparent in the litigious history of two
                                      LOS ANGELES, CA 90025




                                                                            13   Los Angeles Municipal Code provisions (“L.A.M.C.”), section 41.18 and section
                                                                            14   56.11, that regulate behavior in public rights-of-way. Section 41.18(d) has
                                                                            15   recently been amended to prohibit sitting, sleeping, or lying in public rights of
                                                                            16   way in sensitive areas or other areas marked by signage but only after full
                                                                            17   consideration and vote by City Council in every single area designated as such
                                                                            18   and only, for non-sensitive areas, after proof of serious injury, crime, or fires.54
                                                                            19   56.11 prohibits, among other things, storage of “excess personal property”
                                                                            20   meaning property which cumulatively exceeds 60 gallons in a public area.55
                                                                            21
                                                                                       53
                                                                                            See Kempkens, supra note 50, https://www.laweekly.com/l-a-s-
                                                                            22   homelessness-crisis-how-did-we-get-here/.
                                                                                         54
                                                                                            LOS ANGELES MUN. CODE (“LAMC”) 41.18 (2021),
                                                                            23   https://clkrep.lacity.org/onlinedocs/2020/20-1376-S1_ord_draft_7-02-21.pdf.
                                                                                         55
                                                                                            LAMC 56.11 was amended in 2016 in direct response to Lavan v. City of
                                                                            24   Los Angeles, discussed infra. Its express stated purpose was to “balance the
                                                                                 needs of the residents and public at large to access clean and sanitary public areas
                                                                            25   with the needs of the individuals, who have no other alternatives for the storage
                                                                                 of personal property, to retain access to a limited of personal property in public
                                                                            26   areas.” Unsurprisingly, unhappy activists have challenged the new amendment,
                                                                                 first as applied to those living in Skid Row (Mitchell v. City of Los Angeles, 16-
                                                                            27   CV-01750 SJO JPR) and now city-wide (Garcia v. City of Los Angeles, 2:19-CV-
                                                                                 06182 DSF PLA). The Garcia court issued an injunction against its enforcement,
                                                                            28   recently upheld by the Ninth Circuit. Garcia v. City of Los Angeles, 11 F.4th
                                                                                 1113 (9th Cir., Sept. 2, 2021).
                                                                                                                           21
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 22 of 113 Page
                                                                                                               ID #:9269


                                                                             1         34.    In 2006, the City settled a case brought by several activists, Jones v.
                                                                             2   City of Los Angeles, agreeing not to enforce Section 41.18(d)’s then-restrictions
                                                                             3   on tents and people sleeping in public areas between the hours of 9 p.m. and 6
                                                                             4   a.m. As part of the agreement, the parties concurred that a published court
                                                                             5   decision would be de-published and would no longer be binding authority.
                                                                             6   According to the Los Angeles Times, “The [Jones] agreement set the stage for
                                                                             7   today’s encampment explosion.”56 And ironically, the de-published Jones
                                                                             8   decision was still oft-cited by districts courts and resurrected in the 2018
                                                                             9   published decision of Martin v. City of Boise.
                                                                            10         35.    In 2011, the Ninth Circuit upheld an injunction in Lavan v. City of
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                                                                            11   Los Angeles that prohibited the City from seizing unattended property without
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                                                                            12   notice absent objectively reasonable belief that it is abandoned, evidence of
                                      LOS ANGELES, CA 90025




                                                                            13   crime, contraband, or presents an “immediate threat to public health or safety.”
                                                                            14   Unfortunately, it is difficult to determine when property is “abandoned” as
                                                                            15   opposed to momentarily “unattended” when there are tens of thousands of people
                                                                            16   living unsheltered in our public spaces. The result is a massive build-up of
                                                                            17   property, which harbors significant health and safety risks that mostly go
                                                                            18   undetected until too late.
                                                                            19         36.    Eight years after the Ninth Circuit upheld the Lavan injunction, the
                                                                            20   City entered into a settlement in the case of Mitchell v. City of Los Angeles.
                                                                            21   Under the terms of that settlement, the City bound its own hands in agreeing to
                                                                            22   significantly limit the enforcement of L.A.M.C. Section 56.11, permitting the
                                                                            23   accumulation of personal property beyond the code section’s limits, and
                                                                            24   relegating enforcement to only certain bulky items such as couches, mattresses,
                                                                            25
                                                                                       56
                                                                                          Gale Holland, Why L.A. County’s homelessness crisis has been decades
                                                                            26   in the making, Los Angeles Times (June 5, 2019, 11:10 AM),
                                                                                 https://www.latimes.com/local/california/la-me-ln-homeless-housing-crisis-
                                                                            27   count-history-skid-row-20190605-story.html ( “‘We are dealing with historical
                                                                                 consequences of bad decisions made 10 years ago to guarantee a right to
                                                                            28   sidewalks instead of a right to shelter,’ said Westside Councilman Mike Bonin.”).

                                                                                                               22
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 23 of 113 Page
                                                                                                               ID #:9270


                                                                             1   refrigerators, and wooden pallets within a designated area known as “Skid Row
                                                                             2   and surrounding areas.” The Mitchell agreement has led to a sharp decline in
                                                                             3   health and safety for housed and unhoused alike not just in Skid Row but
                                                                             4   throughout downtown. The agreement promotes and authorizes violation of a
                                                                             5   valid city ordinance and suffers from significant legal flaws. League of
                                                                             6   Residential Neighborhood Advocates v. City of Los Angeles, 498 F.3d 1052, 1055
                                                                             7   (9th Cir. 2007) (“A federal consent decree or settlement agreement cannot be a
                                                                             8   means for state officials to evade state law.”). The Mitchell agreement is set to
                                                                             9   expire in 2022, but the implication of expiration is unclear given the Garcia
                                                                            10   restrictions. And it is unclear why, after litigating this issue for decades, the City
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                                                                            11   cannot manage to draft an ordinance that is workable, practical, and will pass
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                                                                            12   constitutional muster.
                                      LOS ANGELES, CA 90025




                                                                            13         37.    Mitchell was settled in the wake of the sweeping Ninth Circuit
                                                                            14   decision addressing homeless regulation: Martin v. City of Boise, based almost
                                                                            15   entirely on the reasoning published (then de-published) in Jones. Martin held
                                                                            16   that “so long as there is a greater number of homeless individuals in a jurisdiction
                                                                            17   than the number of available beds in shelters” a person may not be prosecuted for
                                                                            18   sitting, lying, or sleeping in public. Martin, 920 F.3d at 617 (original alterations
                                                                            19   omitted) (citation omitted). The language in Martin does not provide clear
                                                                            20   guidance for cities struggling with sizable homeless populations—in some
                                                                            21   passages, Martin suggests that there must be enough beds for everyone before
                                                                            22   anyone is cited for sleeping on a sidewalk, while other aspects of Martin indicate
                                                                            23   that individuals “who do have access to adequate temporary shelter” but “choose
                                                                            24   not to use it” may be prosecuted without reference to the community. Id. at n.8.
                                                                            25         38.    Regardless of how Martin is interpreted, its clear effect is to tie
                                                                            26   enforcement of public regulation ordinances to the provision of shelter. And
                                                                            27   most people agree that the balanced approach is exactly that: provision of safe,
                                                                            28   humane, dignified, and healthy shelters with a path out of homelessness, along

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21        Page 24 of 113 Page
                                                                                                              ID #:9271


                                                                             1   with regulation of our public spaces. But instead the City’s and County’s
                                                                             2   approach to the Martin decision has been a lack of both shelters and regulation.
                                                                             3        39.     While homelessness has now exploded beyond the boundaries of Skid
                                                                             4   Row—resulting in public outcry at encampments, crime, and squalor in
                                                                             5   neighborhoods which previously could ignore the devastation—the most heavily
                                                                             6   impacted area is still without a doubt the area of Containment. City and County
                                                                             7   policies continue to concentrate persons experiencing homelessness in Skid Row,
                                                                             8   creating horribly dangerous conditions for unhoused individuals and others living
                                                                             9   in the area. Affordable housing and services are still heavily concentrated in Skid
                                                                            10   Row, while development of these housing or services in other areas can take years,
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                                                                            11   even for by-right projects. To this day, Skid Row is an enforcement-free zone,
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                                                                            12   effectively exempt from laws against drug use and sales, weapons trafficking,
                                      LOS ANGELES, CA 90025




                                                                            13   human trafficking, gang activity, and public intoxication; reinforcing the
                                                                            14   concentration of human tragedy in a half-square-mile area, while other areas thrive.
                                                                            15         40.    The most obvious and overt example of the continuing Containment
                                                                            16   Policy is the DTLA2040 plan, recently approved by the Planning Commission
                                                                            17   and formally recommended to City Council, again with significant advocacy and
                                                                            18   support from groups like Los Angeles Community Action Network (LACAN).57
                                                                            19   In creating the new plan for Downtown Los Angeles, the City created an entirely
                                                                            20   new zoning designation just for the Skid Row area, permitting only homeless
                                                                            21   housing developments. This the only such area zoned for this specific purpose in
                                                                            22   the entire City and County (and in fact the nation). This plan re-codifies the
                                                                            23   Containment Policy and flies in the face of decades of research demonstrating the
                                                                            24   harmful effects of centralizing poverty.58 Under both Federal and California law,
                                                                            25
                                                                            26         57
                                                                                           Department of City Planning Recommendation Report (June 17, 2021),
                                                                                 https://planning.lacity.org/odocument/04ca2a68-c5fd-4a26-90c2-
                                                                            27   8128910239f7/DRAFT_DTLA_CPC_Staff_Recommendation_Report.pdf.
                                                                                        58
                                                                                           See, e.g. Understanding Neighborhood Effects of Concentrated Poverty,
                                                                            28   Office of Policy Development and Research (Winter 2011),
                                                                                 https://www.huduser.gov/portal/periodicals/em/winter11/highlight2.html.
                                                                                                                        24
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 25 of 113 Page
                                                                                                               ID #:9272


                                                                             1   cities are required to “Affirmatively Further Fair Housing” which includes
                                                                             2   “Replacing Segregated Living Patterns with Truly Integrated and Balanced
                                                                             3   Living Patterns” and “Transforming Racially and Ethnically Concentrated Areas
                                                                             4   of Poverty (R/ECAP) into Areas of Opportunity” such as providing “economic
                                                                             5   development strategies,” “prioritizing investment,” and “promoting mixed-
                                                                             6   income development coupled with strong anti-displacement protections.” 59
                                                                             7   Instead the DTLA2040 plan maintains the segregated living pattern of Skid Row
                                                                             8   and reinforces the most racially and ethnically concentrated area of poverty in the
                                                                             9   entire county (and likely the nation). Because of the Containment Policy, there
                                                                            10   has been an obvious disinvestment in the area with extremely limited or no
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                                                                            11   access to grocery stores, pharmacies, drug stores, restaurants, transit, retail, and
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                                                                            12   job opportunities, and an abundance of crime, violence, fires, death, and disease.
                                      LOS ANGELES, CA 90025




                                                                            13   With DTLA2040 the Containment Policy is reinforced, and homeless people are
                                                                            14   corralled and contained into a specified area of the city where they are effectively
                                                                            15   abandoned.
                                                                            16         41.    Defendants have acknowledged repeatedly that racist policies and
                                                                            17   practices have contributed to the conditions on Skid Row. “Even as far back as
                                                                            18   the Great Depression, services for the homeless in Los Angeles were
                                                                            19   concentrated on Skid Row” segregated by race. 60 By the 1950s, African
                                                                            20   Americans were overrepresented among general relief applicants (5.2% of the
                                                                            21   adult male population, but 17.45% of applicants), and 60% lacked shelter.61
                                                                            22   Moreover, according to the Luskin Center:
                                                                            23
                                                                            24         59
                                                                                          California Department of Housing and Community Development,
                                                                                 Affirmatively Furthering Fair Housing Guidance for All Public Entities and for
                                                                            25   Housing Elements 4, 17 (Apr. 2021), https://www.hcd.ca.gov/community-
                                                                                 development/affh/docs/affh_document_final_4-27-2021.pdf.
                                                                            26         60
                                                                                          Kirsten Moore Sheeley, et al., The Making of a Crisis: A History of
                                                                                 Homelessness in Los Angeles, UCLA: LUSKIN CENTER FOR HISTORY AND POLICY,
                                                                            27   Jan. 2021, at 13-14, https://luskincenter.history.ucla.edu/wp-
                                                                                 content/uploads/sites/66/2021/01/LCHP-The-Making-of-A-Crisis-Report.pdf.
                                                                            28   (“The 61
                                                                                       Luskin Report”).
                                                                                          Id. at 22.
                                                                                                                          25
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21       Page 26 of 113 Page
                                                                                                                ID #:9273

                                                                                                A 1970 report on Aid to Families with Dependent
                                                                             1                  Children (AFDC) beneficiaries (nearly all of them
                                                                                                women) found that Black welfare clients and applicants
                                                                             2                  in Los Angeles were 50% more likely than their white
                                                                                                and Hispanic counterparts to identify housing as their
                                                                             3                  “primary problem.” This statistic suggests that race-
                                                                                                specific barriers to quality housing were producing
                                                                             4                  disparate outcomes among people of the same economic
                                                                                                class.62
                                                                             5
                                                                                       One of the biggest factors affecting the wealth accumulation in Black
                                                                             6
                                                                                 families is the inability to purchase a home “in neighborhoods with steady
                                                                             7
                                                                                 increase in property values” due to the various federal, state, and local policies
                                                                             8
                                                                                 preventing Black ownership in post-war Los Angeles. 63 The LAHSA Ad Hoc
                                                                             9
                                                                                 Committee on Black People Experiencing Homelessness found that “[t]he impact
                                                                            10
                                                                                 of institutional and structural racism in education, criminal justice, housing,
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                                                                                 employment, health care, and access to opportunities cannot be denied:
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                                                                                 homelessness is a by-product of racism in America.”64 “As a result of the
                                      LOS ANGELES, CA 90025




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                                                                                 vestiges of redlining and exclusionary zoning, Los Angeles County ranks as one
                                                                            14
                                                                                 of the most segregated metropolitan areas in the United States.”65 “Black people
                                                                            15
                                                                                 are dramatically overrepresented in the population experiencing homelessness,
                                                                            16
                                                                                 when compared to their representation among the overall population in Los
                                                                            17
                                                                                 Angeles County.”66
                                                                            18
                                                                                       42.      Heidi Marston, executive director of LAHSA, described the City’s
                                                                            19
                                                                                 racist “redlining” policy in the 2021 LAHSA Homelessness Town Hall: “Policy
                                                                            20
                                                                                 choices and underinvestment brought us to where we are today. . . [A]
                                                                            21
                                                                                 government map [of Los Angeles] . . . from 1939. . . shows how our government
                                                                            22
                                                                                 blocked black communities and black families from home ownership in a
                                                                            23
                                                                            24
                                                                                       62
                                                                                            Id. at 22.
                                                                            25         63
                                                                                          Id.
                                                                                       64
                                                                                          LAHSA, REPORT AND RECOMMENDATIONS OF THE AD HOC
                                                                            26   COMMITTEE ON BLACK PEOPLE EXPERIENCING HOMELESSNESS, Dec.
                                                                                 2018, at 5, https://www.lahsa.org/documents?id=2823-report-and-
                                                                            27   recommendations-of-the-ad-hoc-committee-on-black-people-experiencing-
                                                                                 homelessness.
                                                                            28         65
                                                                                          Id. at 19.
                                                                                       66
                                                                                          Id. at 14.
                                                                                                                       26
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                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21      Page 27 of 113 Page
                                                                                                               ID #:9274


                                                                             1   practice called redlining.”67 Ms. Marston further acknowledged that
                                                                             2   “[i]nstitutional and structural racism play a key role in homelessness” and
                                                                             3   “[a]mong all of the new people enrolled in services last year, 35% of clients were
                                                                             4   black which is a critical measure for us because we know that black people are
                                                                             5   8% of the county population and 34% of the population experiencing
                                                                             6   homelessness, again, because of legacies of systemic racism and discrimination
                                                                             7   that are still being dismantled.”68
                                                                             8         43.    Between the redlining policies of early Los Angeles—which
                                                                             9   systematically thwarted wealth accumulation by Black Angelenos—and the
                                                                            10   Containment Policy of Skid Row, which concentrated very poor individuals into
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   a small area of downtown Los Angeles, the City nearly ensured that Skid Row
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                                                                            12   would have a disproportionately high African American unhoused population.
                                      LOS ANGELES, CA 90025




                                                                            13   Indeed, the 1970s Containment Policy specifically acknowledged that Skid Row
                                                                            14   was at the time “experiencing a very rapid increase in its Black population.” The
                                                                            15   make-up of the unhoused population of Skid Row as of the 2019 PIT count was
                                                                            16   57% Black/African American, 25% Hispanic/Latino, and 13% White. 69 Yet
                                                                            17   Defendants have perpetuated the plight of those in Skid Row, even while
                                                                            18   acknowledging the disproportionate impact on racial minorities as a result of
                                                                            19   their actions. And Defendants have continued to adopt those same policies,
                                                                            20   knowing their actions would continue to disproportionately impact people of
                                                                            21   color. The chart below from the LAHSA Ad Hoc Committee on Black People
                                                                            22   Experiencing Homelessness demonstrates the disproportionately significant
                                                                            23   percentage of Black people experiencing homelessness in Los Angeles compared
                                                                            24   to the relatively small percentage of the population.
                                                                            25
                                                                            26         67
                                                                                           LAHSA, 2021 State of Homelessness Town Hall Recording at 17:15
                                                                                 (Mar. 19,   2021), https://www.youtube.com/watch?v=Cu1WqTwBUiU).
                                                                            27          68
                                                                                           Id.
                                                                                        69
                                                                                           LAHSA, HOMELESS COUNT 2019 SKID ROW DATA SUMMARY,
                                                                            28   https://www.lahsa.org/documents?id=3527-hc2019-skid-row-data-summary.pdf
                                                                                 (last visited Oct. 21, 2021).
                                                                                                                         27
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                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21        Page 28 of 113 Page
                                                                                                              ID #:9275


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                                                                            12         44.    The lack of affordable housing in Los Angeles is one of the drivers
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                                                                            13   of homelessness. In 2015, the City declared a housing emergency and in 2018
                                                                            14   the County did as well and both remain in place. See Sept. 22 Motion (we “face
                                                                            15   an emergency today that requires strong and immediate action by the City of Los
                                                                            16   Angeles.”); Resolution of the Board of Supervisors of the County of Los Angeles
                                                                            17   Declaring a Shelter Crisis, October 30, 2018. The City and the County have done
                                                                            18   little to produce housing in the very low- or low-income categories. For
                                                                            19   example, in the last reporting period by the County (all unincorporated areas),
                                                                            20   from 2014 to 2019 it produced a paltry 891 units of very low and low income
                                                                            21   housing in an unincorporated area of over 1 million residents. In fact, in the
                                                                            22   entire unincorporated county only 6,157 housing units in total were produced.
                                                                            23   Los Angeles is now ranked as the most unaffordable city in the country, with
                                                                            24   over 60% of tenants paying more than 30% of their household income for rent
                                                                            25   and over 30% of tenants severely rent-burdened, paying more than 50% of their
                                                                            26   income for rent. Both City and County have failed to meet their housing
                                                                            27   requirements for very low, low, and moderate-income permits. The County only
                                                                            28   permitted 22.5% of its required very low-income projects, 24.1% of its low-

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                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21       Page 29 of 113 Page
                                                                                                                ID #:9276


                                                                             1   income projects, 14% of its moderate-income projects, and 190.2% of its above-
                                                                             2   moderate income projects. The City has permitted 34.3% of its required “very-
                                                                             3   low-income” permits, 30% of “low-income” units, 6% of “moderate-income”
                                                                             4   permits, and 298% of “above-moderate-income” permits. This was an
                                                                             5   intentional, affirmative choice made year-after-year by Defendants, knowing the
                                                                             6   implications on people experiencing homelessness and the disproportionate
                                                                             7   impact on Black Angelenos.
                                                                             8          45.     The impact of structural racism and the City and County’s housing
                                                                             9   policies, both of which have caused and contributed to the burgeoning crisis, is
                                                                            10   accurately described in the Court’s preliminary injunction order, ECF No. 277,
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                                                                            11   issued April 20, 2021, attached hereto as Exhibit A and incorporated herein.
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                                                                            12     B.        Crime and Fire Incidents Have Rocketed
                                      LOS ANGELES, CA 90025




                                                                            13          46.     The crisis of so many unsheltered individuals in a wealthy City is a
                                                                            14   tragedy in and of itself. But the tragedy has been exacerbated by a severe spike
                                                                            15   in crime both on and by homeless persons, particularly in violent attacks.70 Los
                                                                            16   Angeles Police Department (“LAPD”) citywide data from 2016 to 2020 shows a
                                                                            17   200% increase in crime against persons experiencing homelessness,71 and an
                                                                            18   increase of 354% of suspects experiencing homelessness. The top three crimes
                                                                            19   reported for both suspects and victims experiencing homelessness were assault
                                                                            20   with a deadly weapon, battery, and robbery. 72
                                                                            21          47.     Drugs are being sold and used openly on streets and sidewalks.
                                                                            22   Public urination and defection have become the norm. LA Metro spent $36
                                                                            23
                                                                            24          70
                                                                                           Leonard, supra note 6,
                                                                                 https://www.nbclosangeles.com/news/local/LAPD-Reports-Spike-in-Homeless-
                                                                            25   Crime-502407861.html; Matthew, supra note 6,
                                                                                 https://www.lamag.com/citythinkblog/homeless-crime/.
                                                                            26          71
                                                                                           It must be noted this statistic is only available for persons who reported
                                                                                 the crime; an untold number of crimes are perpetrated on persons experiencing
                                                                            27   homelessness which go unreported because the victim lacks agency, awareness,
                                                                                 hope, or  fears retribution.
                                                                            28          72
                                                                                           Nisha Venkat, LA’s homeless crime epidemic, Crosstown (June 23,
                                                                                 2020), https://xtown.la/2020/06/23/homeless-crime-los-angeles/.
                                                                                                                             29
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                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 30 of 113 Page
                                                                                                               ID #:9277


                                                                             1   million on a bike-share program, but those bikes go missing daily and many have
                                                                             2   been recovered, repainted or otherwise vandalized, in homeless encampments
                                                                             3   throughout the city.73 As the ranks of the desperate and downtrodden have grown
                                                                             4   exponentially in Skid Row and throughout the City and County, and quality-of-
                                                                             5   life laws are left unenforced, public order has deteriorated.
                                                                             6          48. In addressing the rise in crime within the homeless community, one
                                                                             7   City official accurately noted, “[T]here are certainly tensions that are rising
                                                                             8   within the homeless population. . . the connective tissue between them all is the
                                                                             9   increase in the concentration. As the homeless encampments increase, so do
                                                                            10   fights over territory, over property, over intangibles, as well as domestic
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                                                                            11   violence.”74 “Personal Security Tips” have been given to County employees
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                                                                            12   walking to and from civil and mental health courts, advising them “remain
                                      LOS ANGELES, CA 90025




                                                                            13   vigilant,” “travel in numbers,” and “drive in a middle or left lane” due to the
                                                                            14   criminal element rising out of surrounding homeless encampments.
                                                                            15          49. Crime against homeless women in particular has become a “crisis
                                                                            16   within a crisis” with 60 percent of homeless women reporting violence in the last
                                                                            17   year and 25 percent experiencing it “often” or “always.” 75 More than a quarter
                                                                            18   have experienced sexual assault in the last twelve months, and 37 percent report
                                                                            19   having experienced domestic violence in the same time period.76
                                                                            20
                                                                            21
                                                                                       73
                                                                                           David Goldstein, Goldstein Investigation: Hundreds Of Taxpayer-
                                                                            22   Funded Metro Bikes Stolen, Stripped, CBS Los Angeles (Nov. 7, 2019, 11:59
                                                                                 PM), https://losangeles.cbslocal.com/2019/11/07/goldstein-investigation-
                                                                            23   taxpayer-funded-metro-bikes-stolen-stripped/.
                                                                                        74
                                                                                           See Queally, supra note 10,
                                                                            24   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                 attacks-fire.
                                                                            25          75
                                                                                           Elijah Chiland, For women, ‘living on the streets in Los Angeles is
                                                                                 dangerous and traumatic’, Curbed Los Angeles (Jan. 30, 2020, 2:25 PM),
                                                                            26   https://la.curbed.com/2020/1/30/21115700/downtown-womens-center-homeless-
                                                                                 report.76
                                                                            27             Downtown Women’s Center, 2019 Los Angeles City Women’s Needs
                                                                                 Assessment, https://www.downtownwomenscenter.org/wp-
                                                                            28   content/uploads/2020/01/DWC-2019-Los-Angeles-Womens-Needs-
                                                                                 Assessment.pdf (last visited Mar. 9, 2020).
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                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 31 of 113 Page
                                                                                                               ID #:9278


                                                                             1          50. As crime has increased, so have fires. There were 2,500 fires just
                                                                             2   involving the homeless community in Los Angeles in 2018, which is double the
                                                                             3   number of such fires in 2017. 77 That number jumped to 3,285 in 2019 and 6,151
                                                                             4   in 2020. 78 53.87 percent of all fires in the City of Los Angeles are homeless-
                                                                             5   related; nearly 20 percent of all fires in the city are homeless-related arson fires.
                                                                             6   This represents a 245 percent increase in all homeless-related fires and 240
                                                                             7   percent increase in all homeless-related arson fires since 2018.79 The industrial
                                                                             8   buildings and businesses downtown regularly experience fires from adjacent
                                                                             9   encampments, whether from heaters, food preparation, or arson. Businesses are
                                                                            10   being dropped by insurance companies because of the fire risks due to the
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                                                                            11   homeless living on their sidewalks. 80 Fire hydrants are being repurposed by
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                                                                            12   homeless for drinking, bathing, and washing clothes and personal items,
                                      LOS ANGELES, CA 90025




                                                                            13   compromising fire-readiness and putting an untold number of lives and structures
                                                                            14   at greater risk in the event of a fire. 81 There have been no observable efforts to
                                                                            15   curb the use of open flames, despite fire code provisions that prohibit them and
                                                                            16   the frequent use of open flames in homeless encampments.82 In fact, the Mitchell
                                                                            17   settlement specifically permits violations of the fire code by allowing “open-
                                                                            18   flame cooking devices” as long as they have fuel containers under a certain size.
                                                                            19   See Stipulated Order of Dismissal at 11, Mitchell v. City of Los Angeles, Case No.
                                                                            20   CV16-01750 SJO (JPRx) (C.D. Cal. May 31, 2019), ECF No. 119.
                                                                            21
                                                                            22         77
                                                                                           See Queally, supra note 10,
                                                                                 https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                            23   attacks-fire.
                                                                                        78
                                                                                           Mitchell Decl. Ex. C, at 188, ECF No. 265-1.
                                                                            24          79
                                                                                           Id.
                                                                                        80
                                                                                           Joel Grover and Amy Corral, Your Insurance is Canceled Because of
                                                                            25   Homeless Tent Fires, NBC Los Angeles (Sept. 23, 2019, 11:55 AM),
                                                                                 https://www.nbclosangeles.com/news/local/LA-Homeless-Encampment-Fires-
                                                                            26   Insurance-Rates-Tents-Homelessness-561145811.html.
                                                                                        81
                                                                                           Joel Grover and Amy Corral, Firefighters Lose Critical Tool to Battle
                                                                            27   Rise in Homeless Fires, NBC Los Angeles (July 22, 2019, 3:17 PM),
                                                                                 https://www.nbclosangeles.com/investigations/Firefighters-Lose-Critical-Tool-
                                                                            28   to-Battle-Rise-in-Homeless-Fires-513057481.html.
                                                                                        82
                                                                                           Id.
                                                                                                                          31
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                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21        Page 32 of 113 Page
                                                                                                              ID #:9279


                                                                             1          51. Fires originating in homeless encampments are now a regular
                                                                             2   occurrence in Los Angeles County. One of the most destructive fires in Los
                                                                             3   Angeles over the last 10 years, the Skirball Fire, was caused by a cooking fire at a
                                                                             4   homeless encampment in the hills of Bel Air in 2017—which caused thousands
                                                                             5   to evacuate and destroyed several houses. 83 In July 2019, a fire broke out in a
                                                                             6   homeless encampment in the Sepulveda Basin, where homeless residents report
                                                                             7   they put out “multiple fires daily,” burning 6 acres and destroying the
                                                                             8   encampment. 84 One building in Venice, recently vacated by SNAP, Inc.
                                                                             9   (formerly Snapchat) burned to the ground due to the adjacent encampments; the
                                                                            10   building owner (Benjamin Schonbrun of Schonbrun, Seplow, Harris, Hoffman &
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   Zeldes, LLP), represented by Stephen Yagman, is suing the City of Los Angeles
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                                                                            12   for “permit[ting] the encampment to exist.” 85
                                      LOS ANGELES, CA 90025




                                                                            13   C.    Public Health is Compromised
                                                                            14          52. Beyond crime and fire, the homelessness crisis presents a pressing
                                                                            15   public health predicament. The Covid-19 pandemic drew attention to the
                                                                            16   inability of the unsheltered community to maintain a sanitary environment
                                                                            17   without regular access to restrooms or running water, and the potential health
                                                                            18   implications for the rest of the housed community. But even before Covid
                                                                            19   existed, homelessness created significant health hazards. The accumulation of
                                                                            20   property and food storage in tents by homeless individuals has made Skid Row
                                                                            21   and other areas hotbeds for flea-infested rats and other disease-carrying vermin,
                                                                            22
                                                                            23
                                                                                       83
                                                                                           Gale Holland, Laura J. Nelson, et al., Fire at a homeless encampment
                                                                            24   sparked Bel-Air blaze that destroyed homes, officials say, Los Angeles Times
                                                                                 (Dec. 12, 2017, 5:55 PM), https://www.latimes.com/local/lanow/la-me-skirball-
                                                                            25   fire-cause-20171212-story.html.
                                                                                        84
                                                                                           Ariella Plachta and Elizabeth Chou, A Sepulveda basin encampment fire
                                                                            26   left dozens of homeless people displaced but service providers have little to offer
                                                                                 them, Los Angeles Daily News (July 31, 2019, 1:23 PM),
                                                                            27   https://www.dailynews.com/2019/07/31/a-sepulveda-basin-encampment-fire-left-
                                                                                 dozens-of-homeless-people-displaced-but-service-providers-have-little-to-offer-
                                                                            28   them/. 85
                                                                                           Schonbrun v. Snap, Inc. et. al, No. 21-cv-07189-VAP-MRW.
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                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21      Page 33 of 113 Page
                                                                                                              ID #:9280


                                                                             1   making some areas nearly unlivable.86 Los Angeles has declared Skid Row a
                                                                             2   “typhus zone” and at least one Deputy City Attorney has contracted typhus
                                                                             3   apparently from the conditions surrounding her office building in Downtown Los
                                                                             4   Angeles. 87 LAPD Officers working Central Division downtown contracted
                                                                             5   typhoid fever, caused by contamination of human fecal matter.88 LA City was
                                                                             6   cited by Cal/OSHA for the homeless encampments outside City Hall East for
                                                                             7   exposing its workers to trash and bodily fluids. 89 The United Nations noted “Los
                                                                             8   Angeles failed to meet even the minimum standards the United Nations High
                                                                             9   Commissioner for Refugees sets for refugee camps in the Syrian Arab Republic
                                                                            10   and other emergency situations.”90 The City Controller reported that in 2017
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                                                                            11   City officials had removed 8 tons of solid waste, including 40 pounds of urine
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                                                                            12   and feces from homeless encampments in one cleanup of one encampment.91
                                      LOS ANGELES, CA 90025




                                                                            13   Los Angeles Sanitation (LASAN) estimated that its program, Operation Healthy
                                                                            14   Streets, cleared an average of 5 tons of solid waste per day at encampments in the
                                                                            15   City. Id.
                                                                            16
                                                                                       86
                                                                                           Lauren Fruen, Collapse of a City That’s Lost Control: Shocking New
                                                                            17   Pictures From Downtown LA Capture The Huge Problem it Faces With Trash
                                                                                 and Rats Amid Fear of Typhoid Fever Outbreak Among LAPD, Daily Mail and
                                                                            18   Associated Press, (June 2, 2019, 2:03 PM),
                                                                                 https://www.dailymail.co.uk/news/article-7095533/Pictures-downtown-LA-
                                                                            19   capture-problem-faces-trash-tries-rodents.html.
                                                                                        87
                                                                                           Harriet Ryan, ‘Absolutely terrifying’: Deputy city attorney says she
                                                                            20   contracted typhus at City Hall, Los Angeles Times, (Feb. 9, 2019, 5:45 PM),
                                                                                 https://www.latimes.com/local/lanow/la-me-ln-city-hall-typhus-20190209-
                                                                            21   story.html.
                                                                                        88
                                                                                           Jaclyn Cosgrove, LAPD employee contracts bacteria that causes typhoid
                                                                            22   fever, Los Angeles Times, (May 29, 2019, 8:44 PM),
                                                                                 https://www.latimes.com/local/lanow/la-me-ln-lapd-typhoid-fever-20190529-
                                                                            23   story.html.
                                                                                        89
                                                                                           California News Wire Services, State Slaps City Of LA Over Unsanitary
                                                                            24   Conditions, Los Angeles, CA Patch.com (Aug. 16, 2019, 1:31 PM),
                                                                                 https://patch.com/california/los-angeles/state-slaps-city-la-over-unsanitary-
                                                                            25   conditions.
                                                                                        90
                                                                                           Report of the Special Rapporteur on extreme poverty and human rights
                                                                            26   on his mission to the United States of America, U.N. Doc. A/HRC/38/33/Add.1
                                                                                 (May 4, 2018), https://documents-dds-
                                                                            27   ny.un.org/doc/UNDOC/GEN/G18/125/30/PDF/G1812530.pdf.
                                                                                        91
                                                                                           Ron Galperin, Los Angeles City Controller, Report on Homeless
                                                                            28   Encampments, Office of the Controller (Sept. 27, 2017),
                                                                                 https://lacontroller.org/audits-and-reports/homeless-encampments/.
                                                                                                                          33
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                                                                                                                 ID #:9281


                                                                             1          53. In addition to the societal implications associated with unsanitary
                                                                             2   conditions related to unsheltered homelessness, it has been well-documented that
                                                                             3   the physical and mental health of unsheltered persons is significantly worse than
                                                                             4   those of their sheltered or housed counterparts. 92 According to a report from the
                                                                             5   Los Angeles County Department of Public Health (“DPH”), homeless-related
                                                                             6   deaths doubled from 2013 to 2018.93 On average, a homeless person in Los
                                                                             7   Angeles will die 22 years earlier than the general population. 94 Importantly, the
                                                                             8   report noted:
                                                                             9                   A principal finding is that the overall homeless mortality
                                                                                                 rate has steadily increased over the past six years. This
                                                                            10                   means that increases in the number of homeless deaths
                                                                                                 recently reported in the media cannot be attributed solely
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                                                                            11                   to the fact that the total number of homeless people has
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                                                                                                 also been increasing. Put simply, being homeless     in LA
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                                                                            12                   County is becoming increasingly deadly. 95
                                      LOS ANGELES, CA 90025




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                                                                                           Adeline M. Nyamathi and Barbara Leake, et al., Sheltered versus
                                                                            22   nonsheltered homeless women, J. Gen. Intern. Med. vol. 15, issue 8, at pp. 565-72
                                                                                 (Aug. 2000), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1495574/; Janey
                                                                            23   Rountree, Nathan Hess, and Austin Lyke, Health Conditions Among Unsheltered
                                                                                 Adults in the U.S., California Policy Lab (October 2019),
                                                                            24   https://www.capolicylab.org/wp-content/uploads/2019/10/Health-Conditions-
                                                                                 Among-Unsheltered-Adults-in-the-U.S.pdf.
                                                                            25          93
                                                                                           County of Los Angeles, Public Health, Center for Health Impact
                                                                                 Evaluation, Recent Trends in Mortality Rates and Causes of Death Among
                                                                            26   People Experiencing Homelessness in Los Angeles County (October 2019),
                                                                                 http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                            27   al.pdf.94
                                                                                           Id. at 5 (“The average age at death was 51 among the homeless and 73
                                                                            28   among95the general population.”).
                                                                                           Id. (emphasis added).
                                                                                                                           34
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 35 of 113 Page
                                                                                                               ID #:9282


                                                                             1          54. Dr. Barbara Ferrer, director of DPH conceded: “Homeless people
                                                                             2   are in fact dying at a higher rate because they’re homeless.”96 Meaning, while
                                                                             3   the PIT count increases year-after-year, the mortality rate of the unsheltered
                                                                             4   population is increasing at an even faster rate. Below is a chart of the homeless
                                                                             5   deaths over the last seven years:
                                                                             6
                                                                             7
                                                                             8
                                                                             9
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                                      LOS ANGELES, CA 90025




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                                                                            14
                                                                            15
                                                                            16          55. Yet in New York City, where the number of people experiencing
                                                                            17   homelessness is high but the rate of unsheltered homelessness is low (5 percent
                                                                            18   compared to Los Angeles’ 75 percent), the mortality rates of homeless persons
                                                                            19   compared to general population low-income adults is nearly identical.97
                                                                            20   Unsheltered homelessness both causes and exacerbates physical and mental
                                                                            21   health problems. 98
                                                                            22
                                                                                       96
                                                                                           Jessica Flores, Homeless deaths in LA County doubled between 2013
                                                                            23   and 2018, Curbed Los Angeles (Oct. 30, 2019, 3:50 PM),
                                                                                 https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                            24          97
                                                                                           Bonnie D. Kerker, PhD, Jay Bainbridge, PhD, et al., A Population-Based
                                                                                 Assessment of the Health of Homeless Families in New York City, 2001–2003,
                                                                            25   American Journal of Public Health (Sept. 20, 2011),
                                                                                 https://ajph.aphapublications.org/doi/abs/10.2105/AJPH.2010.193102.
                                                                            26          98
                                                                                           County of Los Angeles, supra note 88,
                                                                                 http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                            27   al.pdf; Seena Fazel, MD, John R. Geddes, MD, et al., The health of homeless
                                                                                 people in high-income countries: descriptive epidemiology, health consequences,
                                                                            28   and clinical and policy recommendations, The Lancet, vol. 382, issue 9953, pp.

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 36 of 113 Page
                                                                                                               ID #:9283


                                                                             1          56. Los Angeles County has recognized this, and in 2012 the
                                                                             2   Department of Health Services launched a program called Housing for Health,
                                                                             3   observing “[a]ccess to community based housing options is an important element
                                                                             4   of our evolving county healthcare system, particularly in response to the
                                                                             5   homelessness crisis.”99 A study conducted by the RAND Corporation on the first
                                                                             6   890 participants enrolled found that the cost of providing health care per
                                                                             7   participant decreased by 40 percent (from an average of $38,146 to $15,358)
                                                                             8   because there was less need for the patients to access the system. 100
                                                                             9   D.    Crowded and Blocked Sidewalks Put Everyone at Risk
                                                                            10         57.    The homelessness crisis has also impeded the use of a critical
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                                                                            11   element of city life: sidewalks. Municipalities have an obligation to keep
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                                                                            12   sidewalks clear for use by the public. The City itself recognized this in its
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                                                                            13   Motion to Dismiss filed in the ongoing litigation in Garcia v. City of Los
                                                                            14   Angeles:
                                                                                              Sidewalks serve numerous functions and implicate a
                                                                            15                myriad of individual interests. Children on field trips,
                                                                                              persons with disabilities, mail carriers with delivery carts,
                                                                            16                free-speech demonstrators, shop owners, travelers, and
                                                                                              the many thousands of other persons that live, work, and
                                                                            17                visit Los Angeles—all have legitimate claims to use
                                                                                              these narrow strips of public property. As courts have
                                                                            18                long recognized, “[t]he public is entitled to the free and
                                                                                              unobstructed use of the entire streets and sidewalks . . . ”
                                                                            19                Vanderhurst v. Tholcke, 113 Cal. 147, 152 (1896). To
                                                                                              balance among the many, often competing uses, cities
                                                                            20
                                                                            21   1529-40 (Oct. 25, 2014),
                                                                                 https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(14)61132-
                                                                            22   6/fulltext.
                                                                                        99
                                                                                           Health Services of Los Angeles County, Housing for Health,
                                                                            23   http://dhs.lacounty.gov/wps/portal/dhs/housingforhealth (last visited Mar. 9,
                                                                                 2020).100
                                                                            24             Sarah B. Hunter, Housing for Health; Los Angeles County’s
                                                                                 Department of health Tackles Homelessness with an Innovative Housing
                                                                            25   Program That Saves Money, The Rand Blog (Jan. 18, 2018),
                                                                                 https://www.rand.org/blog/2018/01/housing-for-health-los-angeles-countys-
                                                                            26   department-of.html (Notably the County experienced a net savings of 20% even
                                                                                 taking the costs of housing into consideration (from an average of $38,146 per
                                                                            27   participant to $30,646). Of course, this number doesn’t take into consideration
                                                                                 the additional savings from other departments such as reduced law enforcement
                                                                            28   contacts.

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21        Page 37 of 113 Page
                                                                                                                ID #:9284

                                                                                                have been designated as trustees of these public spaces.
                                                                             1                  In this capacity, they have not only the power but “the
                                                                                                duty to keep their communities’ streets open and
                                                                             2                  available for movement of people and property.”
                                                                                                Schneider v. State, 308 U.S. 147, 160-61 (1939)
                                                                             3                  (emphasis added); see also Smith v. Corp. of Wash., 61
                                                                                                U.S. (20 How.) 135, 146 (1858); Cal. Gov. Code § 37359
                                                                             4                  (“the legislative body having control of any property
                                                                                                owned or controlled by the city may at any time
                                                                             5                  withdraw…or limit the access or use in area or time or in
                                                                                                any other reasonable manner deemed necessary.”).
                                                                             6
                                                                             7   Def. City of Los Angeles’ Mot. to Dismiss Suppl. Compl. at 2, Garcia v.
                                                                             8   City of Los Angeles, Case No.: 2:19-cv-6182-DSF-PLA (C.D. Cal. Oct. 21,
                                                                             9   2019), ECF No. 22.
                                                                            10         58.      While it is true that public sidewalks exist for the benefit of all—and
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                                                                            11   blocked sidewalks harm everyone who needs to use them and cannot, the harm
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                                                                            12   felt by all members of society is not identical. Free and clear sidewalks are
                                      LOS ANGELES, CA 90025




                                                                            13   critical for individuals using mobility devices like walkers and wheelchairs.
                                                                            14   Wheelchair users cannot simply step down off a curb and walk around to the
                                                                            15   other side of a tent; instead entire areas of the City are unavailable to wheelchair
                                                                            16   or walker assisted Angelenos seeking to traverse the streets. Public sidewalks
                                                                            17   and the maintenance thereof constitutes a “program, service, or activity within
                                                                            18   the meaning of Title II of the Americans with Disabilities Act and Section 504 of
                                                                            19   the Rehabilitation Act of 1973.” 101 Municipalities have an obligation to ensure
                                                                            20   that public sidewalks are usable and compliant with ADA requirements, such as
                                                                            21   providing a minimum of 36 inches of clearance for wheelchair users, yet the City
                                                                            22   regularly ignores its obligations and fails to provide such clearance.
                                                                            23         59.      Encampments throughout the City and County block sidewalks and
                                                                            24   public rights-of-way. Local governments, as acknowledged by the City, have an
                                                                            25   obligation to balance the needs of all citizens to access sidewalks, particularly for
                                                                            26   those with disabilities who have no alternative like stepping around a blockage.
                                                                            27
                                                                                       101
                                                                                             Willits v. City of Los Angeles, 925 F. Supp. 2d 1089, 1093 (C.D. Cal.
                                                                            28   2013).

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                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21        Page 38 of 113 Page
                                                                                                                ID #:9285


                                                                             1   The City acknowledged this yet again in its latest iteration of LAMC 41.18(a)(1)
                                                                             2   (making it a crime to sit, lie, sleep, or store, use, maintain, or place personal
                                                                             3   property “in a manner that impedes passage, as provided by the Americans with
                                                                             4   Disabilities Act of 1990, Pub. L. No. 101-336, 104 Stat. 328 (1990), as amended
                                                                             5   from time to time.”). Yet the City is consistently failing to ensure the minimum
                                                                             6   clearance (36 inches) under the ADA. As a result, disabled persons in
                                                                             7   wheelchairs such as plaintiffs Charles Van Scoy and Leandro Suarez must choose
                                                                             8   daily whether to stay in their homes or traverse the middle of the street with
                                                                             9   oncoming traffic.
                                                                            10         60.    The prevalent and virtually permanent nature of these encampments
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                                                                            11   which are unimpeded by any meaningful City enforcement or cleanup efforts
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                                                                            12   despite notice to the City, reflects an unambiguous official City policy to permit
                                      LOS ANGELES, CA 90025




                                                                            13   usurpation of public sidewalks in certain areas. For example, on Venice
                                                                            14   Boulevard under the 405 freeway, a large-scale encampment has been allowed to
                                                                            15   persist for years. City workers have actively encouraged homeless persons in
                                                                            16   nearby areas to move to this encampment. In the Skid Row area, as part of the
                                                                            17   Mitchell v. City of Los Angeles settlement, the City agreed to allow nearly
                                                                            18   unlimited property accumulation on the public sidewalks while providing little
                                                                            19   comfort to the ADA-based concerns regarding the navigational impediments to
                                                                            20   those with disabilities. In an ongoing effort to make City sidewalks more
                                                                            21   accessible, city workers in Skid Row ironically move encampments to create
                                                                            22   cutouts for disabled access, and then immediately permit encampments to return
                                                                            23   fully blocking the very sidewalk they just purportedly made more accessible.
                                                                            24   The freeway overpasses near the Los Angeles Civic Center are now so packed
                                                                            25   that it is difficult for an able-bodied individual to walk past without stepping in
                                                                            26   the street, and impossible for those who need the assistance of wheelchairs and
                                                                            27   walkers.
                                                                            28

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                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21       Page 39 of 113 Page
                                                                                                              ID #:9286


                                                                             1         61.    The sidewalk problem directly affects businesses that are accessed
                                                                             2   by sidewalks. This prevents disabled customers from reaching businesses, but
                                                                             3   also deters able-bodied customers who seek to access their businesses or abandon
                                                                             4   some businesses in favor of more accessible ones. Businesses are collectively
                                                                             5   spending hundreds of thousands of dollars on increased sanitation and security
                                                                             6   measures while struggling to maintain employees and tenants. Both business
                                                                             7   owners and residents of the area are thus subject to substantial and unreasonable
                                                                             8   interference with their enjoyment of their property. Indeed, the streets and
                                                                             9   sidewalks of Skid Row have been rendered unusable because of human waste,
                                                                            10   garbage, and encampments that the City has allowed to persist.
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                                                                            11   F.    Environmental Impact
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                                                                            12         62.    The unhealthiness of the homelessness crisis extends to the
                                      LOS ANGELES, CA 90025




                                                                            13   environment. There appears to be no environmental impact study of the kind of
                                                                            14   widespread and systemic homelessness in Los Angeles. Yet all indications show
                                                                            15   the impact has been significant. 102 Every day, businesses and residents find used
                                                                            16   needles in their drains, on sidewalks, and in gutters. Los Angeles County has far
                                                                            17   more unsheltered people than Orange County, and officials there recovered over
                                                                            18   14,000 hypodermic needles, plus over 5,000 pounds of “hazardous waste”
                                                                            19   including human waste, and toxic chemicals such as propane, pesticides,
                                                                            20   solvents, and paint during a clean-up of a homeless encampment in the Santa Ana
                                                                            21   Riverbed consisting of approximately 700 people. 103 While City sanitation
                                                                            22   workers are deployed to identify and discard toxic waste, only 30 teams are
                                                                            23
                                                                            24
                                                                                       102
                                                                                            Courtenay White, Environmental Impacts of Homeless Encampments in
                                                                            25   the Guadalupe River Riparian Zone, School of Environment and Sustainability,
                                                                                 Royal Roads University (Jan. 9, 2014),
                                                                            26   https://viurrspace.ca/bitstream/handle/10170/665/white_courtenay.pdf?sequence=
                                                                                 1&isAllowed=y.
                                                                            27          103
                                                                                            Anh Do, ‘Eye-popping’ number of hypodermic needles, pounds of waste
                                                                                 cleared from Orange County riverbed homeless encampment, Los Angeles Times
                                                                            28   (Mar. 10, 2018, 4:30 PM), https://www.latimes.com/local/lanow/la-me-ln-
                                                                                 riverbed-debris-20180310-story.html.
                                                                                                                         39
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 40 of 113 Page
                                                                                                               ID #:9287


                                                                             1   working to cover 500 square miles, missing countless numbers of needles, human
                                                                             2   waste, and other toxic substances making its way into our ecosystems.
                                                                             3           63.   The Environmental Protection Agency recognized this issue in a
                                                                             4   letter addressed to Governor Gavin Newsom:
                                                                             5
                                                                                               The EPA is aware of the growing homelessness crisis
                                                                             6                 developing in major California cities, including Los
                                                                                               Angeles and San Francisco, and the impact of this crisis
                                                                             7                 on the environment. Indeed, press reports indicate that
                                                                                               “piles of human feces” on sidewalks and streets in these
                                                                             8                 cities are becoming all too common. The EPA is
                                                                                               concerned about the potential water quality impacts from
                                                                             9                 pathogens and other contaminants from untreated human
                                                                                               waste entering nearby waters. San Francisco, Los
                                                                            10                 Angeles and the state do not appear to be acting with
                                                                                               urgency to mitigate the risks to human health and the
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                                                                            11                 environment   that may result from the homelessness
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                                                                                               crisis. 104
                                  1990 SOUTH BUNDY DR., SUITE 705




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                                      LOS ANGELES, CA 90025




                                                                            13           64.   Thousands of people camp in or near the Los Angeles River basin,
                                                                            14   without access to toilets and sanitation services. The amount of related toxic and
                                                                            15   human waste making its way into our environment is, upon information and
                                                                            16   belief, substantial, but its full scope is unknown. 105 The Ballona Wetlands have
                                                                            17   been ravaged by nearby encampments through raw sewage dumps, needles, and
                                                                            18   fires. 106
                                                                            19           65.   The power-washing scheme takes place daily throughout the City
                                                                            20   and uses likely millions of gallons of water yearly to clean refuse and filth from
                                                                            21   the streets and into our drains and ultimately, oceans. In a city and state facing
                                                                            22   water shortages, just on the other side of a devastating eight-year drought, such
                                                                            23
                                                                                         104
                                                                                            Letter to Governor Gavin C. Newsom from Andrew R. Wheeler,
                                                                            24   September 26, 2019, https://www.epa.gov/sites/production/files/2019-
                                                                                 09/documents/9.26.19_letter-epa.pdf.
                                                                            25          105
                                                                                            Anna Almendrala, Fecal Bacteria in California Waterways Increases
                                                                                 With Homelessness crisis, CaliforniaHealthline.org (Jan. 6, 2020),
                                                                            26   https://californiahealthline.org/news/fecal-bacteria-in-californias-waterways-
                                                                                 increases-with-homeless-crisis/.
                                                                            27          106
                                                                                            Erika D. Smith, Trash, needles and fire. He’s watching homelessness
                                                                                 destroy the Ballona Wetlands, Los Angeles Times (June 17, 2021, 5:00 AM),
                                                                            28   https://www.latimes.com/california/story/2021-06-17/hes-watching-la-
                                                                                 homelessness-destroy-ballona-wetlands.
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                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 41 of 113 Page
                                                                                                               ID #:9288


                                                                             1   water usage, particularly without any kind of review taking place, is shameful
                                                                             2   and ultimately threatening to the water systems of the City and County.
                                                                             3         66.    The environmental impact of fires arising out of homelessness is
                                                                             4   also of great concern. Fires originating in homeless encampments are not just a
                                                                             5   potential threat—they have actually destroyed thousands of acres of brush and
                                                                             6   wildlife. The sweeping footprints of the City and County of Los Angeles
                                                                             7   encompass vast amounts of undeveloped land, full of dry brush and other readily
                                                                             8   combustible material. Such areas are an attractive location for many homeless
                                                                             9   persons wishing to reside “off the grid” and the combination of propane-fueled
                                                                            10   cooking fires and bootlegged electricity in untended conditions is a recipe for,
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                                                                            11   and indeed has already resulted in, massively destructive fires.
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                                                                            12   G.    Property Values and Businesses are Affected
                                      LOS ANGELES, CA 90025




                                                                            13         67.    Another casualty of the homelessness crisis is the value of property
                                                                            14   and businesses. Downtown Los Angeles has experienced a renaissance over the
                                                                            15   last 20 years with loft conversions, hundreds of new restaurants, and until
                                                                            16   recently over three million square feet of office space under construction. 107 That
                                                                            17   renaissance is now in jeopardy due to the homelessness crisis. Businesses are
                                                                            18   suffering and property values have been affected. The average apartment
                                                                            19   occupancy rate, rent pricing, number of sales, and sale price per square foot
                                                                            20   downtown have all decreased from 2018 numbers correlating with a rise in
                                                                            21   homelessness at the same time. Businesses throughout Los Angeles, such as
                                                                            22   Desuar Spa on 5th Street, owned by Deisy Suarez, and Exclusive Motors on
                                                                            23   Venice Boulevard, owned by George Frem, both described infra, have customers
                                                                            24   declining to utilize their services due to nearby encampments.
                                                                            25
                                                                                       107
                                                                                          Vivian Marino, Revitalization Projects Reawaken Downtown Los
                                                                            26   Angeles, The New York Times (Mar. 5, 2019),
                                                                                 https://www.nytimes.com/2019/03/05/business/revitalization-projects-reawaken-
                                                                            27   downtown-los-angeles.html; Andrea Lo, How downtown Los Angeles made a
                                                                                 stunning comeback, CNN.com (Feb. 16, 2017, 3:50 PM),
                                                                            28   https://www.cnn.com/2017/02/15/architecture/downtown-la-revival/index.html.

                                                                                                               41
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 42 of 113 Page
                                                                                                               ID #:9289


                                                                             1         68.    Nowhere is the impact felt more strongly than on Skid Row itself,
                                                                             2   where encampments are visibly choking out local property owners and
                                                                             3   businesses. Plaintiff Joseph Burk can no longer maintain tenants in his building
                                                                             4   and production companies are declining to work there due to the surrounding
                                                                             5   environment. He has been trying to sell the property but the offers he receives
                                                                             6   have been less than half of what other comparable properties receive in
                                                                             7   neighboring areas. Even the low offers he has accepted have dropped out of
                                                                             8   escrow due to concerns about the area. He has been trying to rent the property,
                                                                             9   but no one will rent it. He and his wife had been living there, but due to the
                                                                            10   conditions on the sidewalk outside his home, it is unlivable. He is now saddled
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                                                                            11   with what should be a valuable building that is near-impossible to sell, rent, live
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                                                                            12   in, or use for business purposes—all due to conditions outside his property that
                                      LOS ANGELES, CA 90025




                                                                            13   are beyond his control, but are directly within the City’s control.
                                                                            14         69.    Alliance member Lisa Rich’s family has owned commercial
                                                                            15   property in the Skid Row area for decades, but she is now having to heavily
                                                                            16   discount the rents she charges, repair at least one building damaged by fires at a
                                                                            17   cost of $80,000, and pay four times her prior premiums for fire insurance. These
                                                                            18   burdens have her considering abandoning all financial dealings in the area.
                                                                            19   Alliance member Mark Shinbane has difficulty hiring and retaining employees,
                                                                            20   has had to replace doors and fences, has to clean the perimeter of the building
                                                                            21   multiple times per day, and has had to hire additional staff to handle cleaning and
                                                                            22   maintenance, all at economic cost. Plaintiff Harry Tashdjian has been forced to
                                                                            23   spend over $100,000 on upgraded fire and security systems and pest control just
                                                                            24   in the last few years while simultaneously losing customers due to the property’s
                                                                            25   surroundings.
                                                                            26   H.    The Homelessness Crisis Harms Society
                                                                            27          70. The City and County have basic obligations to its citizens, all its
                                                                            28   citizens, to preserve the public health, to ensure a semblance of law and order,

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                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 43 of 113 Page
                                                                                                               ID #:9290


                                                                             1   and to maintain public areas and infrastructure for the use and enjoyment of all its
                                                                             2   residents. Yet the homelessness crisis persists and threatens all of these: general
                                                                             3   public welfare and health threatened by disease, rats, and toxic waste permeating
                                                                             4   public areas. Law and public order are being threatened by the increased crime
                                                                             5   both on and by homeless individuals, driven by rampant drug addiction and its
                                                                             6   concomitant gang and property-related crimes. Unchecked waste and disease
                                                                             7   affect the sheltered and unsheltered alike living in or near these areas.
                                                                             8         71.    The County, as the provider of last resort, has the additional
                                                                             9   obligation to “relieve and support all incompetent, poor, indigent persons, and
                                                                            10   those incapacitated by age, disease, or accident . . . when such persons are not
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                                                                            11   supported and relieved by their relatives or friends, by their own means, or by
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                                                                            12   state hospitals or other state or private institutions.” Cal. Welf. & Inst. Code
                                      LOS ANGELES, CA 90025




                                                                            13   §17000. The purpose animating Section 17000 is to “provide for protection,
                                                                            14   care, and assistance to the people of the state in need thereof, and to promote the
                                                                            15   welfare and happiness of all of the people of the state by providing appropriate
                                                                            16   aid and services to all of its needy and distressed.” Cal. Welf. & Inst. Code
                                                                            17   §10000. Yet the “incompetent, poor, [and] indigent persons” are not being
                                                                            18   relieved and supported, nor is “protection, care, and assistance” being given to
                                                                            19   those who desperately need it. The result is readily observable: squalor,
                                                                            20   lawlessness, disease, and death.
                                                                            21   I.    Crucial Funds that Could Alleviate this Man-Made Disaster are
                                                                            22         Tragically Misspent and Misdirected
                                                                            23         72.    The challenges presented by the homelessness crisis persist despite
                                                                            24   massive expenditures of taxpayer dollars. For the 2020-2021 fiscal year, the City
                                                                            25   of Los Angeles has approved nearly $1 billion to be used towards homelessness
                                                                            26   relief, which at first glance represents almost 10% of the City’s $11 billion
                                                                            27   budget and a nearly 500% increase from the $176 million budgeted to address
                                                                            28

                                                                                                               43
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 44 of 113 Page
                                                                                                               ID #:9291


                                                                             1   homelessness in 2019-2020. 108 However, with $281 million dedicated from
                                                                             2   federal Covid-19 relief, $362 million from Proposition HHH funds, and $150
                                                                             3   million dedicated from unused funds the year before, the increase isn’t nearly as
                                                                             4   stark as it seems at first glance, as “only” $162 million comes from the general
                                                                             5   fund. Still, with nearly $1 billion dedicated in a single year, Los Angeles could
                                                                             6   realistically provide a bed for every unsheltered person on the streets,
                                                                             7   immediately alleviating the suffering and human tragedy unfolding today. But
                                                                             8   rather than dedicate the funds to saving lives, the City is dedicating $362 million
                                                                             9   to only 89 permanent supportive housing projects, $200 million for “affordable
                                                                            10   housing, homeless prevention, eviction defense, and other homeless services,”
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                                                                            11   and the rest to a spattering of other increased services. This is not the “FEMA-
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                                                                            12   style” response all leaders agree is necessary to finally get ahead of the crisis and
                                      LOS ANGELES, CA 90025




                                                                            13   cannot possibly achieve the ostensible goal for which it is being apportioned.
                                                                            14         73.    In 2016, City residents voted overwhelmingly to increase their
                                                                            15   property taxes and issue general obligation bonds to generate a total of $1.2
                                                                            16   billion over a ten-year period with the claimed goal of building 10,000 units of
                                                                            17   Permanent Supportive Housing (“PSH”).109 The City of Los Angeles has now
                                                                            18
                                                                            19         108
                                                                                            MAYOR GARCETTI SIGNS 2021-2022 BUDGET, Los Angeles Mayor
                                                                                 (June 2, 2021) https://www.lamayor.org/mayor-garcetti-signs-2021-2022-budget;
                                                                            20   City of Los Angeles, Budget Summary (2019-2020),
                                                                                 http://cao.lacity.org/budget19-20/2019-20Budget_Summary.pdf.
                                                                            21          109
                                                                                            The Proposition HHH ballot described it thus:
                                                                            22                To provide safe, clean affordable housing for the
                                                                                              homeless and for those in danger of becoming homeless,
                                                                            23                such as battered women and their children, veterans,
                                                                                              seniors, foster youth, and the disabled; and provide
                                                                            24                facilities to increase access to mental health care, drug
                                                                                              and alcohol treatment, and other services; shall the City
                                                                            25                of Los Angeles issue $1,200,000,000 in general
                                                                                              obligation bonds, with citizen oversight and annual
                                                                            26                financial audits?
                                                                            27   City of Los Angeles, City Clerk, Voter Information Pamphlet at 7 (Nov. 8,
                                                                                 2016),
                                                                            28   http://clerk.cityofla.acsitefactory.com/sites/g/files/wph606/f/2016%20Nove
                                                                                 mber%20County%20WEB_English.pdf.
                                                                                                                           44
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 45 of 113 Page
                                                                                                               ID #:9292


                                                                             1   allocated most of that $1.2 billion, for a slated total of “5,873 supportive units for
                                                                             2   homeless residents and another 1,767 affordable units” presumably for low-
                                                                             3   income (but not yet homeless) persons. 110 Those numbers are down to 5,730 and
                                                                             4   1,376 respectively. 111 While permanent housing is certainly a valuable piece of
                                                                             5   the puzzle, the median cost of HHH housing is now an astonishing $573,339 per
                                                                             6   unit, greater than many market-rate homes for sale in Los Angeles County. “An
                                                                             7   unusually high 35 to 40 percent of costs are so-called ‘soft costs’ (development
                                                                             8   fees, consultants, financing, etc.) compared to just 11 percent for actual land
                                                                             9   costs.” 112 Part of the high cost is due to the “elongated approval and construction
                                                                            10   timelines”—three to six years—which is “plainly out of step with the City’s
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                                                                            11   urgent need to bring tens of thousands of people off the streets and into
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                                                                            12   housing.” 113 The purpose of HHH was to provide a significant solution to
                                      LOS ANGELES, CA 90025




                                                                            13   address the increasing homelessness crisis. Yet for less than a quarter of the $1.2
                                                                            14   billion price tag, the City of Los Angeles could provide a bed for every
                                                                            15   unsheltered Angeleno. 114 Instead, year after year, the PIT count has increased
                                                                            16   and to date, over five years since Proposition HHH was passed, only 1,002 PSH
                                                                            17   units have been opened. In focusing almost exclusively on permanent supportive
                                                                            18   housing, a solution which should be part of the equation but alone takes too long,
                                                                            19   is too expensive, and provides less than 20 percent of the beds actually needed,
                                                                            20   the City has wasted its best opportunity to address this crisis and failed to use the
                                                                            21
                                                                                       110
                                                                                            Ron Galperin, LA Controller, High Cost of Homeless Housing: Review
                                                                            22   of Proposition HHH, (Oct. 8, 2019), https://lacontroller.org/wp-
                                                                                 content/uploads/2019/10/The-High-Cost-of-Homeless-Housing_Review-of-Prop-
                                                                            23   HHH_10.8.19.pdf.
                                                                                        111
                                                                                            See Los Angeles Mayor, supra note 20,
                                                                            24   https://www.lamayor.org/summary-hhh-pipeline.
                                                                                        112
                                                                                            Id.
                                                                            25          113
                                                                                            Id.
                                                                                        114
                                                                                            HHH is funded using General Obligation (G.O.) bonds, which are
                                                                            26   limited by the California Constitution to fund “the acquisition or improvement of
                                                                                 real property.” Cal. Const. art. 13A § 1(b)(2). The phrase “acquisition or
                                                                            27   improvement of real property” is not defined by legal authority. There are many
                                                                                 options presented herein which could easily fall within this category, including
                                                                            28   tiny home structures, 3D printed homes, or modification of existing structures
                                                                                 such as the abandoned L.A. County hospital.
                                                                                                                          45
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21      Page 46 of 113 Page
                                                                                                               ID #:9293


                                                                             1   funds in a manner that would accomplish its stated goal as promised to the voters
                                                                             2   in 2016. And in doing so has, in fact, created and extended the crisis.
                                                                             3         74.    While most of the HHH money has been committed (though many
                                                                             4   have not even broken ground yet), there have been several opportunities to pivot
                                                                             5   strategies and claw-back some of the funding. For example, on December 10,
                                                                             6   2019, LA City Council voted to give an extension to several developers who have
                                                                             7   missed deadlines.115 That extension represented $225 Million that could have
                                                                             8   been pulled back from Permanent Supportive Housing and used to provide
                                                                             9   shelter for approximately 20,000 homeless individuals. As it is, these projects
                                                                            10   only fund 410 units, of which 284 are slated for supportive housing for chronic
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                                                                            11   homeless and 126 for low-income families.
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                                                                            12         75.    According to the City’s Prop HHH Progress website, $966,614,712
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                                                                            13   of the $1.2 billion has been “committed” which leaves $233,385,288 that could
                                                                            14   be immediately utilized for emergency and interim shelter opportunities.116 Of
                                                                            15   the funds that have been “committed,” $338,969,943 million is for projects in the
                                                                            16   “predevelopment” stage meaning letters of commitment have been issued but no
                                                                            17   final contract has been signed. 117
                                                                            18         76.    The ballot language on Proposition HHH explicitly provided that
                                                                            19   approved funds would be made available for three types of housing: (a)
                                                                            20
                                                                            21         115
                                                                                            City of Los Angeles, City Clerk, LACityClerk Connect, Council File:
                                                                                 17-0090-S2,
                                                                            22   https://cityclerk.lacity.org/lacityclerkconnect/index.cfm?fa=ccfi.viewrecord&cfn
                                                                                 umber=17-0090-S2      (last visited Mar. 9, 2020).
                                                                            23          116
                                                                                            Los Angeles Housing and Community Investment Department
                                                                                 (“LAHCID”), HHH Progress (Feb. 23, 2021),
                                                                            24   https://hcidla2.lacity.org/housing/hhh-progress; LAHCID, Proposition HHH
                                                                                 Developments Summary (Feb. 24, 2021), https://hcidla2.lacity.org/housing/prop-
                                                                            25   hhh-developments-summary. But see Ron Galperin, LA Controller, Meeting the
                                                                                 Moment: An Action Plan to Advance Prop. HHH (Sept. 9, 2020),
                                                                            26   https://lacontroller.org/audits-and-reports/hhhactionplan/ issued by the City
                                                                                 Controller September 9, 2020 which noted that $1.17 billion had been committed,
                                                                            27   and only $30 million remained unallocated. The City should provide accurate
                                                                                 updated   numbers so the Court may determine the funds available.
                                                                            28          117
                                                                                            LAHCID, HHH Progress, supra note 115,
                                                                                 https://hcidla2.lacity.org/housing/hhh-progress.
                                                                                                                            46
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 47 of 113 Page
                                                                                                               ID #:9294


                                                                             1   supportive housing for homeless individuals where services such as health care,
                                                                             2   mental health, and substance use treatment may be provided, (b) temporary
                                                                             3   shelters and facilities, such as storage and showers, and (c) affordable housing
                                                                             4   (up to 20% of bond funds). 118 The ballot measure required that at least 80
                                                                             5   percent of HHH funds be used on supportive housing, shelters and facilities and
                                                                             6   affordable housing, but it did not specify how to distribute funds between those
                                                                             7   categories.119 The City unilaterally decided to spend the vast majority of the
                                                                             8   funding on supportive housing and virtually nothing on temporary shelters.120 As
                                                                             9   of September 2020, only $58 million—a mere 5% of total Proposition HHH
                                                                            10   funds had been allocated to interim shelter and facilities projects. Of the shelters
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                                                                            11   funded by Proposition HHH, the overwhelming majority of the projects (19 of
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                                                                            12   24) were mere renovations to existing shelters and facilities rather than new
                                      LOS ANGELES, CA 90025




                                                                            13   construction, providing only 196 additional shelter beds. The almost exclusive
                                                                            14   focus on permanent supportive housing in lieu of a balanced approach that also
                                                                            15   funds shelter beds is contrary to the language of the proposition passed by voters.
                                                                            16         77.    Five years have passed since the passage of Proposition HHH and
                                                                            17   very little housing has been built. Only 16 projects, containing 1,002 units, have
                                                                            18   been completed. There are additional approved projects with 5,730 supportive
                                                                            19
                                                                            20
                                                                            21         118
                                                                                            Los Angeles, California, Homelessness Reduction and Prevention
                                                                                 Housing, and Facilities Bond Issue, Measure HHH (November 2016),
                                                                            22   https://ballotpedia.org/Los_Angeles,_California,_Homelessness_Reduction_and_
                                                                                 Prevention_Housing,_and_Facilities_Bond_Issue,_Measure_HHH_(November_2
                                                                            23   016). 119
                                                                                            Id.
                                                                            24          120
                                                                                            Galperin, supra note 22; (see also Hr’g Tr. 99:25-100:5, Feb. 4, 2021
                                                                                 (Meg Barclay: “[W]e made a recommendation to discontinue the facilities
                                                                            25   program in order to—because we were not getting a lot of applications for new
                                                                                 beds and because we wanted to make sure that the Measure was focused on
                                                                            26   permit units which, as you know, is the permanent solution to homelessness.”)
                                                                                 and 100:14-20 (“So, it wasn’t that the City’s focus was not on assisting facilities,
                                                                            27   we just chose to—the recommendation that was approved by Council and the
                                                                                 Mayor was to focus Proposition HHH on permanent housing and the permanent
                                                                            28   solution for people and to use other resources to significantly expand the amount
                                                                                 of shelter that was available in the community.”)).
                                                                                                                          47
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 48 of 113 Page
                                                                                                               ID #:9295


                                                                             1   and 1,376 non-supportive units in the pipeline. 121 As of September 2020, only 19
                                                                             2   percent of the units remaining in the HHH development pipeline will be
                                                                             3   completed by January 1, 2022, and only 43 percent of total units are scheduled to
                                                                             4   be completed by January 1, 2023. 122 It is highly unlikely that all projects will be
                                                                             5   completed by 2025, with the average project timeline ranging between three and
                                                                             6   six years. 123 Even with 7,227 units in the pipeline, if the City were to construct
                                                                             7   housing at its current rate, it would take nearly 30 years to build enough housing
                                                                             8   for all those currently experiencing homelessness. By then tens of thousands
                                                                             9   more will become homeless, suffer, and die on the streets as a result of this poor
                                                                            10   planning.
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                                                                            11         78.    Proposition HHH housing is also very expensive – higher than
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                                                                            12   market rate housing. The median price to construct a Proposition HHH unit in
                                      LOS ANGELES, CA 90025




                                                                            13   Los Angeles is $578,339. More than 28 percent of units in construction exceed
                                                                            14   $600,000 per unit and nearly 33 percent of units in pre-development are projected
                                                                            15   to exceed the same cost threshold. For one development project in particular,
                                                                            16   pre-development costs exceeded $76 million. Id. Indeed, the City’s
                                                                            17   Comprehensive Homelessness Strategy (January 2016) estimated that the cost of
                                                                            18   building each studio/one-bedroom unit would be $350,000, and the cost of a two-
                                                                            19   bedroom unit or larger would be $414,000.124 The average cost to build a custom
                                                                            20   home in Los Angeles starts at $350,000.125 At this rate, more individuals will
                                                                            21
                                                                            22         121
                                                                                            LAHCID, HHH Progress, supra note 115,
                                                                                 https://hcidla2.lacity.org/housing/hhh-progress.
                                                                            23          122
                                                                                            Galperin, supra note 22, https://lacontroller.org/audits-and-
                                                                                 reports/hhhactionplan/.
                                                                            24          123
                                                                                            Id.
                                                                                        124
                                                                                            Ron Galperin, LA Controller, High Cost of Housing: Review of
                                                                            25   Proposition HHH, (Oct. 8, 2019), https://lacontroller.org/wp-
                                                                                 content/uploads/2019/10/The-High-Cost-of-Homeless-Housing_Review-of-Prop-
                                                                            26   HHH_10.8.19.pdf.
                                                                                        125
                                                                                            See e.g. Pacific Green Homes, How Much Does it Cost to Build a
                                                                            27   House in Los Angeles?, https://www.pacificgreenhomesinc.com/new-home-
                                                                                 construction/how-much-does-it-cost-to-build-a-house-in-los-
                                                                            28   angeles/#:~:text=The%20relative%20scarcity%20of%20vacant,only%20goes%2
                                                                                 0up%20from%20there (last visited Mar. 3, 2021).
                                                                                                                           48
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21         Page 49 of 113 Page
                                                                                                                ID #:9296


                                                                             1   become homeless than will be able to occupy the permanent units as they come
                                                                             2   online.
                                                                             3         79.    Comparatively, interim shelters, such as Tiny Home villages, cost
                                                                             4   significantly less (although still astronomically higher in Los Angeles than other
                                                                             5   jurisdictions), provide a “calming sense of order,” hot meals, laundry, restrooms,
                                                                             6   showers, and most importantly “mak[e] an impact on homelessness, changing
                                                                             7   lives in a humane and concrete way.”
                                                                             8         80.    In April, 2020, all benchmarks and deadlines pertaining to current
                                                                             9   HHH projects were indefinitely suspended. 126 Traditionally under Proposition
                                                                            10   HHH a project is given a commitment letter and two years to obtain the rest of
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                                                                            11   the funding (the pre-development phase); upon a project obtaining full funding, it
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                                                                            12   may commence with certain deadlines and benchmarks. However, the Mayor of
                                      LOS ANGELES, CA 90025




                                                                            13   Los Angeles, using his emergency powers, unilaterally suspended all deadlines
                                                                            14   including site control, schedule of performance, and funding commitments. The
                                                                            15   Mayor’s order came directly after the State of California specifically exempted
                                                                            16   construction workers and financial institutions from the stay-at-home order as
                                                                            17   “essential workers.” So there was no reason for this across-the-board tolling of
                                                                            18   all dates and deadlines, and there certainly is no reason for the order to be
                                                                            19   continuing to this day. 127 The result of this unilateral, indefinite order is zero
                                                                            20   accountability for any deadlines in the pipeline, zero accountability for the
                                                                            21   production of any housing units in construction, and zero accountability for the
                                                                            22   over $700 million sitting in the city’s coffers collecting dust. This is an absolute
                                                                            23   waste of a massive amount of money that could be used to save lives.
                                                                            24
                                                                                       126
                                                                                           See Mitchell Decl. Ex. B, ECF 239-1.
                                                                            25         127
                                                                                           See Mitchell Decl., Ex. C, a report generated on February 12, 2021,
                                                                                 ECF 239-1. The “U” column is labeled “HHH Commitment Expiration Date
                                                                            26   Plus Tolling Order” with an end date of February 12 (i.e. the date the report was
                                                                                 generated). To Plaintiffs knowledge, the tolling did not end on February 12,
                                                                            27   2021, that date was used because it was the date the report was generated. This
                                                                                 demonstrates unambiguously that tolling of all deadlines is still ongoing, and the
                                                                            28   Proposition HHH Oversight Committee is aware of said tolling yet still it
                                                                                 continues.
                                                                                                                          49
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 50 of 113 Page
                                                                                                               ID #:9297


                                                                             1         81.    Since the passage of Proposition HHH, the number of unhoused
                                                                             2   people in the City of Los Angeles has ballooned from 28,464 to at least 41,290,
                                                                             3   an explosion of nearly 70 percent.128 While permanent supportive housing is an
                                                                             4   important component within the broader plan to address homelessness, it cannot
                                                                             5   be the only solution: at its current cost and pace, thousands will suffer and die,
                                                                             6   and thousands more will deteriorate—becoming increasingly drug dependent and
                                                                             7   mentally ill—before any housing from Proposition HHH becomes realistically
                                                                             8   available. Peter Lynn, former executive director of LAHSA, has observed that
                                                                             9   “[o]n our present course, it will take far too long to build far too few units of
                                                                            10   housing to effectively end this crisis.”129 Indeed, in the five years since
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                                                                            11   Proposition HHH was passed, 1,002 units have been built and 5,786 people
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                                                                            12   have died on the streets of Los Angeles.
                                      LOS ANGELES, CA 90025




                                                                            13         82.    Another source of waste is found in the City’s encampment clean-up
                                                                            14   strategy. In July 2019 the City Council approved an increase of $6.45 million on
                                                                            15   top of $26.5 million already in the budget for both noticed and “rapid response”
                                                                            16   clean-ups consisting of Sanitation workers and LAPD Officers responding to
                                                                            17   particular areas of homeless encampments, having camp residents move their
                                                                            18   property, process what is left (dumping literally thousands of tons of needles and
                                                                            19   toxic waste yearly), and then permitting the same encampments to return to the
                                                                            20   same location.130 The cycle repeats itself with no ultimate change or real net
                                                                            21
                                                                            22         128
                                                                                            LAHSA, 2016 Homeless Count Results Los Angeles County and LA
                                                                                 Continuum of Care (updated May 10, 2016),
                                                                            23   https://www.lahsa.org/documents?id=1294-2016-homeless-count-results.pdf.
                                                                                 See also LAHSA, 2020 Greater Los Angeles Homeless Count Results (last
                                                                            24   updated Sept. 3, 2020), https://www.lahsa.org/news?article=726-2020-greater-
                                                                                 los-angeles-homeless-count-results.
                                                                            25          129
                                                                                            LAHSA, LAHSA Releases 2019 Housing Inventory Count (last
                                                                                 updated Oct. 1, 2019), https://www.lahsa.org/news?article=584-lahsa-releases-
                                                                            26   2019-housing-inventory-count&ref=policy.
                                                                                        130
                                                                                            City of Los Angeles, Mayor Eric Garcetti, Mayor Garcetti Announces
                                                                            27   New Plan to Deploy New Sanitation Teams, Deliver Services to Homeless
                                                                                 Encampments (June 19, 2019), https://www.lamayor.org/mayor-garcetti-
                                                                            28   announces-new-plan-deploy-new-sanitation-teams-deliver-services-homeless-
                                                                                 encampments.
                                                                                                                        50
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21       Page 51 of 113 Page
                                                                                                              ID #:9298


                                                                             1   positive benefit for the campers or society. As one person noted about the plan:
                                                                             2   “This, while well-intentioned, is housekeeping service for encampments.”131
                                                                             3   Mayor Garcetti apparently agrees this program is a waste: “We can’t sweep or
                                                                             4   move homelessness away. . . We’re not going to wash down sidewalks one day,
                                                                             5   only to see an encampment return the next, and people not helped. It doesn’t get
                                                                             6   any single person off the street with that strategy.”132 While having unfettered
                                                                             7   access to the streets requires comprehensive clean-ups to reduce the litany of
                                                                             8   public health issues associated with street homelessness, there’s no version of
                                                                             9   success in the plan, only wheel-spinning.
                                                                            10         83.    The County also faces tough questions about its management of
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                                                                            11   homelessness-related funds. This fiscal year, the County passed a $36.2 billion
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                                                                            12   budget for this fiscal year, which includes an estimated $465,090,000 raised by
                                      LOS ANGELES, CA 90025




                                                                            13   Measure H dedicated to addressing homelessness. Measure H was described as a
                                                                            14   tax voted for by county residents in 2017 to “fund mental health, substance abuse
                                                                            15   treatment, health care, education, job training, rental subsidies, emergency and
                                                                            16   affordable housing, transportation, outreach, prevention, and supportive services
                                                                            17   for homeless children, families, foster youth, veterans, battered women, seniors,
                                                                            18   disabled individuals, and other homeless adults.”133 This amount is wholly
                                                                            19   separate from, and in addition to, the significant percentage of County funds
                                                                            20   allotted to departments to address issues of homelessness, including those housed
                                                                            21   and treated in County jails, emergency treatment and transport, Department of
                                                                            22
                                                                                       131
                                                                                            Emily Alpert Reyes, L.A. could overhaul how homeless encampments
                                                                            23   are cleaned, Los Angeles Times (June 19, 2019, 3:00 AM),
                                                                                 https://www.latimes.com/local/lanow/la-me-ln-homeless-encampment-cleanup-
                                                                            24   dumping-bathrooms-trash-20190619-story.html.
                                                                                        132
                                                                                            Aaron Schrank, LA seeks permanent solution to homeless encampments,
                                                                            25   Marketplace (Apr. 26, 2018), https://www.marketplace.org/2018/04/26/la-seeks-
                                                                                 permanent-solution-homeless-encampments/.
                                                                            26          133
                                                                                            County of Los Angeles, LA County budget process concludes with
                                                                                 adoption of $36.1 billion supplemental budget (2019-2020),
                                                                            27   https://lacounty.gov/budget/; Los Angeles County, California, Sales Tax for
                                                                                 Homeless Services and Prevention, Measure H, Ballotpedia.org (March 2017),
                                                                            28   https://ballotpedia.org/Los_Angeles_County,_California,_Sales_Tax_for_Homel
                                                                                 ess_Services_and_Prevention,_Measure_H_(March_2017)
                                                                                                                         51
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 52 of 113 Page
                                                                                                               ID #:9299


                                                                             1   Mental Health, LA County Fire Department, medical treatment through various
                                                                             2   hospitals and treatment centers, and criminal prosecution and defense costs, not
                                                                             3   to mention funding General Relief and other myriad social services.
                                                                             4         84.    Since the passage of Measure H and its concomitant additional
                                                                             5   hundreds of millions of dollars for housing and services, the homeless population
                                                                             6   in LA County has risen from 57,794 to 66,436 (a 13 percent increase). The
                                                                             7   problem is outpacing the solution and the County has failed to utilize the funds in
                                                                             8   a manner that would effectuate the goal.134 This extra tax produced over $500
                                                                             9   million in Fiscal Year 2019-2020, and is implemented across 47 separate
                                                                            10   goals. 135 A substantial portion of these funds are wasted through a failure to
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                                                                            11   spend the funds or spending them in ways that are inherently wasteful, such as
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                                                                            12   paying for capacity of beds rather than utilization.
                                      LOS ANGELES, CA 90025




                                                                            13         85.    Solutions exist that would meet the articulated program goals of
                                                                            14   Measure H and Proposition HHH in a time- and cost-effective manner, including
                                                                            15   Sprung structures (already being used in many places in Los Angeles), military-
                                                                            16   grade inflatable tents (being utilized in Honolulu), pallet shelters (being used in
                                                                            17   Sacramento), and festival tents (utilized in Modesto), discussed in para. 18 supra.
                                                                            18   Board and care facilities could be utilized as bridge shelters. The City of Seattle
                                                                            19   has created small “villages” of tiny houses which don’t require a lot of property
                                                                            20   (6,000 to 30,000 square feet) and can be built in a matter of months, with
                                                                            21   building cost of $1,500-$7,500 per unit (depending on utility connections) and
                                                                            22
                                                                                       134
                                                                                            County of Los Angeles, County develops action plan for homelessness
                                                                            23   prevention (Dec. 16, 2019), https://homeless.lacounty.gov/news/county-
                                                                                 develops-action-plan-for-homelessness-prevention/ (approximately 133 people
                                                                            24   per day are finding some sort of housing, while an estimate 150 people per day
                                                                                 are entering homelessness); Erika D. Smith, In 2019, homelessness truly felt like
                                                                            25   a crisis in every corner of L.A., Los Angeles Times (Dec. 20, 2019, 3:00 AM),
                                                                                 https://www.latimes.com/california/story/2019-12-10/homeless-housing-crisis-
                                                                            26   los-angeles.
                                                                                        135
                                                                                            2019-20 Actual Measure H Expenditures, (October 9, 2020),
                                                                            27   https://homeless.lacounty.gov/wp-content/uploads/2020/10/COAB-Measure-H-19-
                                                                                 20-AC-Close-Out.pdf; Approved Strategies to Combat Homelessness, Los Angeles
                                                                            28   County Homeless Initiative (February 2016), https://homeless.lacounty.gov/wp-
                                                                                 content/uploads/2018/07/HI-Report-Approved2.pdf.
                                                                                                                         52
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 53 of 113 Page
                                                                                                               ID #:9300


                                                                             1   run on an annual budget of $3,000-$7,000 depending on services provided. 136
                                                                             2   Hundreds of smaller properties throughout the City and County of Los Angeles
                                                                             3   fit the bill and could be utilized in a large-scale way to provide an “enhanced
                                                                             4   shelter” option. 137
                                                                             5          86.    One of the most promising solutions to this crisis already exists in
                                                                             6   the form of collaborative housing, yet LAHSA refuses to refer homeless persons
                                                                             7   to the program, calling it “undignified” because it houses two to a room (like
                                                                             8   college dormitories or sober living facilities), and doesn’t permit alcohol and
                                                                             9   drug use within the houses (even though LAHSA purports to encourage a life
                                                                            10   style of recovery).138 SHARE! collaborative housing provides affordable
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   permanent supportive housing in single-family houses and duplexes throughout
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                                                                            12   Los Angeles County. It utilizes a shared housing model, wherein existing single
                                      LOS ANGELES, CA 90025




                                                                            13   family homes are purchased or leased, or new homes or duplexes are constructed,
                                                                            14   the home is furnished with low-cost basic furniture, and persons are housed two-
                                                                            15   to-a-room forming a sense of community and kinship, and supported by peer
                                                                            16   advocate counselors. Residents pay rent averaging $600 per month (sufficiently
                                                                            17   low that it is covered by supplemental security income (“SSI”), social security
                                                                            18   disability insurance (“SSDI”), or low-wage jobs with enough left over for food
                                                                            19   and other basics of life); no security deposit is required and all bedding, cleaning
                                                                            20
                                                                            21          136
                                                                                            Lee, supra note 28, https://shelterforce.org/2019/03/15/tiny-house-
                                                                                 villages-in-seattle-an-efficient-response-to-our-homelessness-crisis/. .
                                                                            22          137
                                                                                            Examples cited in one private study include 3.6 acres of empty, county-
                                                                                 owned property located at Soto and E. Cesar Chavez, 13.5 acres of underutilized
                                                                            23   county-owned property located at Adams and Grand, 1.3 acres of empty state-
                                                                                 owned property at 1616 Maple Ave, 20,000 square feet of City-owned property at
                                                                            24   5800 S. Figueroa Street, a 15,000 square foot empty lot located at 2301 San
                                                                                 Pedro Street, 1.4 acres of unoccupied city-owned property at 4521 Browne Ave.,
                                                                            25   a combined 3 acres of city and county owned property at Alpine and Spring in
                                                                                 Chinatown, 2.7 acres of city-owned property at 9413 S. Spring, and 8 useable
                                                                            26   acres adjacent to Hope Gardens Family Center in Sylmar which is unable to
                                                                                 expand138due to conditional use permits.
                                                                            27              SHARE!, Mission & History, https://shareselfhelp.org/about-share-the-
                                                                                 self-help-and-recovery-exchange/history-vision-share-the-self-help-and-
                                                                            28   recovery-exchange/ (last visited Oct. 22, 2021).

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                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21         Page 54 of 113 Page
                                                                                                                ID #:9301


                                                                             1   supplies, and utilities are provided. It costs roughly $4,000 per person to get
                                                                             2   started, and thereafter is self-sustaining; no infrastructure is required as it relies
                                                                             3   on existing homes for sale or rent (over 30,000 currently listed in the County). A
                                                                             4   proposal was made to the LA City Council in October of 2017 to house and
                                                                             5   provide peer services to 2,000 people for the minimal cost of $8 million. This
                                                                             6   evidence-based program for chronically and other homeless individuals with
                                                                             7   proven outcomes of success has yet to be funded.
                                                                             8         87.    Another promising option is 3D-printed homes, built in Austin,
                                                                             9   Texas and Tabasco, Mexico, which come in various square foot models (400-800
                                                                            10   square feet), cost around $4,000 per unit, and take only 24 hours to build. 139 The
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   company that innovated this model is willing to sell their upgraded printer, the
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                                                                            12   Vulcan II, which would expedite building and potentially reduce costs. More
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                                                                            13   land is needed than some of the more temporary options described supra, and
                                                                            14   several hundred acres of land are available in less populated areas of the City and
                                                                            15   County. When paired with wrap-around services, and transportation to facilitate
                                                                            16   job accessibility, the County and City could develop nearly self-sustaining
                                                                            17   communities that have been successful in other cities.140
                                                                            18         88.    Utilizing any of the options described in the preceding paragraphs,
                                                                            19   or a combination thereof, in a large-scale manner would be an effective way of
                                                                            20   spending taxpayer funds that would actually accomplish the goals identified by
                                                                            21   the programs. Yet still the City and County focus on funding exorbitantly
                                                                            22   expensive PSH units and wasting taxpayer dollars on “housekeeping services” for
                                                                            23   encampments, neither of which are addressing the immediate crisis on the
                                                                            24   ground. And the County spends massive amounts on a host of programs that,
                                                                            25
                                                                                       139
                                                                                            Jayson, supra note 31, https://www.washingtonpost.com/realestate/3d-
                                                                            26   printed-homes-a-concept-turns-into-something-solid/2020/03/05/61c8b0d2-36e4-
                                                                                 11ea-bf30-ad313e4ec754_story.html; Aria Bendix, supra note 31,
                                                                            27   https://www.businessinsider.com/3d-homes-that-take-24-hours-and-less-than-
                                                                                 4000-to-print-2018-9.
                                                                            28          140
                                                                                            See Mobile Loaves & Fishes, Community First! Village,
                                                                                 https://mlf.org/community-first/ (last visited Oct. 22, 2021).
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                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 55 of 113 Page
                                                                                                               ID #:9302


                                                                             1   while positive, lack focus and fail to solve the most pressing problems presented
                                                                             2   by the homelessness crisis.
                                                                             3         89.    In addition, the County has failed to meet its statutory obligation to
                                                                             4   provide appropriate mental health services. The County Board of Supervisors
                                                                             5   recognizes the “minimum number of beds required to appropriately meet the
                                                                             6   [community’s mental health] need is 50 public mental health beds per 100,000
                                                                             7   individuals. In Los Angeles County there are only 22.7 beds per 100,000
                                                                             8   individuals.”141 In response, the Department of Mental Health (DMH) conducted
                                                                             9   an investigation and identified “significant gaps in inpatient treatment beds,
                                                                            10   residential beds, shelter beds, and respite homes across all ages” including an
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   “estimate of 3,000 additional subacute beds needed,” “significant gaps in
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                                                                            12   assisting people when they are leaving inpatient care, especially for those with
                                      LOS ANGELES, CA 90025




                                                                            13   co-occurring disorders,” “no SUD (substance use disorder) residential treatment
                                                                            14   for all ages,” “no local children’s inpatient psychiatric beds,” “not enough
                                                                            15   inpatient beds for patients eligible for conservatorship…with waiting periods of
                                                                            16   up to a year to access secure inpatient care, resulting in people being discharged
                                                                            17   to the street and perpetuating homelessness.” 142 In short, courts are reticent to
                                                                            18   declare a person conserved because there’s nowhere for them to go, and the
                                                                            19   system designed to address these issues is massively overburdened. At Olive
                                                                            20   View Hospital in north Los Angeles County, the 72-hour crisis ward at times has
                                                                            21   over half of its 16 beds dedicated to patients waiting up to a year for a residential
                                                                            22   inpatient bed, leaving only a handful of other beds available for emergency 5150
                                                                            23
                                                                                       141
                                                                                             Motion By Supervisors Kathryn Barger and Hilda Solis, Addressing the
                                                                            24   Shortage of Mental Health Hospital Beds (Jan. 22, 2019),
                                                                                 http://file.lacounty.gov/SDSInter/bos/supdocs/131546.pdf.; see also E. Fuller
                                                                            25   Torrey, M.D., Kurt Entsminger, J.D., et al., The Shortage of Public Hospital Beds
                                                                                 for Mentally Ill Persons: A Report of the Treatment Advocacy Center, Mental
                                                                            26   Illness Policy.org (2004-2005), https://mentalillnesspolicy.org/imd/shortage-
                                                                                 hospital-beds.html.
                                                                            27           142
                                                                                             Jonathan E. Sherin, REPORT RESPONSE TO ADDRESSING THE
                                                                                 SHORTAGE OF MENTAL HEALTH HOSPITAL BEDS (ITEM 8, AGENDA OF
                                                                            28   JANUARY 22, 2019), Department of Mental Health 30, 134 (Oct. 29, 2019),
                                                                                 http://file.lacounty.gov/SDSInter/bos/supdocs/132696.pdf.
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                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES            Document 361 Filed 11/01/21      Page 56 of 113 Page
                                                                                                                 ID #:9303


                                                                             1   holds; Olive View is the only crisis facility in north Los Angeles County and
                                                                             2   meant to serve millions of people. If a person is brought in while in crisis but
                                                                             3   there are no beds for them, often they are released back on the street. This
                                                                             4   dynamic repeats itself throughout Los Angeles. The report goes on to document
                                                                             5   “limited access to urgent care for MH (mental health), SUD and services to
                                                                             6   people with co-occurring disorders at all levels of care,” “MH and SUD treatment
                                                                             7   is not integrated” (the so-called “silos of care”), and “to access care you have to
                                                                             8   ‘win the lottery,’ have a chronic level of need that requires hospitalization, or
                                                                             9   become incarcerated. Mild cases become severe while people are trying to
                                                                            10   connect to care.”143 Critically: “A lack of housing options contributes to
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   homelessness.”144 As of December, 2020, only 156 of the proposed (minimal
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                                                                            12   pilot) 500 additional beds had been procured. 145
                                      LOS ANGELES, CA 90025




                                                                            13         90.    As of 2019 the County had almost $1 billion in funds allocated to it
                                                                            14   through the Mental Health Services Act, and while there has been some
                                                                            15   expenditure since, there has been no clarity about how much remains in the fund
                                                                            16   unspent. 146 The County points to the state’s antiquated and restrictive
                                                                            17   conservatorship laws and the Federal government’s refusal to permit Medicaid
                                                                            18   finances for mental health beds for facilities of more than 16 beds, both of which
                                                                            19   likely need to be addressed. Yet even under the existing scheme, help would be
                                                                            20   available to those who desperately need it, were there sufficient capacity at all
                                                                            21   levels. Local courts could conserve many severely mentally ill persons were
                                                                            22   there sufficient beds available. The blame for insufficient placement rests
                                                                            23   squarely on the County’s shoulders. And people suffering from very serious
                                                                            24
                                                                            25
                                                                                       143
                                                                                           Id. at 135.
                                                                            26         144
                                                                                           Id. at 141.
                                                                                       145
                                                                                           Id. at 180-85.
                                                                            27         146
                                                                                           Thomas Curwen, With an epidemic of mental illness on the streets,
                                                                                 counties struggle to spend huge cash reserves, Los Angeles Times (Aug. 19,
                                                                            28   2018, 5:00 AM), https://www.latimes.com/local/california/la-me-mhsa-unspent-
                                                                                 balance-20180819-story.html.
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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21        Page 57 of 113 Page
                                                                                                              ID #:9304


                                                                             1   mental diseases decline living on the street instead, many of whom pay the
                                                                             2   ultimate price.147
                                                                             3         91.    Both the County and City have hundreds of millions of dollars in
                                                                             4   emergency funds to be used for disaster relief. This homelessness crisis is
                                                                             5   nothing short of a disaster, with thousands of casualties and massive collateral
                                                                             6   consequences, yet emergency funds remain untapped.
                                                                             7         92.    Together, the County and City fund LAHSA, which has been totally
                                                                             8   ineffective at stemming the growing tide of homelessness. Among LAHSA’s
                                                                             9   shortcomings is the failure to move people up and out from emergency shelters
                                                                            10   and bridge shelters to permanent housing. 148 One woman at the Downtown
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   Women’s Center has been there for five years as she waits for housing;
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   unfortunately those deemed “sickest” get priority for housing and women like her
                                      LOS ANGELES, CA 90025




                                                                            13   who are more capable of caring for themselves get pushed down the list. The
                                                                            14   agency has been so disorganized, it apparently just discovered 3,000 units they
                                                                            15   “didn’t know about” in their system.149 An audit conducted by LA City
                                                                            16   Controller Ron Galperin found LAHSA outreach workers fell far short of their
                                                                            17   goals, placing only 4% of people assessed into permanent housing and 14% into
                                                                            18   shelters, only 6% for SUD treatment and only 4% for mental health treatment.150
                                                                            19         J.     Neither City nor County Has Proffered Workable
                                                                            20   Comprehensive Solutions
                                                                            21
                                                                                       147
                                                                                            Dennis McDougal, Op-Ed: My daughter was murdered, but it was
                                                                            22   misguided mental health laws that put her in danger, Los Angeles Times (Jan.
                                                                                 26, 2020, 3:00 AM), https://www.latimes.com/opinion/story/2020-01-26/i-hope-
                                                                            23   police-catch-my-daughters-killer-but-i-know-her-mental-illness-also-played-a-
                                                                                 role-in-her-death.
                                                                            24          148
                                                                                            Matt Tinoco, A Bridge to Where? Few Exit LA’s ‘Temporary’ Homeless
                                                                                 Shelters For Permanent Housing, LAist (Aug. 24, 2020, 3:51 PM),
                                                                            25   https://laist.com/news/bridge-home-los-angeles-garcetti-result.
                                                                                        149
                                                                                             Elijah Chiland, Agency responsible for housing LA’s homeless
                                                                            26   discovers 3,000 units it ‘didn’t know about, Curbed Los Angeles (Feb. 20, 2020),
                                                                                 https://la.curbed.com/2020/2/20/21145578/lahsa-units-homeless-housing.
                                                                            27          150
                                                                                            Ron Galperin, Strategy on the Streets: Improving Los Angeles Homeless
                                                                                 Services Authority’s Outreach Program, Ron Galperin LA Controller (Aug. 28,
                                                                            28   2019), https://lacontroller.org/audits-and-reports/strategy-on-the-
                                                                                 streets/#1566867736032-c107d667-baf7.
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                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 58 of 113 Page
                                                                                                               ID #:9305


                                                                             1          93.    While the City and County have made some effort to address this
                                                                             2   crisis, they are at best scattered and neither has developed comprehensive plans
                                                                             3   needed to change the deadly trajectory. The County mapping tool shows 2,525
                                                                             4   interim beds “in the pipeline” (including Project Roomkey beds), which includes
                                                                             5   beds within the City of Los Angeles and other locations), and 10,089 supportive
                                                                             6   housing units “in the pipeline” (the majority of which are funded through HHH
                                                                             7   and will not be ready for another several years).151 That is less than 15,000 new
                                                                             8   beds becoming available when there are more than 48,000 people in the County
                                                                             9   without a safe place to sleep on a nightly basis. Many of those “pipeline” beds
                                                                            10   that won’t be available for years, while those on the street that do not self-resolve
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                                                                            11   deteriorate and ultimately require permanent supportive housing when, had they
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                                                                            12   gotten off the street sooner, they likely would not have. The City and County are
                                      LOS ANGELES, CA 90025




                                                                            13   both creating and perpetuating the problem.
                                                                            14          94.    Plaintiffs do not suggest the City and County are doing nothing; the
                                                                            15   amount of effort and resources devoted to addressing this issue is significant. But
                                                                            16   the actual result is an astonishing lack of progress in addressing the crisis, and
                                                                            17   continued expansion of the crisis despite such efforts and resources, because each
                                                                            18   is being used in ways that will never solve the problem.
                                                                            19          95.    And so the crisis continues and accelerates, with little hope of a
                                                                            20   City- or County-driven solution. Because of the painful results of current
                                                                            21   policies, and because of the lack of political and bureaucratic will to undertake
                                                                            22   effective and proven means to combat it, the Plaintiffs are suffering under the
                                                                            23   weight of an urgent crisis. Plaintiffs are left with no choice but to resort to the
                                                                            24   courts for relief.
                                                                            25                                 IV. THE PARTIES
                                                                            26
                                                                                        151
                                                                                            County of Los Angeles, Los Angeles County Homelessness & Housing
                                                                            27   Map: A Data Driven GIS Map of Interim and Supportive Housing (Dec. 12,
                                                                                 2019),
                                                                            28   https://storymaps.arcgis.com/stories/400d7b75f18747c4ae1ad22d662781a3.

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                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 59 of 113 Page
                                                                                                               ID #:9306


                                                                             1                     PLAINTIFFS AND INDIVIDUALIZED HARMS
                                                                             2         96.    LA ALLIANCE FOR HUMAN RIGHTS (the “Alliance”) is an
                                                                             3   incorporated non-profit membership association consisting of a broad coalition of
                                                                             4   Los Angeles stakeholders who understand that homelessness in LA is a human
                                                                             5   rights crisis and are working towards solutions to address the crisis and its related
                                                                             6   impact on health and safety issues throughout the region. Each of its members is
                                                                             7   a resident of Los Angeles City and/or Los Angeles County, and pays municipal
                                                                             8   taxes to each. All individual plaintiffs herein are members of the Alliance.
                                                                             9   Additionally, the following individuals are representative of the membership:
                                                                            10                a.     MARIA DIAZ is a Hispanic unsheltered woman living in a
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   tent in Skid Row, where she has been for the last 5 years. After serious family
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                                                                            12   issues at home, she came to Skid Row to try and find shelter. To survive on the
                                      LOS ANGELES, CA 90025




                                                                            13   streets, Ms. Diaz has relied heavily on her faith, and the network of friends she
                                                                            14   has established on Skid Row. This social network has helped Ms. Diaz avoid
                                                                            15   depression and drug abuse and it has also helped keep her safe. Over the past
                                                                            16   five years, Ms. Diaz has regularly witnessed individuals selling drugs, stealing
                                                                            17   belongings, and hassling individuals for no apparent reason. She has also seen a
                                                                            18   number of young women harassed, attacked, raped, and ultimately succumb to
                                                                            19   drug addictions due to the conditions of Skid Row. Harassment for women on
                                                                            20   Skid Row is a certainty, and Ms. Diaz herself has experienced it. For these
                                                                            21   reasons, Ms. Diaz feels threatened and wants to find shelter.
                                                                            22         But finding shelter has been difficult for Ms. Diaz. Upon her arrival at
                                                                            23   Skid Row, Maria did not find the support she expected from the City and County.
                                                                            24   In fact, the City and County provided such little assistance that Ms. Diaz relied
                                                                            25   exclusively on her personal network on Skid Row for resources and assistance to
                                                                            26   apply for housing. She has been matched with housing in the past, but it was in
                                                                            27   Skid Row; she did not want to take it because she is scared of being stuck in the
                                                                            28

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21       Page 60 of 113 Page
                                                                                                              ID #:9307


                                                                             1   area. This would leave her sequestered in a region where she faces the greatest
                                                                             2   threat of harm and relapse into a life on Skid Row.
                                                                             3         Ms. Diaz remains homeless today, living in a tent on Skid Row. She is
                                                                             4   anxious to secure treatment, housing, and a job. She has applied for housing to
                                                                             5   the DREAM center and is waiting to hear if it has been approved. She is also
                                                                             6   seeking treatment and job.
                                                                             7                b.    CHESTINA EVANS is a Black woman who has lived on
                                                                             8   Skid Row for the past two to three months. Ms. Evans has been mostly homeless
                                                                             9   after aging out of the foster care system thirteen years ago. She did not have
                                                                            10   access to any transitional program and did not have any resources or know where
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                                                                            11   to go, so she found herself homeless fighting for survival. Ms. Evans left the bay
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   area for Skid Row because she believed there was more opportunity to receive
                                      LOS ANGELES, CA 90025




                                                                            13   resources and exit homelessness on Skid Row.
                                                                            14         Living on the streets in Skid Row has been incredibly hard for Ms. Evans.
                                                                            15   She is frequently assaulted and attacked. Just a couple nights ago, after returning
                                                                            16   from staying with a friend, Ms. Evans was attacked by a homeless man. He
                                                                            17   wrongly accused her of taking his belonging and hit her hard in the face,
                                                                            18   knocking her onto the ground. Ms. Evans doesn’t feel she has any recourse;
                                                                            19   calling the police will have little consequence since they rarely do anything about
                                                                            20   attacks on Skid Row. It is incidents like this that make Ms. Evans fear leaving
                                                                            21   her area. Ms. Evans has also been sexually assaulted while living on Skid Row
                                                                            22   by men who prey on women by themselves. Her time on the streets has resulted
                                                                            23   in severe mental health issues. She suffers from depression, anxiety,
                                                                            24   uncontrolled anger and fear, and paranoia. Perhaps most taxing is that despite
                                                                            25   whatever internal turmoil she feels, Ms. Evans feels like she cannot break down
                                                                            26   or address her emotions because showing weakness on the streets puts her life in
                                                                            27   danger. Ms. Evans has sought help for her mental health issues but continues to
                                                                            28   be stone-walled. It took her a month to see a therapist, and now she must wait

                                                                                                               60
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 61 of 113 Page
                                                                                                               ID #:9308


                                                                             1   until December to see a psychiatrist. She doesn’t know if she can make it that
                                                                             2   long. The long waits aren’t helping, and no one seems to care. She takes illegal
                                                                             3   narcotics to try to treat her mental issues and to stay up all night because she fears
                                                                             4   attacks at night.
                                                                             5         Ms. Evans has been in two shelters. She first stayed at the Union Rescue
                                                                             6   Mission but left for Weingart Center where she shared a room with another
                                                                             7   woman. She was asked to leave following an altercation with her roommate.
                                                                             8   Ms. Evans and her roommate argued over her roommate’s continued use of drugs
                                                                             9   in their shared living space, as well as her use of loud music at all hours. She
                                                                            10   would love an opportunity to stay at another shelter, but fears that without
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                                                                            11   addressing her underlying mental health issues she won’t be successful. She will
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                                                                            12   have to walk away because she can’t control herself and will get in trouble. She
                                      LOS ANGELES, CA 90025




                                                                            13   needs a place where she can also address her ongoing serious mental health
                                                                            14   issues at the same time. Ms. Evans’ experience living on the streets has caused
                                                                            15   her physical and mental harm.
                                                                            16                c.     SHINAE OWSLEY is a Black woman recently homeless and
                                                                            17   unsheltered in Skid Row. She is originally from South Central and after high
                                                                            18   school attended California State Dominguez Hills. Unfortunately, her mental
                                                                            19   health issues lead to drug abuse, which led to prison. Ten years ago, Ms. Owsley
                                                                            20   was released from prison. Following her release, Ms. Owsley began receiving
                                                                            21   SSI for her anxiety and other mental health concerns. Ms. Owsley is a hard
                                                                            22   worker and seeks to get off SSI soon. And she recognizes that having reliable
                                                                            23   shelter is essential to this goal. Ms. Owsley has had a difficult time living on
                                                                            24   Skid Row. She is sexually harassed by men regularly and was recently attacked
                                                                            25   by another female. She witnesses crime and violence daily and is terrified of
                                                                            26   living in the streets. She wants to get clean and sober, but it is impossible to do
                                                                            27   so while living unsheltered in Skid Row. She needs help but has no idea where
                                                                            28   to start. Over the past three years, not a single social worker or County or City

                                                                                                                61
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 62 of 113 Page
                                                                                                               ID #:9309


                                                                             1   worker has approached Ms. Owsley offering to assist her in obtaining services or
                                                                             2   housing. If she the opportunity for shelter anywhere, she would jump at that
                                                                             3   opportunity.
                                                                             4                  d.   CHRISTOPHER ROPER is a Black man living in Skid
                                                                             5   Row. He has been homeless for two years. He first began experiencing
                                                                             6   homelessness when he lost his job and was unable to pay his rent. Before living
                                                                             7   in Skid Row he lived in Long Beach, Santa Monica, and Venice. He eventually
                                                                             8   made his way to Skid Row because he knew resources for those experiencing
                                                                             9   homelessness were supposed to be available there, like food and showers.
                                                                            10   Homelessness has been hard for Mr. Roper physically and mentally. He does not
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                                                                            11   have a tent and sleeps directly on the street, exposed to the elements. He is
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                                                                            12   freezing during the winter and it affects his health. Living on Skid Row has
                                      LOS ANGELES, CA 90025




                                                                            13   exacerbated a pre-existing brain injury, which he first suffered in 1992. A side
                                                                            14   effect of that trauma is a shortened memory, which has only worsened since
                                                                            15   living in Skid Row. He can’t keep track of his paperwork and loses things often,
                                                                            16   which makes it more difficult to get shelter and services. Mr. Roper also suffers
                                                                            17   from depression and anxiety which is so much worse in Skid Row due to the
                                                                            18   horrific environment. He tries to stay away from the violence and fires, but he
                                                                            19   sees it often. He is hopeful that the Department of Mental Health will help him
                                                                            20   find housing, and if given the opportunity to enter a shelter, would take it
                                                                            21   immediately.
                                                                            22                  e.   DONALD SHAW has lived in or near Skid Row for the last
                                                                            23   25 years. He was in and out of jail for much of that time but has been free, clean,
                                                                            24   and sober since 2013. He is now the residential manager of security at the
                                                                            25   Midnight Mission (the “Mission”), located at 601 San Pedro Street, in the heart
                                                                            26   of Skid Row, where he lives and oversees a one-year drug and alcohol program
                                                                            27   that helps 150 men get clean each year. While working as the assistant manager,
                                                                            28   he became the liaison between the Mission and the LAPD. He represented the

                                                                                                                 62
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21        Page 63 of 113 Page
                                                                                                                ID #:9310


                                                                             1   Mission at all LAPD meetings. In attending these meetings, he began to
                                                                             2   understand the challenges the LAPD has in the Skid Row area, and he informed
                                                                             3   the LAPD how concerned the Mission’s security team was about the hazards
                                                                             4   personal property created outside the Mission particularly to those trying to get
                                                                             5   clean and sober. He also asked LAPD officers multiple times if they could help
                                                                             6   get people to move their possessions off the Mission’s walls or keep their
                                                                             7   property from blocking entrances. The officers seemed sympathetic to his plight
                                                                             8   but explained there was nothing the LAPD could or is allowed to do to alleviate
                                                                             9   such conditions.
                                                                            10         When he walks to work, he is forced to walk in the street due to the
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                                                                            11   blocked sidewalks, and as a result, he was nearly hit twice by passing cars. He
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                                                                            12   has also witnessed and experienced the significant increase in drugs and violence
                                      LOS ANGELES, CA 90025




                                                                            13   in Skid Row over the last several years arising out of the increase in unsheltered
                                                                            14   homeless persons living in encampments on the sidewalks in the area. The
                                                                            15   conditions surrounding Mr. Shaw and those at the Mission are such that going out
                                                                            16   at night is too big a risk, so he doesn’t.
                                                                            17                f.     GALVESTER GAULDING has struggled with drug and
                                                                            18   alcohol abuse for the past 20 years, and in 2005 became homeless and ended up
                                                                            19   in jail due to drug-related issues. From 2007 to 2008, he lived in a halfway
                                                                            20   house, and, during this time, started attending meetings and battling his addiction,
                                                                            21   constantly alternating between rehab and the hospital. Mr. Gaulding suffers from
                                                                            22   both mental and physical health issues, including bipolar disorder, severe
                                                                            23   depression, and hypertension. The time he spent without regular shelter
                                                                            24   exacerbated those issues: he rarely was able to sleep more than a few hours at a
                                                                            25   time, he was exposed to the heat in summer and the cold and rain in winter. He
                                                                            26   took illegal drugs to self-medicate, both for his mental health issues and to cope
                                                                            27   with the stress of living on the streets; the narcotics further intensified his chronic
                                                                            28   illnesses. It wasn’t until he finally entered the Union Rescue Mission

                                                                                                                63
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21       Page 64 of 113 Page
                                                                                                                ID #:9311


                                                                             1   approximately two years ago that he began to heal: he was able to sleep without
                                                                             2   fear of attack or exposure to the elements and began to take his medication
                                                                             3   regularly. But he will never be the same.
                                                                             4           When he arrived at the Mission, he was told that if he finished the one-year
                                                                             5   drug and alcohol program, they would give him the resources he needed to find a
                                                                             6   place to live. He was successful and received a Section 8 voucher for permanent
                                                                             7   housing. But the only available housing was on Skid Row, which is rife with
                                                                             8   conditions which threaten his sobriety and safety. He was terrified to take the
                                                                             9   offered housing on Skid Row and waited an extra year until he was finally able to
                                                                            10   find housing out of the area. He received his keys and moved in February of
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                                                                            11   2020.
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                                                                            12           While living in Skid Row, he was physically attacked, witnessed multiple
                                      LOS ANGELES, CA 90025




                                                                            13   stabbings, and saw multiple dead bodies. As a former addict who has struggled
                                                                            14   with this disease for his entire life, it was nearly impossible to stay clean on Skid
                                                                            15   Row; he mostly chose to avoid going outside at all because the moment he did,
                                                                            16   someone offered him drugs.
                                                                            17                 g.    KYLE HARPT is formerly homeless and on July 5, 2016, he
                                                                            18   enrolled in a program at Midnight Mission. He came to the Mission because of
                                                                            19   the facilities and the programs it offered and stayed at the Mission for a year and
                                                                            20   a half. He has remained sober since then. After graduating from the Mission, he
                                                                            21   moved to 5th and Main Street, adjacent to Skid Row. He began to see the dire
                                                                            22   circumstances afflicting Skid Row on a daily basis, and was fearful of the
                                                                            23   increase in violence, unchecked drug use, and exploding sanitation and disease
                                                                            24   problems that continue to plague the area. Concerned for his health, he got
                                                                            25   various vaccinations, including the vaccine for Hepatitis A.
                                                                            26           Mr. Harpt observed people openly using drugs on the street and the
                                                                            27   prevalent absence of police enforcement. Walking down the street, he has seen
                                                                            28   people smoking meth out of glass pipes or smoking crack, and he is regularly

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                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 65 of 113 Page
                                                                                                               ID #:9312


                                                                             1   accosted by individuals offering to sell him drugs. Mr. Harpt observed no effort
                                                                             2   by city officials, including the police, to stem this flagrant use of drugs.
                                                                             3         From 2016-2019 he worked at the Mission doing data base work. To
                                                                             4   avoid dangerous areas and altercations in Skid Row, Mr. Harpt used a set path
                                                                             5   well out of his way to get to and from work. A couple years ago, he was robbed
                                                                             6   outside of his house in broad daylight—the offender pulled a knife and stole his
                                                                             7   bicycle. This incident and the violent altercations he observed on the streets of
                                                                             8   Skid Row caused Mr. Harpt to fear for his own safety. In late 2019 Mr. Harpt
                                                                             9   changed jobs and left the area; he would like to return to downtown if conditions
                                                                            10   change for the better.
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                                                                            11                h.     MILTON MILES SMITH is a sixty-year-old unhoused
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                                                                            12   Black male living in Skid Row. Mr. Smith was born and raised in the Hollywood
                                      LOS ANGELES, CA 90025




                                                                            13   area. Mr. Smith has been living in Skid Row since 2018 after being released
                                                                            14   from prison. After initially becoming homeless, Milton went to The Center in
                                                                            15   Hollywood. He met his friend Albert Albarran at The Center. They eventually
                                                                            16   made their way to Skid Row together to try to get housing. Mr. Smith is on SSI.
                                                                            17   While in prison, Mr. Smith was attacked, and his lung almost collapsed.
                                                                            18         Mr. Smith has several mental health issues including post-traumatic stress
                                                                            19   disorder, schizophrenia, paranoia, anxiety and a learning disability. He
                                                                            20   occasionally stays with Albert who has an SRO at the Rainbow Apartments
                                                                            21   which specializes in housing for special needs individuals. He cannot stay with
                                                                            22   Albert full time because it is for single people only and he is not supposed to
                                                                            23   have guests. When he does not stay with Albert, he looks for friends on Skid
                                                                            24   Row that may allow him to stay in their tent or he sleeps on the street. Mr. Smith
                                                                            25   is scared every day that he is forced to stay on the streets. He is afraid that if he
                                                                            26   sleeps at night he will be killed. He sometimes takes drugs to deal with the stress
                                                                            27   and to keep himself awake, but he does not like using drugs and is trying to stop.
                                                                            28

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 66 of 113 Page
                                                                                                               ID #:9313


                                                                             1         Mr. Smith is currently waiting to be placed in an SRO. He was previously
                                                                             2   matched for housing, but the outreach worker failed to contact him to let him
                                                                             3   know he had been placed. As a result, his housing was given away. Mr. Smith
                                                                             4   made the effort to find housing for himself and for Albert. No one has offered
                                                                             5   Mr. Smith help to find housing or a spot in a shelter. Mr. Smith lives in constant
                                                                             6   fear on Skid Row. He and Mr. Albarran are frequently attacked or harassed for
                                                                             7   being gay. If given the opportunity to enter a shelter, Mr. Smith would take it
                                                                             8   immediately. He is terrified that he will be killed in Skid Row due to the
                                                                             9   violence and crime if he does not get into shelter soon.
                                                                            10                i.    ALBERT ALBARRAN is a Hispanic male currently living
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                                                                            11   in an SRO called Rainbow Apartments, located in Skid Row. His friend, Milton
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                                                                            12   Miles Smith, helped him apply for and secure this housing. Albert was
                                      LOS ANGELES, CA 90025




                                                                            13   previously homeless. He met his friend Mr. Smith at The Center in Hollywood,
                                                                            14   they both eventually came to Skid Row because there are more opportunities for
                                                                            15   housing in this area. He does not feel safe living in Skid Row and wants to leave
                                                                            16   but does not have an opportunity anywhere else.
                                                                            17         Mr. Albarran has several physical issues that began after he was hit by a
                                                                            18   car when he was fifteen years old. He suffered a traumatic brain injury which has
                                                                            19   resulted in a short-term memory issue and has a metal rod in his leg. This
                                                                            20   memory problem increases his danger living in Skid Row, as Mr. Albarran often
                                                                            21   forgets what street he lives on and is terrorized by gangs and violent drug users in
                                                                            22   the area. The stress of living in Skid Row has also made his short-term memory
                                                                            23   issue worse. Mr. Albarran suffers from depression, post-traumatic stress
                                                                            24   disorder, and anxiety. Despite these physical and mental problems, Mr. Albarran
                                                                            25   was cut-off from mental health services because he was deemed “too high-
                                                                            26   functioning.”
                                                                            27                j.    BOB SMILAND is the former President and chief executive
                                                                            28   officer of Inner-City Arts—a non-profit organization dedicated to providing

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                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 67 of 113 Page
                                                                                                               ID #:9314


                                                                             1   elementary, middle, and high school students instruction in a range of subject
                                                                             2   areas within the visual, performing, and media arts. The organization serves
                                                                             3   almost 10,000 students per year and is open 6 days a week from 7:30 a.m. to 9:30
                                                                             4   p.m. As the CEO and President, he was directly responsible for the safety of the
                                                                             5   students and staff. He both lived and worked in the Skid Row area. The increase
                                                                             6   in squalor, disease, and violence over the last several years threatened not only
                                                                             7   his personal well-being, but that of his co-workers, and the hundreds of students
                                                                             8   he worked with daily. Bob was born and raised in Los Angeles, and dedicated
                                                                             9   his life to the betterment of the City; unfortunately, the unbridled crime, squalor,
                                                                            10   violence, disease, and death he encountered over the last few years was too much
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                                                                            11   for him to tolerate. He recently resigned his position and left the city.
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                                                                            12         Mr. Smiland’s apartment building, which houses 53 residents, experienced
                                      LOS ANGELES, CA 90025




                                                                            13   at least one break-in a week, and neither he nor his visitors could safely leave
                                                                            14   their cars parked on the street overnight, as cars left overnight were frequently
                                                                            15   vandalized. Ambulances appeared at all times of the day and night outside the
                                                                            16   building, and the last several years brought an increase of gun shots, and other
                                                                            17   violent noises in the area.
                                                                            18         The explosion in the number of tents, people, and personal belongings
                                                                            19   stored on the sidewalks in the area created regular blockades, preventing Inner-
                                                                            20   City Arts staff and students from walking to the school. Because of this
                                                                            21   blockade, those staff members that rely on the 7th and San Pedro bus stop,
                                                                            22   roughly 6 blocks away, were forced to walk in the street the entire way. Staff
                                                                            23   members no longer walked to work out of fear that they would be attacked. It
                                                                            24   was no longer safe for students to walk between their schools alone—they had to
                                                                            25   be escorted by staff members of the Central City East Association. Mr.
                                                                            26   Smiland—an imposing man at 6 feet, 5 inches—did not feel safe walking the 40
                                                                            27   yards from the school to the post office during the day. Each time he made this
                                                                            28

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 68 of 113 Page
                                                                                                               ID #:9315


                                                                             1   walk, he was confronted by multiple people whose conduct posed a threat to his
                                                                             2   safety.
                                                                             3         Inner-City Arts experienced a sharp increase in vandalization. Graffiti,
                                                                             4   once a rare occurrence, appeared weekly on the organization’s buildings. There
                                                                             5   was a sharp rise in break-ins to the campus over the past few years which were a
                                                                             6   major safety concern for the school, its staff, and its students. Because of the
                                                                             7   increased danger, violence, and vandalization, the school’s security costs rose
                                                                             8   from minimal to over $80,000 per year. The school was forced to install a fence
                                                                             9   for protection, a large capital expense that impeded the carefully designed
                                                                            10   architectural aesthetic of the property. These expenses diverted resources away
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                                                                            11   from the core work of the organization.
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                                                                            12         Mr. Smiland was subjected to violence, garbage, narcotics use, offensive
                                      LOS ANGELES, CA 90025




                                                                            13   odors and sounds, forced to walk in the middle of the street, and lacked police
                                                                            14   enforcement of the laws protecting his safety and security, different from
                                                                            15   individuals living and working outside of this geographic area and not subject to
                                                                            16   these same conditions at the same rate. This unfair, unequal treatment funneled
                                                                            17   these problems into the area where he lived and worked, increasing the homeless
                                                                            18   population density and exacerbating existing problems.
                                                                            19                k.    MARK SHINBANE is the President and part-owner of Ore-
                                                                            20   Cal Corporation which is a family-owned business in the Skid Row area. He has
                                                                            21   also been the Chairman of Central City East Association (CCEA) for several
                                                                            22   years. Ore-Cal Corporation is an international seafood importer, processor, and
                                                                            23   distributor. It is a second-generation family-owned-business and they have
                                                                            24   owned property in the general area since 1961. Ore-Cal has been located on 634
                                                                            25   Crocker Street since 1971. Four years ago, Crocker Street and other streets in
                                                                            26   that vicinity—such as 6th Street, 7th Street and Towne Avenue—were clear. Mr.
                                                                            27   Shinbane recalls small homeless encampments west of San Pedro Street on San
                                                                            28

                                                                                                               68
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 69 of 113 Page
                                                                                                               ID #:9316


                                                                             1   Julian Street and Wall Street in the past, but personal possessions were generally
                                                                             2   kept contained, crime was generally addressed, and the sidewalks were usable.
                                                                             3         In 2016, immediately after the injunction issued in Mitchell v. City of Los
                                                                             4   Angeles, the neighborhood surrounding Ore-Cal rapidly filled with tents and
                                                                             5   encampments, inundating the area, which coincided with an increase in violence
                                                                             6   and an inability to traverse the sidewalks. Individuals loiter at all times of the
                                                                             7   day, and the growing encampments block sidewalks, doorways, driveways, and
                                                                             8   streets. Mr. Shinbane regularly observes open drug use and people walking in a
                                                                             9   perpetual drug-induced state, and bodies lying on the sidewalks or doorways near
                                                                            10   his building. There has been an increase of used needles on the streets,
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                                                                            11   sidewalks, and inside drains located on the business’ property.
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                                                                            12         Mr. Shinbane’s conversations with LAPD officers and detectives in the
                                      LOS ANGELES, CA 90025




                                                                            13   area indicate that gang members are supplying narcotics to homeless individuals
                                                                            14   in the vicinity. Mr. Shinbane and his employees now deal with the inability to
                                                                            15   traverse the sidewalks. Encampments often block sidewalks, doorways,
                                                                            16   driveways, and streets. Illegal entry onto their property, car break-ins, and thefts
                                                                            17   are now a common occurrence.
                                                                            18         Ore-Cal and its employees are subject to an increased risk of fire because
                                                                            19   of the encampment fires that surround the property. This danger is made worse
                                                                            20   by the huge quantities of trash and debris that litter their street and surrounding
                                                                            21   neighborhood. These conditions have made it difficult to hire new workers and
                                                                            22   they have lost many well-qualified candidates (approximately 30%) due to the
                                                                            23   nature of the neighborhood and environment. This makes the hiring process
                                                                            24   longer, and more difficult than it ever used to be.
                                                                            25         To combat some of the deteriorating conditions, Mr. Shinbane’s business
                                                                            26   has completely fenced its property to prevent individuals from camping on their
                                                                            27   grounds and to keep the used needles from the rampant narcotics use from being
                                                                            28   fed into their exterior drains. Mr. Shinbane was forced to replace roll up doors

                                                                                                               69
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 70 of 113 Page
                                                                                                               ID #:9317


                                                                             1   and add sections of fence due to individuals constantly urinating on them, a cost
                                                                             2   of $25,000.
                                                                             3         Ore-Cal has also had to significantly increase its exterior maintenance by
                                                                             4   washing and sanitizing the perimeter of their facility daily. In some cases, it is
                                                                             5   necessary to clean multiple times a day to maintain cleanliness. He now spends
                                                                             6   $15,000 a year—a new expense—on supplies and staff dedicated to maintaining
                                                                             7   the perimeter and external areas of their facility.
                                                                             8         His company’s property has appeared in footage taken by a reporter for a
                                                                             9   local television affiliate that accurately depicts the conditions in Skid Row. (See
                                                                            10   Chris Cristi, L.A.’s homeless: Aerial tour of Skid Row, epicenter of crisis,
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                                                                            11   ABC7.com (June 13, 2019), https://abc7.com/society/las-homeless-aerial-tour-of-
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   skid-row-epicenter-of-crisis/5344680/.) The video shows mounds of trash with
                                      LOS ANGELES, CA 90025




                                                                            13   tents, structures, and other property completely blocking sidewalks and spilling
                                                                            14   into the streets at the corner of 6th and Crocker, just yards away from the Ore-Cal
                                                                            15   building. He frequently hears police or ambulance sirens, sees drugs being sold
                                                                            16   or used, and sees human beings walking around in a drug-induced haze or
                                                                            17   completely passed out in the streets or gutters.
                                                                            18         Mr. Shinbane has observed no meaningful efforts by the City to address
                                                                            19   these issues and has noted a lack of law enforcement activity in the area
                                                                            20   surrounding his business despite the prevailing state of lawlessness.
                                                                            21                 l.    HAL BASTIAN, a commercial real estate professional in Los
                                                                            22   Angeles for 38 years, has been one of the leaders of the Downtown Los Angeles
                                                                            23   Renaissance for the last 27 years. He began working as a retail broker for
                                                                            24   Cushman & Wakefield in Downtown Los Angeles in 1994. He later transitioned
                                                                            25   to the role of leasing director for The Old Bank District—the first adaptive reuse
                                                                            26   project in downtown that converted historical office buildings into loft
                                                                            27   apartments. From 2001 to 2014, he served as the Director of Economic
                                                                            28   Development for the Downtown Center Business Improvement District

                                                                                                                70
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 71 of 113 Page
                                                                                                               ID #:9318


                                                                             1   (DCBID), and eventually, its Executive Vice President. During this time, Mr.
                                                                             2   Bastian facilitated the construction of over 22,000 housing units, leading tours
                                                                             3   and producing special events that recruited thousands of new residents and
                                                                             4   resulted in the construction of dozens of new commercial and mixed-used
                                                                             5   developments, and attracting over 300 new businesses to the downtown area,
                                                                             6   including Ralphs, Fresh Fare, Bottega Louie and Whole Foods Market. He lives
                                                                             7   in Downtown Los Angeles.
                                                                             8         Mr. Bastian’s extensive experience in Downtown Los Angeles has made it
                                                                             9   clear to him that both action and inaction by the City has been a substantial
                                                                            10   contributing factor in the current homelessness crisis. In particular, the City’s
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                                                                            11   response to a series of federal lawsuits has coincided with this crisis, which
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                                                                            12   affects the homeless and housed alike, and he joins this lawsuit to bring about a
                                      LOS ANGELES, CA 90025




                                                                            13   substantial change in the deteriorating conditions of Downtown Los Angeles.
                                                                            14                m.     LISA RICH owns several buildings in Skid Row, which she
                                                                            15   rents out to various businesses. Her family has been running the properties for
                                                                            16   over 40 years and has brought significant numbers of jobs to the area. Over the
                                                                            17   past several years, the number of homeless persons on the sidewalk in front of the
                                                                            18   buildings has dramatically increased, as has the amount of personal possessions.
                                                                            19   Frequently, tents and belongings block the sidewalks for days at a time, bringing
                                                                            20   with them refuse, criminal activity, and unhygienic conditions. At times, the
                                                                            21   buildup of property has physically prevented tenants and patrons from accessing
                                                                            22   the buildings. Tenants have complained and requested rent reductions due to the
                                                                            23   effect the homeless encampments are having on their business. Recently a
                                                                            24   mobile lab engaged by her environmental consultants refused to come to the
                                                                            25   properties due to the danger of the area.
                                                                            26          Ms. Rich attempted twice to contact LAPD for assistance in moving the
                                                                            27   property but received no help. When she asked why LAPD had not moved
                                                                            28   homeless persons or their property, she was informed that there was nothing

                                                                                                               71
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 72 of 113 Page
                                                                                                               ID #:9319


                                                                             1   LAPD could do. After learning the City would not help, Ms. Rich attempted to
                                                                             2   install fencing around some of her higher risk properties to keep tents from being
                                                                             3   propped directly against the buildings. But the City warned her that the fencing
                                                                             4   was unlawful and would lead to fines. Before she could remove the fencing at
                                                                             5   issue, an unknown person or entity removed the chain link, and tents returned,
                                                                             6   gathering around the bare fence poles.
                                                                             7         In late 2017, a fire at a homeless encampment burned out of control and set
                                                                             8   one of Ms. Rich’s buildings on fire. The blaze significantly damaged the
                                                                             9   building’s offices and electrical system, requiring more than $80,000 worth of
                                                                            10   repairs. The fire and repair process disrupted her tenant’s business for significant
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                                                                            11   time. At her next policy renewal period, her fire insurer refused to renew the
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                                                                            12   policy covering all of her buildings, claiming her buildings could no longer be
                                      LOS ANGELES, CA 90025




                                                                            13   insured because of the risks posed by the adjacent homeless encampments. Ms.
                                                                            14   Rich then approached 24 other insurers—of those, 23 insurers outright refused to
                                                                            15   insure her buildings at any rate. Eventually, one insurer offered to cover her
                                                                            16   buildings at a premium more than four times her original rate. As a result of
                                                                            17   these developments, she is actively considering selling her family’s business and
                                                                            18   abandoning the Skid Row area.
                                                                            19                n.    DEISY SUAREZ is a resident of and business owner in
                                                                            20   Downtown Los Angeles. She lives and works on 5th Street (“5th”) and
                                                                            21   Broadway Street (“Broadway”). Ms. Suarez is also the proud mother of two
                                                                            22   young children.. Due to the violence and disease surrounding the encampments
                                                                            23   throughout downtown, Ms. Suarez fears for her and her children’s safety each
                                                                            24   time they leave their home. In fact, this fear has become almost paralyzing, often
                                                                            25   preventing Ms. Suarez from leaving the building by foot.
                                                                            26         Given her children’s young age, Ms. Suarez uses a stroller when traveling
                                                                            27   by foot. The increase in homeless persons and their property on the streets
                                                                            28   hinders Ms. Suarez’s ability to freely travel the public sidewalks and regularly

                                                                                                               72
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 73 of 113 Page
                                                                                                               ID #:9320


                                                                             1   puts her and her children’s lives in danger. She finds it difficult to travel 3rd
                                                                             2   Street and Main Street, between 7th and 8th Street along Maple Street, along the
                                                                             3   east side of Los Angeles Street between Winston and 5th Street, between 5th and
                                                                             4   6th Street on Los Angeles Street, and along Main Street between 6th and 7th
                                                                             5   Street.
                                                                             6         Some of these routes are blocked by street vendors who become extremely
                                                                             7   aggressive, and whose belongings and “shops” take up the entire sidewalk. On
                                                                             8   other streets, tents and personal belongings fill the sidewalk, making it difficult or
                                                                             9   impossible for a person with a stroller or someone in a wheelchair to pass. When
                                                                            10   she asks individuals to move themselves or their belongings so that she can use
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                                                                            11   the sidewalk, she is often met with aggression. As a result, Ms. Suarez is
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                                                                            12   frequently forced to walk, with her children in their strollers, in the street with
                                      LOS ANGELES, CA 90025




                                                                            13   moving cars, to reach her destination because the streets are blocked with
                                                                            14   individuals and belongings. As a mother of young children, Ms. Suarez feels
                                                                            15   extremely vulnerable walking on the streets.
                                                                            16         Ms. Suarez’s business has been negatively impacted by the homeless crisis
                                                                            17   in Downtown Los Angeles. She owns Desuar Spa, a day spa, in the same
                                                                            18   building where she and her family live. At least a few times a month, she and her
                                                                            19   staff receive phone calls from clients canceling their appointments because they
                                                                            20   are afraid of getting out of the car or walking to the building. The hotel
                                                                            21   concierges at the Intercontinental and the Weston have expressed safety concerns
                                                                            22   for guests looking to visit the day spa. Sometimes, there are individuals asleep
                                                                            23   on the sidewalk in front her business, making it difficult, and unnerving for
                                                                            24   individuals to enter the building. The increase in homeless persons living and
                                                                            25   sleeping outside of her business has made it difficult for her to retain staff.
                                                                            26   Multiple staff members have quit as a direct result of frightening interactions
                                                                            27   with the homeless individuals. And Ms. Suarez has struggled to recruit new staff
                                                                            28   members because of the danger the location of the spa poses.

                                                                                                               73
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 74 of 113 Page
                                                                                                               ID #:9321


                                                                             1         97.    JOSEPH BURK owns an historic building utilized for a company
                                                                             2   he created called Location 606, Inc. His property is primarily rented for film,
                                                                             3   television, commercial and music video production. Until 2017, he rented part of
                                                                             4   the property to tenants, but since then, due to the conditions in the area, he could
                                                                             5   not find a tenant to occupy the property and moved in along with his wife. After
                                                                             6   his wife became pregnant with their child earlier this year, they decided to move
                                                                             7   out of the property for their safety and mental well-being. Mr. Burk is regularly
                                                                             8   at the property and remains apprised of and impacted by the situation, and the
                                                                             9   challenges it presents, surrounding his property.
                                                                            10         98.    He pays property taxes but cannot use the public sidewalks around
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                                                                            11   his own property. Mr. Burk’s residence became unlivable due to surrounding
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                                                                            12   conditions, and his business has been destroyed. Production companies have
                                      LOS ANGELES, CA 90025




                                                                            13   stopped using his building for film shoots, and he has gotten countless rejection
                                                                            14   emails and letters citing the conditions around his property. He has lost hundreds
                                                                            15   of thousands of dollars because production companies cannot use Mr. Burk’s
                                                                            16   property because they need accessible driveways and sidewalks for heavy
                                                                            17   equipment, lighting and sound items, and costume trucks, and the exits and
                                                                            18   entrances to his property are often fully blocked by shelters and possessions. On
                                                                            19   at least one occasion when his property was to be used for filming, the crew was
                                                                            20   unable to bring their equipment inside his building and demanded its money
                                                                            21   back. His property has been on the market for years without an acceptable offer,
                                                                            22   and he has experienced a significant decline in his own quality of life because of
                                                                            23   the increased filth, violence, and drug use in the surrounding areas.
                                                                            24         99.    Over the past three years, Mr. Burk has received the following
                                                                            25   communications from production companies considering his property for filming:
                                                                            26                a.     October 11, 2016 email: “After driving past your place on 6th
                                                                            27   and Crocker yesterday I can no longer present your property for upcoming
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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 75 of 113 Page
                                                                                                               ID #:9322


                                                                             1   commercial shoots. The homeless condition directly around your property is out
                                                                             2   of control and I wouldn’t feel safe bringing any film crew into that area.”
                                                                             3                b.    October 24, 2016 email: “Sorry the scout left before going
                                                                             4   inside to see your space today. He told me that when he showed up, he could
                                                                             5   barely walk down the street because there were so many homeless tents and
                                                                             6   people around. He said it would be a nightmare to try and film there and didn’t
                                                                             7   want to put the option in front of the director. Also, wouldn’t be appealing to
                                                                             8   bring the client there due to all the homeless people.”
                                                                             9                c.    February 7, 2017 email: “Thank you for showing [interested
                                                                            10   client] your place. She really liked it. But she is concerned about the
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                                                                            11   neighborhood because her show has a big star attached. Thanks again.”
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                                                                            12                d.    June 27, 2017 email: “When the location manager showed up
                                      LOS ANGELES, CA 90025




                                                                            13   with the director, his instant reaction was ‘I won’t shoot here, because I won’t get
                                                                            14   out of the car[.]’ Due to the severity of the homelessness in your area, I fear you
                                                                            15   are losing out on a lot of shoots. I know it[’]s out of your hands, but thanks for
                                                                            16   all your help today.”
                                                                            17         100.    From 2003 to 2017, two full-time tenants, a married couple, lived in
                                                                            18   the building, but they moved out due to the declining quality of life arising out of
                                                                            19   the homelessness crisis. The amount of noise and trash coming from the
                                                                            20   encampments had become too much for them. The wife was harassed repeatedly,
                                                                            21   and the husband had his bike stolen numerous times. People would (and still do)
                                                                            22   urinate and defecate on the property’s fence, which would run down toward the
                                                                            23   front door. The tenants frequently came across used needles which were left
                                                                            24   behind from people in the encampments and called 911 several times to report
                                                                            25   individuals overdosing on drugs.
                                                                            26         101.    Since those tenants moved out, Mr. Burk has struggled to find a
                                                                            27   full-time tenant for the property. People are not interested in renting his property
                                                                            28   as a home or living space because of the surrounding area. LAPD officers have

                                                                                                               75
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 76 of 113 Page
                                                                                                               ID #:9323


                                                                             1   told Mr. Burk that they have been instructed by their superiors not to ask the
                                                                             2   homeless to move their belongings from the sidewalks or from his property.
                                                                             3   Because of this, when he has asked people to move their belongings from
                                                                             4   blocking the entrance to his home, he has been threatened, spit on, and verbally
                                                                             5   attacked. Weekly, he witnesses public sex, prostitution, and/or nudity on 6th
                                                                             6   Street and Crocker Street. His security cameras often catch violent encounters,
                                                                             7   including shootings and other murders, right across the street from the building.
                                                                             8         102.    The building across from him has caught on fire from a homeless
                                                                             9   encampment’s open flame five times in the last year. He was dropped by several
                                                                            10   insurance companies and was declined new insurance on multiple occasions. He
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                                                                            11   was without insurance for two months before he finally found a non-admitted
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                                                                            12   insurance company to insure his property, at significantly higher cost than
                                      LOS ANGELES, CA 90025




                                                                            13   buildings in other areas of Downtown. He has difficulty receiving mail or
                                                                            14   packages. The mail carrier will not deliver his mail if his mailbox is blocked and
                                                                            15   will not get out of his truck to deliver mail or packages to his front door because
                                                                            16   he has said it is not safe. He regularly receives his neighbors’ mail because the
                                                                            17   carrier simply chooses the mailbox that is not blocked that day to put the entire
                                                                            18   block’s mail in. If everyone’s mailboxes are blocked, mail is not delivered.
                                                                            19   Food delivery services will no longer deliver food to his property after dark.
                                                                            20   Rideshare drivers such as Lyft or Uber refuse to pick up or drop off there.
                                                                            21         103.    Every day he finds used needles on the sidewalks and on his
                                                                            22   property. Clothes and trash are thrown over his fence and onto his property daily.
                                                                            23   On days when the sidewalks around his property are clear, support groups use the
                                                                            24   sidewalk to hand out food and clothing which results in mounds of trash being
                                                                            25   left behind. His property fence is regularly used a restroom since there are
                                                                            26   minimal facilities for the number of people living in front of his property. He
                                                                            27   must make sure the urine and feces are washed off his property on a daily basis.
                                                                            28   The unmanaged urine and feces on his property, as well as the rat and bug

                                                                                                               76
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 77 of 113 Page
                                                                                                               ID #:9324


                                                                             1   infestations, create significant health risk. His fence has been damaged from
                                                                             2   people pushing large bulky items, such as a couch and a refrigerator, against it
                                                                             3   and tying tents and tarps to it. Most days he cannot use the sidewalk around his
                                                                             4   building and the entrances to his property have been blocked by debris.
                                                                             5         104.    In February 2020, his wife saw a dead body on the sidewalk outside
                                                                             6   of his property when he was leaving for work. She now suffers from ongoing
                                                                             7   trauma every time she sees a person laying on the sidewalk near the property
                                                                             8   because she assumes they are not alive. The conditions around his property have
                                                                             9   worsened beyond his control, and he can no longer invite friends or family to his
                                                                            10   property, or reasonably enjoy and use his property.
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                                                                            11         105.    Mr. Burk has been trying to sell the property since early 2018.
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                                                                            12   There have been several interested buyers, yet the property has not sold, as the
                                      LOS ANGELES, CA 90025




                                                                            13   conditions surrounding the building and the recent and widely reported typhus
                                                                            14   and hepatitis outbreaks in the area have scared off potential buyers. His property
                                                                            15   has dropped out of escrow multiple times. All potential buyers have cited the
                                                                            16   dangerous conditions on the surrounding streets and sidewalks as the reason they
                                                                            17   would not purchase the property.
                                                                            18         106.    For example, on January 17, 2018, he received an email from a
                                                                            19   potential buyer stating, in part, “Just wondering how you’re planning to sell it
                                                                            20   when the homeless are 3 tents deep all around that. I know that DTLA is
                                                                            21   working on the problem but isn’t the skid row development company super
                                                                            22   close? . . . [W]hat precautions and what actions can be taken regarding the
                                                                            23   sidewalks around the property as owners[,] if we were to buy it?” The email also
                                                                            24   included a text message screen shot from a potential buyer stating, “Thanks for
                                                                            25   letting me know about the sidewalk directly around the building. I just know that
                                                                            26   it will make it awfully hard for pedestrians to walk over from the arts district . . .
                                                                            27   if no one will venture over because the rest of the surrounding streets look like a
                                                                            28   scene from Mad Max then that could be a hiccup.”

                                                                                                                77
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21       Page 78 of 113 Page
                                                                                                              ID #:9325


                                                                             1         107. In 2018, the City of Los Angeles inquired about acquisition of Mr.
                                                                             2   Burk’s property. The City would not tell him why they were interested in his
                                                                             3   property, but in January 2019, he found out from an article in the Los Angeles
                                                                             4   Times that the City was looking to turn his property into a Homeless Hygiene
                                                                             5   Center. The City has not made an offer on the property but has made matters
                                                                             6   worse by releasing his address to the public.
                                                                             7         108. Mr. Burk spoke to some young men who told him they came to Skid
                                                                             8   Row from the Valley because they knew they could pitch a tent, buy and use
                                                                             9   drugs, without any repercussions. To be clear, they were not homeless, they were
                                                                            10   simply capitalizing on the drug-haven Skid Row has become. This is just one
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                                                                            11   example of the “attractive nuisance” of Skid Row as a result of the City and
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                                                                            12   County’s current lax enforcement policies.
                                      LOS ANGELES, CA 90025




                                                                            13         109. The homelessness crisis right outside Mr. Burk’s building is
                                                                            14   heartbreaking, but what is even more heartbreaking is that the City is allowing it
                                                                            15   to get worse.
                                                                            16         110. GEORGE FREM owns a luxury auto-shop in Mar Vista California,
                                                                            17   which primarily services high-end vehicles. In 2015, a few homeless individuals,
                                                                            18   and others who were not homeless but pretended to be to sell narcotics, set up
                                                                            19   tents under the 405 freeway adjacent to his business. Since then, the population
                                                                            20   of the encampment has continually increased, and he currently estimates that
                                                                            21   more than 80 people live there. The residents have brought a variety of goods
                                                                            22   with them including tents, mattresses, wardrobes, and more. The encampment
                                                                            23   effectively fully covered the sidewalk on one side of the road then spread to
                                                                            24   cover the Culver City side for the last two years. Mr. Frem now sees drug use,
                                                                            25   prostitution, violence, and public indecency on a regular basis. He estimates over
                                                                            26   80 people living under and near the bridge.
                                                                            27         111. The City conducts weekly sanitary cleanups of the camp. When
                                                                            28   they do so, the City announces that any property left within a designated zone

                                                                                                                 78
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 79 of 113 Page
                                                                                                               ID #:9326


                                                                             1   will be considered abandoned and disposed of accordingly. This leaves the
                                                                             2   unsheltered residents no choice but to move themselves and all of their
                                                                             3   belongings to the area immediately outside of the cleanup area and directly in
                                                                             4   front of Mr. Frem’s business. Additionally, a few times a week LAHSA
                                                                             5   representatives set up a mobile help desk, food giveaway station, and/or mobile
                                                                             6   shower station (where the City built a special mobile shower drainage system)
                                                                             7   directly in front of Mr. Frem’s business, resulting in lines of people on the
                                                                             8   sidewalk for hours as they wait for the showers to be available. When this
                                                                             9   occurs, customers frequently question whether their vehicles are safe in the lot
                                                                            10   and whether they will be stored inside overnight. Mr. Frem used to clean the area
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                                                                            11   himself, paying for private companies to pick up trash and litter, and security to
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                                                                            12   patrol the area, but was admonished by the City to stop doing so or face fines and
                                      LOS ANGELES, CA 90025




                                                                            13   criminal penalties himself.
                                                                            14         112. There have been shootings under the bridge multiple times, at least
                                                                            15   three were caught on Mr. Frem’s security video: July 26, 2018, April 1, 2019,
                                                                            16   and October 14, 2020. In just the last year there have been seven separate fires
                                                                            17   under or near the bridge: October 28, 2020, December 27, 2020, January 20,
                                                                            18   2021, April 16, 2021, April 29, 2021, May 10, 2021, and May 22, 2021. Below
                                                                            19   is a single photograph that shows the horror and danger to life and property when
                                                                            20   people live, cook, and try to warm themselves in places not made for human
                                                                            21   habitation. That risk grows even greater when considering the criminal element
                                                                            22   that preys on the vulnerable and often, sadly, intentionally light fires in revenge
                                                                            23   or madness:
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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21       Page 80 of 113 Page
                                                                                                              ID #:9327


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                                                                            12         113. Before the encampment was in place in 2015, Mr. Frem received
                                      LOS ANGELES, CA 90025




                                                                            13   significant business from studios wanting to rent his location or other auto shops
                                                                            14   who would sub-contract to him for repairs. The encampment and related activity,
                                                                            15   especially the presence of homeless persons immediately outside of the property,
                                                                            16   caused those shops to doubt the safety of their vehicles while at Mr. Frem’s shop,
                                                                            17   and has caused them to stop using him for sub-contract work. Prior to 2015, Mr.
                                                                            18   Frem would get significant walk-in business from his prime location on a major
                                                                            19   arterial road, but now long-time customers tell Mr. Frem that they do not feel safe
                                                                            20   picking up their vehicles late at night and potential customers turn away when
                                                                            21   they see the conditions outside of the shop.
                                                                            22         114. This has decreased the number of service orders the shop has every
                                                                            23   year since the encampment arose. Before the encampment was in place, Mr.
                                                                            24   Frem’s shop consistently showed an increase of repair orders and performed over
                                                                            25   1000 repairs per year. But, because of the City’s policies effectively maintaining
                                                                            26   and promoting the camp, the numbers have declined year on year, and now, the
                                                                            27   shop draws less than 50% of repair order jobs compared to 2013. The City’s
                                                                            28

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES            Document 361 Filed 11/01/21       Page 81 of 113 Page
                                                                                                                 ID #:9328


                                                                             1   homelessness policies have caused serious economic damage to Mr. Frem’s
                                                                             2   business and have effectively destroyed the value of his enterprise.
                                                                             3             115. WENZIAL JARRELL is a Black male who has been homeless and
                                                                             4   living on Skid Row for the past several years. Before becoming homeless, Mr.
                                                                             5   Jarrell served in the Air Force, including 8 years in Iraq, before getting injured in
                                                                             6   combat. As a result of his service, he now suffers from post-traumatic stress
                                                                             7   disorder (“PTSD”), which adversely effects his ability to survive on the streets
                                                                             8   and acquire services. Living on the streets with his issues is incredibly difficult.
                                                                             9   The area is violent, he hears gun shots often and it triggers his PTSD. He has
                                                                            10   physical injuries as a result of his service which are exacerbated by living on the
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                                                                            11   street.
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                                                                            12             116. Mr. Jarrell came to Skid Row after the death of his first wife because
                                      LOS ANGELES, CA 90025




                                                                            13   he was told he could find housing and services there. But Mr. Jarrell has yet to
                                                                            14   receive either housing or services. In fact, the health benefits, general relief, and
                                                                            15   food stamps he received upon his arrival have stopped because who he thought
                                                                            16   was a County worker asked him to sign a contract, and his identity was
                                                                            17   subsequently stolen. The other promised services also remain elusive. The
                                                                            18   process for obtaining services he needs like SSI, general relief, and mental health
                                                                            19   treatment is arduous and he is frequently told to wait, come back later, or that he
                                                                            20   must contact someone different. These complications to getting services are
                                                                            21   incredibly frustrating and due to his PTSD causes him to withdraw, preventing
                                                                            22   him from completing the application process and frustrating his prior efforts. He
                                                                            23   is eligible for SSI and a veteran affairs (“VA”) pension, but due to his identity
                                                                            24   theft issues he hasn’t been able to work through the barriers to receiving it. He
                                                                            25   often feels hopeless and like it is not even worth trying. For months at a time, he
                                                                            26   accepts that he will never leave Skid Row and find a better life for him and his
                                                                            27   second wife, with whom he shares a tent.
                                                                            28

                                                                                                                  81
                                                                                                  AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 82 of 113 Page
                                                                                                               ID #:9329


                                                                             1         117. Mr. Jarrell’s search for help has been further complicated by how
                                                                             2   functional he is and how well he has adapted to being homeless. In his
                                                                             3   experience, services are reserved for those suffering from severe addiction or
                                                                             4   mental or physical health issues. He finds he is not “homeless enough” or “sick
                                                                             5   enough” and gets put in the back of the line for help. Because he can manage his
                                                                             6   often-debilitating PTSD and does not have a severe drug addiction or physical
                                                                             7   health issue, he has a much harder time getting help. Mr. Jarrell is frustrated that
                                                                             8   the City’s and County’s focus is on those in the direst circumstances, leaving
                                                                             9   him, and many others like him, who are most likely to escape homelessness,
                                                                            10   without help or services.
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                                                                            11         118. Mr. Jarrell has witnessed first-hand how hard it can be to obtain
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                                                                            12   services even when a person visibly needs help. For example, Mr. Jarrell once
                                      LOS ANGELES, CA 90025




                                                                            13   came across a 19-year-old girl who was blind, walking the streets of Skid Row.
                                                                            14   It was clear to Mr. Jarrell that she would not be able to survive on Skid Row, so
                                                                            15   he brought her to a county social worker that he knows. The county services
                                                                            16   worker initially told him there was nothing they could do for the girl. Mr. Jarrell
                                                                            17   demanded to speak with the county manager’s supervisor and subsequently
                                                                            18   learned that the worker was incorrect and should have been providing help to the
                                                                            19   girl. For Mr. Jarrell, this experience demonstrates two things. First, that many
                                                                            20   homeless people on Skid Row are unable to attain the services they need due to
                                                                            21   their own limitations and the complicated system that the City and County have
                                                                            22   designed. Second the workers running these systems are often barriers rather
                                                                            23   than facilitators of the care that individuals living on Skid Row needs.
                                                                            24         119. Mr. Jarrell was living on Skid Row during the Covid-19 crisis. It
                                                                            25   was months before anyone from the city informed Mr. Jarrell and others about
                                                                            26   the pandemic or how to protect themselves. As a result, Covid-19 moved quickly
                                                                            27   through the homeless population while little to no aid was offered. He saw many
                                                                            28   people sick, coughing, and even dying. As a population, they felt ignored, and it

                                                                                                               82
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 83 of 113 Page
                                                                                                               ID #:9330


                                                                             1   was clear that the rate of sickness and death far exceeded what was being
                                                                             2   reported. This experience exemplified how little the City and County care about
                                                                             3   a population that is already struggling just to survive.
                                                                             4         120. These examples paint a picture of what life on Skid Row is like.
                                                                             5   Services are regularly denied or terminated for unreasonable or unrelated issues.
                                                                             6   The workers responsible for this irrational behavior are not held accountable,
                                                                             7   sweeping the issues under the rug to avoid blame and responsibility. Individuals,
                                                                             8   like Mr. Jarrell, were directed to Skid Row with promises of assistance and
                                                                             9   services, but instead they are turned away and abandoned; left to get worse
                                                                            10   instead of better.
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                                                                            11         121. The services that are provided (frequently by private organizations)
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                                                                            12   fail to stop homelessness itself. While Mr. Jarrell appreciates the food, clothes,
                                      LOS ANGELES, CA 90025




                                                                            13   tents, and other provisions provided, these items do little to help him get off the
                                                                            14   streets. While these provisions make life on the street more comfortable, it does
                                                                            15   not provide a stable housing environment.
                                                                            16         122. He has tried sleeping in congregate shelters when he’s been able to
                                                                            17   get a bed, but due to his experiences in Iraq, his PTSD worsens when he is
                                                                            18   surrounded by large numbers of people. A couple times he has been able to find
                                                                            19   individual housing, but it’s only for single people and he does not want to be
                                                                            20   separated from his wife who he cares for, and who cares for him. And under no
                                                                            21   circumstances will he leave his wife alone in Skid Row. It is far too dangerous.
                                                                            22         123. Mr. Jarrell is a selfless, caring individual who works hard to help
                                                                            23   others get out of the black hole that is Skid Row. He prioritizes helping those
                                                                            24   who he thinks clearly do not belong, or should have a home to go back to,
                                                                            25   because he does not want them to get attacked or left to fend for themselves.
                                                                            26   According to Mr. Jarrell, there is nothing worse than getting stuck in the system
                                                                            27   of Skid Row and realizing you cannot escape. If he were able to get a stable
                                                                            28   housing environment with any semblance of personal space, he would jump at

                                                                                                                83
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES         Document 361 Filed 11/01/21       Page 84 of 113 Page
                                                                                                              ID #:9331


                                                                             1   the opportunity. Mr. Jarrell knows he is more likely to die because he lives on
                                                                             2   Skid Row.
                                                                             3         124. CHARLES MALOW has been living at Union Rescue Mission,
                                                                             4   within the Skid Row area, since 2012. Prior to 2008, he worked as a garage door
                                                                             5   installer for 29 years, and from 2000 to 2006 he worked part-time as a security
                                                                             6   guard. He became homeless in 2008 when the economy crashed. From 2010 to
                                                                             7   2012, he lived on the streets of Glendora, California. In the winter of 2011 and
                                                                             8   2012, he stayed at a Glendora Winter Shelter and then decided to seek help at the
                                                                             9   Union Rescue Mission (“URM”) located on 545 San Pedro St., Los Angeles, CA
                                                                            10   90013. When he first arrived at URM in 2012, police officers would come by in
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                                                                            11   the morning, and wake-up the people sleeping on the streets. They were required
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                                                                            12   to pack up their belongings and stow them, so the sidewalks were not blocked.
                                      LOS ANGELES, CA 90025




                                                                            13   This also allowed illegal activity such as narcotics and weapons sales to be more
                                                                            14   easily discovered and therefore addressed. At that time, there were no tents in
                                                                            15   front of URM.
                                                                            16         125. For about five years, Mr. Malow has been an Ambassador at URM.
                                                                            17   The Ambassador program allows a small group of men to live at URM
                                                                            18   indefinitely. Since living at URM, he has worked at Home Depot and in URM’s
                                                                            19   janitorial department, known as the EVS team. He knows that diseases such as
                                                                            20   typhus have made a resurgence on Skid Row, and this makes him extremely
                                                                            21   concerned that his work with the EVS team puts him at greater risk of contracting
                                                                            22   a disease.
                                                                            23         126. In the last several years Mr. Malow has seen a big increase in the
                                                                            24   volume of tents and belongings on the streets. This has greatly affected his daily
                                                                            25   life. He has observed a dramatic increase in the rodent problem on Skid Row and
                                                                            26   has seen rats running in and out of tents when he sweeps the sidewalks and
                                                                            27   gutters outside of URM. A major cause of this rodent problem is the volume of
                                                                            28   trash disposed of on the streets—because individuals living on the streets throw

                                                                                                               84
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 85 of 113 Page
                                                                                                               ID #:9332


                                                                             1   food and trash in the streets, rats have more than enough food to flourish. There
                                                                             2   has also been a huge increase in the amount of human feces on the street which
                                                                             3   carries with it the significant risk of disease, not to mention the odors.
                                                                             4         127. There is absolutely no room to walk on the sidewalk, so if he leaves
                                                                             5   URM, Mr. Malow is forced to walk in the street. Even in places where he could
                                                                             6   physically walk between the encampment and the wall, he still must walk on the
                                                                             7   streets or risk violent confrontation from people who accuse him of invading their
                                                                             8   “space.” When he leaves URM, he must plan his route carefully even if traveling
                                                                             9   by public transportation. Due to an increase in crime, including narcotics sales
                                                                            10   and violent activity, he must use a car service to get back from the metro or bus
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                                                                            11   station after visiting his mother in Anaheim. He always has the car drop him off
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                                                                            12   directly in front of URM to avoid dangerous encounters on the street.
                                      LOS ANGELES, CA 90025




                                                                            13         128. Mr. Malow does not leave URM between the hours of 4 p.m. and 6
                                                                            14   a.m., because he is concerned for his safety on the streets. When he does leave,
                                                                            15   he is incessantly approached and offered illegal drugs for sale. He regularly sees
                                                                            16   people just outside his home using illegal narcotics in the form of pills or
                                                                            17   smoking or injecting themselves. He sees people lying motionless in gutters,
                                                                            18   often without clothes or shoes, and is constantly looking to see if that person is
                                                                            19   dead or merely unconscious from drugs or alcohol. As a person who has
                                                                            20   struggled with drug and alcohol use, it is particularly painful to watch and
                                                                            21   experience.
                                                                            22         129. The excessive build-up of tents and debris over the last few years is
                                                                            23   directly responsible for this significant increase in crime because it allows
                                                                            24   criminals to operate in relative anonymity. This increase in debris, tents, and
                                                                            25   personal items on the streets also makes it impossible for health and safety
                                                                            26   workers to identify public health risks, causing disease and unsafe conditions to
                                                                            27   spread right outside his home. As a formerly homeless individual, Malow knows
                                                                            28   first-hand the difficulties that come from living on the street and is deeply

                                                                                                               85
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES            Document 361 Filed 11/01/21       Page 86 of 113 Page
                                                                                                                 ID #:9333


                                                                             1   troubled by both the City’s actions and inaction in the face of the homelessness
                                                                             2   crisis.
                                                                             3             130. KARYN PINSKY works in DTLA and lives there with her husband
                                                                             4   and their young son. She and her husband moved to DTLA in 2010 because they
                                                                             5   were drawn to the architecture, history, and walkability of the area. Unhoused
                                                                             6   individuals have always been present near their home, but in far fewer numbers.
                                                                             7   In 2010, the only tents west of Skid Row were on Broadway, and they were
                                                                             8   erected every night and removed shortly after sunrise. From 2010 to 2016, Ms.
                                                                             9   Pinsky and her husband, and later her son, were able to enjoy many wonderful
                                                                            10   features of DTLA—they regularly walked their dog along Main Street, and they
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                                                                            11   felt comfortable walking to the many wonderful establishments and restaurants
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                                                                            12   that were nearby.
                                      LOS ANGELES, CA 90025




                                                                            13             131. All this has changed dramatically over the past several years as the
                                                                            14   homelessness crisis has deepened. Now, due to many recent experiences and the
                                                                            15   crime and concentration levels in Downtown, Ms. Pinsky is fearful that either she
                                                                            16   or her son will be the subject of some random act of violence. Once, while sitting
                                                                            17   outside at a café on Spring Street, a homeless woman screamed and became
                                                                            18   violent towards her because she thought Ms. Pinsky was “judging” her—only
                                                                            19   when her husband and others intervened was the situation defused. On another
                                                                            20   occasion, her husband saw the aftermath of a violent encounter between a
                                                                            21   neighbor and a homeless, mentally ill individual—the individual hit their
                                                                            22   neighbor in the face with a 2x4 that had a nail in it. Earlier this year, a homeless
                                                                            23   man seated outside a café on 6th Street near Broadway, a block from their house,
                                                                            24   randomly pushed a stranger into the street in front of an oncoming bus. The man
                                                                            25   was struck by the bus and ultimately died. Another neighbor on a different floor
                                                                            26   was attacked in the middle of the night by someone who gained access through a
                                                                            27   fire escape window. Now, as a result, she no longer feels safe sleeping with her
                                                                            28   window cracked even a little at night because of its proximity to the fire escape.

                                                                                                                  86
                                                                                                  AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 87 of 113 Page
                                                                                                               ID #:9334


                                                                             1         132. Sexual assaults on women also have increased significantly in the
                                                                             2   last several years, and as a result, Ms. Pinsky is terrified of being assaulted while
                                                                             3   running errands or just walking to or from a restaurant. The conditions
                                                                             4   immediately surrounding their home have gotten so dangerous that neither she
                                                                             5   nor her husband will leave the house by foot at all. They drive into the garage
                                                                             6   and stay in their home; if they need to run errands, they drive. She does not walk
                                                                             7   at all, due to the violent criminals that are using the tents as cover immediately
                                                                             8   outside her building. She once was able to take her son to enjoy the various
                                                                             9   activities Downtown Los Angeles offers, like the library story time, parks such as
                                                                            10   Pershing Square, and museums. Now they avoid those altogether. Family and
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                                                                            11   friends are so fearful of the disease and violence in the area that they will no
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                                                                            12   longer come to visit Ms. Pinsky. The area was not always like this, but the City’s
                                      LOS ANGELES, CA 90025




                                                                            13   failure to address this crisis in a way that is balanced for both the housed and
                                                                            14   unhoused communities has fundamentally altered the neighborhood and her
                                                                            15   experience of it. Ms. Pinsky has been greatly affected and has a very real interest
                                                                            16   in remediating this issue insofar as her quality of life and basic enjoyment of her
                                                                            17   property has been severely diminished. At the same time, she also has
                                                                            18   compassion and empathy for those on the streets who are subject to the assaults
                                                                            19   (particularly women), the elements, the drug pushers, the gang members, the rats,
                                                                            20   filth, and disease. For Ms. Pinsky, this is no way for a society to treat its most
                                                                            21   helpless members.
                                                                            22         133. LEANDRO SUAREZ is recently retired chief petty officer
                                                                            23   (“CPO”) in the United States Navy and served for over 24 years. He resides with
                                                                            24   his sister, Deisy Suarez, at 5th and Broadway four days of the week. While
                                                                            25   stationed off the coast of Southern California, he was involved in an accident
                                                                            26   involving a Navy jet which resulted in the amputation of his right leg and his left
                                                                            27   big toe. It took him nearly two years to be healthy enough to use a prosthetic leg.
                                                                            28   He also suffers from lower back problems and problems with his toes, knees, and

                                                                                                               87
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 88 of 113 Page
                                                                                                               ID #:9335


                                                                             1   feet. Currently, he can only walk for five to eight minutes at a time with the
                                                                             2   assistance of two crutches. Because of his limited mobility with the prosthetic,
                                                                             3   CPO Suarez relies on an electric wheelchair for most daily activities, e.g. walking
                                                                             4   the dog, grocery shopping, running errands, or going “long” distances.
                                                                             5         134. Navigating the streets of Downtown Los Angeles is nearly
                                                                             6   impossible for CPO Suarez, and he is often confined on his block at 5th and
                                                                             7   Broadway. The swelling number of persons living on the streets with their
                                                                             8   possessions severely limit Mr. Suarez’s ability to travel by wheelchair throughout
                                                                             9   DTLA.
                                                                            10         135. Streets that contain businesses with outdoor patios, chairs, or other
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                                                                            11   decorative materials pose a particularly difficult problem for CPO Suarez. While
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   the law requires businesses to ensure a certain portion of the sidewalk remain
                                      LOS ANGELES, CA 90025




                                                                            13   clear, homeless persons openly camp in front of these establishments, effectively
                                                                            14   blocking the entire sidewalk. CPO Suarez cannot get around these persons, and
                                                                            15   because he is in a wheelchair, he must go back to the corner so he can use the
                                                                            16   ramp to access the street and cross to the other side. This is a laborious, time-
                                                                            17   consuming, and dangerous process. And the constant backtracking limits CPO
                                                                            18   Suarez’s ability to travel within the city because his wheelchair is not made for
                                                                            19   long distances.
                                                                            20         136. When CPO Suarez asks homeless persons to move themselves or
                                                                            21   their belongings, they often become aggressive with him, demanding that he
                                                                            22   prove he “owns the sidewalk,” or that he give them cigarettes or other
                                                                            23   paraphernalia as a “tax.” More often than not, people simply refuse to move,
                                                                            24   again, forcing Mr. Suarez to find a curb, cross to the other side of the street, and
                                                                            25   hope that there will be enough public walkway for his wheelchair to fit through
                                                                            26   so that he can complete a simple errand, task, or outing.
                                                                            27         137. The buildup of goods and persons on the streets prevents CPO
                                                                            28   Suarez from freely traveling throughout the city. He is limited in the distance

                                                                                                               88
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 89 of 113 Page
                                                                                                               ID #:9336


                                                                             1   and the places he can travel because his electric wheelchair has a limited battery
                                                                             2   life. When streets are blocked with property and people, CPO Suarez is forced to
                                                                             3   find a different, unobstructed, route to his destination. And sometimes, because
                                                                             4   CPO Suarez’s wheelchair has limited battery life, he is prevented from even
                                                                             5   reaching his destination. In fact, at times the idea of traveling outside is so
                                                                             6   daunting that Mr. Suarez is forced to remain indoors.
                                                                             7         138. CPO Suarez’s difficulties are exacerbated when construction
                                                                             8   projects limit the sidewalk further. A construction project between 4th and 5th
                                                                             9   Street has made it is nearly impossible for CPO Suarez to travel down Broadway
                                                                            10   because while a makeshift walkway exists, the walkway is often blocked by
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                                                                            11   homeless persons or their property. CPO Suarez’s request that the individuals
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   move is often rebuffed, preventing him from descending down the ramp or
                                      LOS ANGELES, CA 90025




                                                                            13   having full and free access to public sidewalks or the ability to travel the streets.
                                                                            14         139. CPO Suarez regularly endures verbal abuse from the individuals he
                                                                            15   asks to move so that he can access the public walkway. Already physically
                                                                            16   vulnerable, this constant beratement has left CPO Suarez fearful of traveling
                                                                            17   outside.
                                                                            18         140. HARRY TASHDJIAN owns an upholstery supply business in the
                                                                            19   industrial area of DTLA, and the property surrounding the business location. Mr.
                                                                            20   Tashdjian’s building typically houses millions of dollars’ worth of inventory.
                                                                            21   When he purchased the building in 2013, tents were not allowed on the streets
                                                                            22   during the day. Because his business operates during traditional business hours,
                                                                            23   he believed that the location would not hinder business, which generally has
                                                                            24   between 70 and 100 will-call orders per day through which customers order
                                                                            25   product and then come into the business shop to pick it up.
                                                                            26         141. In mid-2016, Mr. Tashdjian saw an immediate increase in tents on
                                                                            27   the streets and sidewalks outside of his business. Today, tents occupy the
                                                                            28   sidewalks at all hours, and it is difficult for him and his customers to access his

                                                                                                               89
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 90 of 113 Page
                                                                                                               ID #:9337


                                                                             1   business due to the piles of property and people loitering on the sidewalk and in
                                                                             2   the street. Customers constantly tell him how difficult it is to get into the
                                                                             3   building or the adjacent parking lot without hitting people. Mr. Tashdjian has
                                                                             4   been repeatedly told that customers prefer to do business with competitors to
                                                                             5   avoid the hassle and inconvenience of trying to access his store.
                                                                             6         142. Vendors from all over the world—Italy, Germany, United Kingdom,
                                                                             7   China, etc.—visit Mr. Tashdjian’s shop and express shock and dismay that such
                                                                             8   horrendous conditions exist in Los Angeles. His business is now at a much
                                                                             9   greater risk for vandalism, violence, and fire damage. Homeless individuals
                                                                            10   frequently urinate into or onto his building or the adjacent parking lot, and there
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                                                                            11   has been an increase in graffiti on his building. The number of tents immediately
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                                                                            12   outside of his building puts his business at risk of fire damage—indeed, the fire
                                      LOS ANGELES, CA 90025




                                                                            13   department responds at least once a year to a tent fire that has started immediately
                                                                            14   outside his building. Sometimes it is an innocent accident from an open flame;
                                                                            15   other times, it is intentional due to some drug dealers’ disagreement. His security
                                                                            16   cameras have recorded these acts of arson.
                                                                            17         143. The conditions surrounding his property have cost Mr. Tashdjian a
                                                                            18   great deal of money. Because of the immediate fire danger posed by the tents
                                                                            19   outside his building, he has been forced to upgrade his fire monitoring system
                                                                            20   which cost approximately $40,000. He has also had to spend approximately
                                                                            21   $37,000 on a new security surveillance system to protect the building. The
                                                                            22   LAPD frequently seeks footage caught on this security system during
                                                                            23   investigations. Theft is also a major concern—pallets are constantly stolen from
                                                                            24   their building and car batteries are frequently stolen from inside people’s cars.
                                                                            25         144. There has also been a significant uptick in the population of rats
                                                                            26   surrounding his building, and as a result, rat feces coat all three fences
                                                                            27   surrounding his property. To address the increase in fecal matter on his property,
                                                                            28   as well as the proliferation in cockroaches, he has hired a pest control company

                                                                                                               90
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 91 of 113 Page
                                                                                                               ID #:9338


                                                                             1   and had the health department visit the property multiple times. The gate
                                                                             2   surrounding his property has been repeatedly damaged, costing him thousands of
                                                                             3   dollars in repairs.
                                                                             4          145. Over the last few years, as the City and County have permitted the
                                                                             5   homelessness crisis to grow, the risk to his property from fire damage and
                                                                             6   vandalism has increased exponentially—the business constantly replaces gates
                                                                             7   and other property, cleans the facilities, and sometimes pays security to safeguard
                                                                             8   its property. They have had to spend over $100,000 in upgrades to their system
                                                                             9   and increased monitoring and pest control just as a result of the increased
                                                                            10   homeless persons and property in the area. Mr. Tashdjian and his employees
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                                                                            11   cannot walk anywhere in the area and are constantly subject to risk of disease due
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                                                                            12   to the putrid conditions outside the business.
                                      LOS ANGELES, CA 90025




                                                                            13          146. The City and the County have offered no assistance to Mr. Tashdjian
                                                                            14   and have taken no steps to address the impact of the homelessness crisis on his
                                                                            15   business or to enforce the laws that are broken daily in the area around his
                                                                            16   business.
                                                                            17          147. GARY WHITTER has been homeless on and off in the Los
                                                                            18   Angeles area for the last 13 years. He struggles with alcoholism, depression,
                                                                            19   bipolar disorder, chronic back pain, and hypertension. While he was living on
                                                                            20   the streets, he would sleep wrapped up in a blanket, usually on hard cement or a
                                                                            21   blanket. He could not get more than an hour or two of sleep at a time because of
                                                                            22   fear of attacks, noise, people asking him to move, physical pain, or exposure to
                                                                            23   the elements. Sleep deprivation caused his mental state to spiral, exacerbating his
                                                                            24   depression, bipolar, and hypertension conditions. The hard sleeping conditions
                                                                            25   and constantly carrying all his belongings everywhere he went lead to severe
                                                                            26   back pain.
                                                                            27          148. The stress of the stigma of being homeless was also significant,
                                                                            28   adding to his depression and hypertension. As hard as he tried, he understood

                                                                                                                91
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 92 of 113 Page
                                                                                                               ID #:9339


                                                                             1   that he always looked and smelled terrible. It was impossible to keep his hygiene
                                                                             2   up and as a result he was constantly sick. Due to his unpredictable living and
                                                                             3   sleeping conditions, he lacked regular medical and dental care. He frequently
                                                                             4   encountered persons attempting to scam him or victimize him in some way. All
                                                                             5   of this caused his mental and physical state to further decline.
                                                                             6          149. In the middle of March 2019, he entered into a program at the Union
                                                                             7   Rescue Mission, and has now been there for almost a year. He is able to get a
                                                                             8   full night’s sleep which has significantly increased his mental stability and
                                                                             9   reduced his hypertension. Sleeping on a bed, and not having to carry his worldly
                                                                            10   possessions on his back has helped his back pain tremendously and he can move
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                                                                            11   uninhibited which has itself improved his mental stability and hypertension. He
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   now has regular access to medical and mental health clinics, and his mental and
                                      LOS ANGELES, CA 90025




                                                                            13   physical health has improved markedly. This is the third time he has been
                                                                            14   through Union Rescue Mission’s program and he is unsure about what will
                                                                            15   happen in the future once he graduates. He is aware that permanent housing is
                                                                            16   difficult to find, but he is fearful of living on Skid Row or returning to living on
                                                                            17   the streets.
                                                                            18          150. Staying on Skid Row has its own dangers. He often has to walk in
                                                                            19   the street because the sidewalks are completely blocked with tents and
                                                                            20   possessions. Even when there is room to walk on the sidewalk, he often must
                                                                            21   walk in the street anyway or risk harassment for walking in a person’s
                                                                            22   “backyard” (the area in front of the tent). Other than walking to Rite-Aid to pick
                                                                            23   up his prescriptions or to the Department of Public Social Services office to get
                                                                            24   his General Relief check, he stays inside because he is too afraid to leave the
                                                                            25   building. At night he can hear gunshots and sirens all night long, and on the roof,
                                                                            26   it isn’t uncommon to witness people getting attacked on the street, including
                                                                            27   women getting beaten or raped.
                                                                            28

                                                                                                                92
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21         Page 93 of 113 Page
                                                                                                               ID #:9340


                                                                             1         151. CHARLES VAN SCOY lives at Union Rescue Mission and has
                                                                             2   been homeless or lived in shelters at various points in time over the last three
                                                                             3   decades. Sometime after 2010, he moved to Long Beach Rescue Mission, where
                                                                             4   he lived for two or three years. He has been living at the URM for four years and
                                                                             5   is part of its Ambassador program.
                                                                             6         152. Due to various illnesses, Mr. Van Scoy is confined to a wheelchair.
                                                                             7   He depends on Access Services (“Access”), Los Angeles County’s Paratransit
                                                                             8   program, when traveling further distances within the city. Sometimes Access is
                                                                             9   available to him, but sometimes it is not—it is a limited program and he is
                                                                            10   regularly in danger of losing qualification for its services. Because of the build-
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                                                                            11   up of tents and personal property on the sidewalks, it is presently impossible for
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                                                                            12   Mr. Van Scoy to navigate the sidewalks surrounding the URM, and so he must
                                      LOS ANGELES, CA 90025




                                                                            13   choose every day to stay inside or risk traversing busy streets in a wheelchair and
                                                                            14   risking accident and injury—indeed, the risk is even greater for him on the streets
                                                                            15   because the massive amounts of trash and property (and sometimes unconscious
                                                                            16   bodies) in the gutters require him to edge closer to the center of the streets.
                                                                            17   When he tries to run errands, such as travel to the drugstore or market, he is not
                                                                            18   able to do so due to the blocked sidewalks in every direction. When he asks
                                                                            19   people to move their belongings on the sidewalk to make a path for his 32-inch
                                                                            20   wheelchair, he is met with threats and aggression, so he doesn’t even ask
                                                                            21   anymore. He cannot traverse the sidewalks in the half-square mile around his
                                                                            22   property. He would like to be able to go outside for exercise, or to go to the
                                                                            23   market or drug store independently, but has to rely on Access Services to go
                                                                            24   anywhere. Access Services typically parks half-way down the block at an
                                                                            25   entrance ramp but often the way there is blocked, so he is unable to even get to
                                                                            26   his transportation which is necessary to get to frequent doctors appointments. He
                                                                            27   has missed important doctors’ appointments and meetings because it is so
                                                                            28   difficult for him to move along public sidewalks.

                                                                                                               93
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21      Page 94 of 113 Page
                                                                                                                ID #:9341


                                                                             1         153. Every time Mr. Van Scoy leaves URM, people approach him to buy
                                                                             2   or sell drugs. As a recovering addict, it feels like walking into a firestorm. So
                                                                             3   many of the tents and enclosures are used by gang members to sell drugs and
                                                                             4   weapons that people who come to Skid Row looking for services frequently find
                                                                             5   themselves targets for drug pushers.
                                                                             6         154. Mr. Van Scoy has observed that the increase in debris on the streets
                                                                             7   has been accompanied by a rodent infestation that carries with it the high risk of
                                                                             8   disease. The lack of sanitation and accumulation of trash and human waste have
                                                                             9   made the streets increasingly dangerous for him, particularly because of his
                                                                            10   significant health issues and compromised immune system. He knows of one
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                                                                            11   individual who came into contact with human feces and developed an infection
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                                                                            12   that led to the amputation of a leg. Van Scoy’s medical conditions make him
                                      LOS ANGELES, CA 90025




                                                                            13   particularly vulnerable to the spread of bacteria and disease.
                                                                            14         155. All these circumstances combine to render Mr. Van Scoy a prisoner
                                                                            15   in his own home.
                                                                            16                                       DEFENDANTS
                                                                            17         156. CITY OF LOS ANGELES (“City”) is a municipal entity existing
                                                                            18   under the laws of the State of California, with the capacity to sue and be sued.
                                                                            19   The departments of the City include the Los Angeles Department of Public
                                                                            20   Works with its various sub-departments include the Los Angeles Department of
                                                                            21   Sanitation (LASAN), and the Los Angeles Police Department (LAPD).
                                                                            22         157. COUNTY OF LOS ANGELES (“County”) is a municipal entity
                                                                            23   existing under the laws of the State of California, with the capacity to sue and be
                                                                            24   sued. The departments of the County include but are not limited to the Los
                                                                            25   Angeles Sheriff’s Department (LASD), the Department of Mental Health
                                                                            26   (DMH), the Department of Public Health (DPH), and the Department of Public
                                                                            27   Social Services (DPSS).
                                                                            28

                                                                                                               94
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21       Page 95 of 113 Page
                                                                                                               ID #:9342


                                                                             1         158. The CITY and COUNTY jointly fund, manage, and administer the
                                                                             2   Los Angeles Homeless Service Authority (LAHSA), an independent joint powers
                                                                             3   authority. According to its website, “LAHSA is the lead agency in the Los
                                                                             4   Angeles Continuum of Care, which is the regional planning body that coordinates
                                                                             5   housing and services for homeless families and individuals in Los Angeles
                                                                             6   County. LAHSA coordinates and manages over $300 million annually in federal,
                                                                             7   state, county, and city funds for programs that provide shelter, housing, and
                                                                             8   services to people experiencing homelessness.”152
                                                                             9         159. Does 1 through 200, inclusive, are persons, entities, government
                                                                            10   bodies, municipal employees, the names and identifies of which are currently
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                                                                            11   unknown.
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                                                                            12                             V.      CAUSES OF ACTION
                                      LOS ANGELES, CA 90025




                                                                            13                             FIRST CAUSE OF ACTION
                                                                            14                                        Negligence
                                                                            15                                  (Against all Defendants)
                                                                            16         160. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                            17   every allegation set forth in paragraphs 1 through 159 of this Complaint as
                                                                            18   though set forth fully herein.
                                                                            19         161. Defendants, by and through their agents and employees and under a
                                                                            20   theory of respondeat superior, have sole right and responsibility to control,
                                                                            21   maintain, and keep safe and clean the public and public-right-of-way areas in the
                                                                            22   City and unincorporated parts of the County, including parks, sidewalks, streets,
                                                                            23   public buildings, and certain undeveloped areas such as alongside freeways and
                                                                            24   other transportation routes, and to make and enforce laws assuring the public
                                                                            25   health and safety thereof for its citizens and their guests. Among other things,
                                                                            26   Defendants have the duty to maintain these areas in a manner which does not
                                                                            27
                                                                                       152
                                                                                          LAHSA, About LAHSA, https://www.lahsa.org/about (last visited Oct.
                                                                            28   22, 2021).

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 96 of 113 Page
                                                                                                               ID #:9343


                                                                             1   unreasonably interfere with the free passage or use by plaintiffs, and which
                                                                             2   addresses and alleviates conditions which are harmful to health, or indecent or
                                                                             3   offensive to the senses, and which create a fire hazard or permit crime to occur
                                                                             4   unabated including the illegal sale of controlled substances.
                                                                             5         162. As controlling law makes clear, “The public is entitled to the free
                                                                             6   and unobstructed use of the entire streets and sidewalks. . .” Vanderhurst, 113
                                                                             7   Cal. at 152. Indeed, municipalities have “the duty to keep their communities’
                                                                             8   streets open and available for movement of people and property.” Schneider, 308
                                                                             9   U.S. at 160-61. The City of Los Angeles admits it has the duty to keep sidewalks
                                                                            10   open for the public.
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                                                                            11         163. In 2016, the City sponsored and supported a ballot measure which
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                                                                            12   promised to “provide safe, clean affordable housing for the homeless, and … to
                                      LOS ANGELES, CA 90025




                                                                            13   provide facilities to increase access to mental health care, drug, and alcohol
                                                                            14   treatment and other services” if its citizens authorized the issuance of
                                                                            15   $1,200,000,000 in general obligation bonds for that purpose. 153 Proposition HHH
                                                                            16   passed overwhelmingly and became law in 2017, thereby obligating and creating
                                                                            17   a duty of the City to implement it in a manner to achieve its purposes.
                                                                            18         164. In 2017, the County sponsored a ballot measure which promised to
                                                                            19   “fund mental health, substance abuse treatment, health care, education, job
                                                                            20   training, rental subsidies, emergency and affordable housing, transportation,
                                                                            21   outreach, prevention, and supportive services for homeless children, families,
                                                                            22   foster youth, veterans, battered women, seniors, disabled individuals, and other
                                                                            23   homeless adults” if its citizens authorized a ¼ cent sales tax for ten years to be
                                                                            24   used for that purpose. Proposition H passed overwhelmingly and became law,
                                                                            25
                                                                            26
                                                                                       153
                                                                                            City of Los Angeles, City Clerk, Voter Information Pamphlet at 7 (Nov.
                                                                            27   8, 2016),
                                                                                 http://clerk.cityofla.acsitefactory.com/sites/g/files/wph606/f/2016%20November
                                                                            28   %20County%20WEB_English.pdf.

                                                                                                               96
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES          Document 361 Filed 11/01/21        Page 97 of 113 Page
                                                                                                               ID #:9344


                                                                             1   thereby obligating the County to implement it in a manner to achieve its
                                                                             2   purposes.
                                                                             3         165. Defendants and their agents have breached their duty to its citizens,
                                                                             4   including and specifically to plaintiffs and Alliance members, and each plaintiff
                                                                             5   and Alliance member has suffered damages as a result, as described more fully
                                                                             6   supra. The bases of this cause of action is the conduct, acts, and omissions of
                                                                             7   individual responsible officials, including Does 1-150, inclusive, based on the
                                                                             8   theory of respondeat superior.
                                                                             9         166. Plaintiffs seek no damages hereunder and seek equitable and
                                                                            10   injunctive relief only. As such neither the City nor County are entitled to any
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                                                                            11   claims of immunity pursuant to California Government Code section 814.
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                                                                            12                            SECOND CAUSE OF ACTION
                                      LOS ANGELES, CA 90025




                                                                            13                             Violation of Mandatory Duty
                                                                            14                 Cal. Gov’t Code § 815.6; Welf & Inst. Code § 17000
                                                                            15                      (Against Defendant County of Los Angeles)
                                                                            16         167. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                            17   every allegation set forth in paragraphs 1 through 166 of this Complaint as
                                                                            18   though set forth fully herein.
                                                                            19         168. Defendant County of Los Angeles is liable under California
                                                                            20   Government Code section 815.6 and common law negligence theory for violation
                                                                            21   of a statutorily mandated duty to provide medical care for the indigent.
                                                                            22   California Welfare and Institutions Code section 17000 provides: “Every county
                                                                            23   and every city and county shall relieve and support all incompetent, poor,
                                                                            24   indigent persons, and those incapacitated by age, disease, or accident, lawfully
                                                                            25   resident therein, when such persons are not supported and relieved by their
                                                                            26   relatives or friends, by their own means, or by state hospitals or other state or
                                                                            27   private institutions.”
                                                                            28

                                                                                                                97
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21         Page 98 of 113 Page
                                                                                                                ID #:9345


                                                                             1         169. Section 10000 clarifies and defines the purpose of these obligations
                                                                             2   as follows:
                                                                             3
                                                                                               The purpose of this division is to provide for protection,
                                                                             4                 care, and assistance to the people of the state in need
                                                                                               thereof, and to promote the welfare and happiness of all of
                                                                             5                 the people of the state by providing appropriate aid and
                                                                                               services to all of its needy and distressed. It is the
                                                                             6                 legislative intent that aid shall be administered and
                                                                                               services provided promptly and humanely, with due
                                                                             7                 regard for the preservation of family life, and without
                                                                                               discrimination on account of ancestry, marital status,
                                                                             8                 political affiliation, or any characteristic listed or defined
                                                                                               in Section 11135 of the Government Code. That aid shall
                                                                             9                 be so administered and services so provided, to the extent
                                                                                               not in conflict with federal law, as to encourage self-
                                                                            10                 respect, self-reliance, and the desire to be a good citizen,
                                                                                               useful to society.
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                                                                            11
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                                                                                               Cal. Welf. & Inst. Code § 10000.
                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12
                                      LOS ANGELES, CA 90025




                                                                            13         170. Sections 17000 and 10000 taken together mandate that “medical
                                                                            14   care be provided to indigents. . . promptly and humanely.” Tailfeather v. Board
                                                                            15   of Supervisors, 48 Cal. App. 4th 1223, 1245 (1996). This means counties must
                                                                            16   provide medical care to the poor “at a level which does not lead to unnecessary
                                                                            17   suffering or endanger life and health.” Id. at 1240. The California Supreme
                                                                            18   Court has held that “subsistence medical services” must be provided. Hunt v.
                                                                            19   Superior Court, 21 Cal. 4th 984, 1014 (1999) (“Section 10000 imposes a
                                                                            20   minimum standard of care—one requiring that subsistence medical services be
                                                                            21   provided promptly and humanely.”) (citation omitted). Counties have an
                                                                            22   obligation to provide “medically necessary care, not just emergency care.”
                                                                            23   County of Alameda v. State Bd. of Control, 14 Cal. App. 4th 1096, 1108 (1993)
                                                                            24   (citation omitted). That includes care “sufficient to avoid substantial pain and
                                                                            25   infection.” Hunt, 21 Cal. 4th at 1014 (citing Cooke v. Superior Court, 213 Cal.
                                                                            26   App. 3d 401, 413-15 (1989)). Importantly, a county’s obligation to provide
                                                                            27   medically necessary care must be fulfilled “without regard to its fiscal plight.”
                                                                            28   Fuchino v. Edwards-Buckley, 196 Cal. App. 4th 1128, 1134 (2011) (citation

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                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                      Case 2:20-cv-02291-DOC-KES           Document 361 Filed 11/01/21        Page 99 of 113 Page
                                                                                                                ID #:9346


                                                                             1   omitted). “Medically necessary” for adults is defined in California Welfare &
                                                                             2   Institutions Code section 14059.5(a): “[A] service is ‘medically necessary’ or a
                                                                             3   ‘medical necessity’ when it is reasonable and necessary to protect life, to prevent
                                                                             4   significant illness or significant disability, or to alleviate severe pain.” Cal. Welf.
                                                                             5   & Inst. Code § 14059.5(a).
                                                                             6         171. Given the above-described facts and circumstances, and significant
                                                                             7   studies, statistics, and reports including those set forth supra, and other such
                                                                             8   evidence as may be provided, it cannot be doubted that a person’s status as an
                                                                             9   unsheltered homeless individual both causes and exacerbates physical and mental
                                                                            10   health problems, ultimately causing much higher rates of infection, disease,
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                                                                            11   decay, pain, and death. As Dr. Barbara Ferrer, director of the LA County
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                                                                            12   Department of Public Health, admitted: “Homeless people are in fact dying at a
                                      LOS ANGELES, CA 90025




                                                                            13   higher rate because they’re homeless.”154 Recognizing this, the LA County
                                                                            14   Department of Health Services has implemented limited program to provide
                                                                            15   housing as part of its larger healthcare obligation which has been wildly
                                                                            16   successful. But unfortunately, it has not gone far enough to address the homeless
                                                                            17   crisis, which is ravaging the city and county, such that over 48,000 persons
                                                                            18   remain unsheltered in the County as of January 2019.
                                                                            19         172. Basic shelter is “medically necessary” insofar as it is “reasonable
                                                                            20   and necessary to protect life, to prevent significant illness or significant
                                                                            21   disability, or to alleviate severe pain” and the City and County’s failure to
                                                                            22   provide the same to its homeless population constitutes a breach of its duty under
                                                                            23   California Welfare & Institution Code Sections 17000 and 10000. Plaintiffs
                                                                            24   allege that provision of shelter, in and of itself, would alleviate significant
                                                                            25   physical and mental health issues and prevent existing or pre-existing physical
                                                                            26
                                                                            27
                                                                                       154
                                                                                            Flores, supra note 91,
                                                                            28   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.

                                                                                                                99
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES               Document 361 Filed 11/01/21         Page 100 of 113 Page
                                                                                                              ID #:9347


                                                                             1   and mental health issues from worsening. In other words, the beds themselves
                                                                             2   are medically necessary.
                                                                             3         173. Plaintiffs, and each of them, have been damaged by the County’s
                                                                             4   failure to provide beds, as described in detail supra.
                                                                             5         174. Plaintiffs seek no damages hereunder and submit this claim for
                                                                             6   equitable and injunctive relief only. As such neither the City nor County are
                                                                             7   entitled to any claims of immunity pursuant Cal. Gov. Code § 814.
                                                                             8                              THIRD CAUSE OF ACTION
                                                                             9            Violation of Cal. Civ. Code § 3490, et seq. (Public Nuisance)
                                                                            10                                (Against all Defendants)
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                                                                            11         175. Plaintiffs re-allege and incorporate herein by this reference each and
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   every allegation set forth in paragraphs 1 through 174 of this Complaint as
                                      LOS ANGELES, CA 90025




                                                                            13   though set forth fully herein.
                                                                            14         176. California has defined nuisance as
                                                                            15                [a]nything which is injurious to health, including, but not
                                                                                              limited to, the illegal sale of controlled substances, or is
                                                                            16                indecent or offensive to the senses, or an obstruction to
                                                                                              the free use of property, so as to interfere with the
                                                                            17                comfortable enjoyment of life or property, or unlawfully
                                                                                              obstructs the free passage or use, in the customary
                                                                            18                manner, of any navigable lake, or river, bay, stream,
                                                                                              canal, or basin, or any public park, square, street, or
                                                                            19                highway, is a nuisance.
                                                                            20         Cal. Civ. Code § 3479.
                                                                            21         177. A nuisance cause of action “is plainly aimed at protecting the public
                                                                            22   from the hazards created by public nuisances.” People v. ConAgra Grocery
                                                                            23   Prod. Co., 17 Cal. App. 5th 51, 136 (2017). In addition to health and safety
                                                                            24   hazards, “[a] reduction in property values caused by activities on a . . . piece of
                                                                            25   land, and an assault on the senses by noise, dust, and odors, are just the kinds of
                                                                            26   harm that common law suits to abate a nuisance are designed to redress.” Solid
                                                                            27   Waste Agency of N. Cook Cty. v. U.S. Army Corps of Eng’rs, 101 F.3d 503, 505
                                                                            28   (7th Cir. 1996). A public nuisance is the substantial and unreasonable

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                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES               Document 361 Filed 11/01/21        Page 101 of 113 Page
                                                                                                              ID #:9348


                                                                             1   interference with a public right. San Diego Gas & Elec. Co. v. Superior Court,
                                                                             2   13 Cal. 4th 893, 938-39 (1996).
                                                                             3         178. As described above, the City, by its failure to maintain the public
                                                                             4   property under its control, and to enforce the laws requiring the same, is
                                                                             5   perpetuating and facilitating nuisance violations.
                                                                             6         179. All Plaintiffs have experienced a substantial and unreasonable
                                                                             7   interference with the enjoyment of their property, whether that be a building
                                                                             8   owned or room rented; each have suffered and continue to be threatened with
                                                                             9   respect to their health and welfare, by reason of the constant threat of disease and
                                                                            10   the experience of human waste, trash, and encampments outside their property.
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                                                                            11         180. Each plaintiff and Alliance member has been damaged in his or her
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                                  1990 SOUTH BUNDY DR., SUITE 705




                                                                            12   own right, in a manner specially injurious to him or herself. No plaintiff or
                                      LOS ANGELES, CA 90025




                                                                            13   Alliance member consented to defendants’ conduct.
                                                                            14                           FOURTH CAUSE OF ACTION
                                                                            15            Violation of Cal. Civ. Code § 3501, et seq. (Private Nuisance)
                                                                            16                                (Against all Defendants)
                                                                            17         181. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                            18   every allegation set forth in paragraphs 1 through 180 of this Complaint as
                                                                            19   though set forth fully herein.
                                                                            20         182. Each Plaintiff and Alliance member identified owns, leases,
                                                                            21   occupies, or otherwise controls all or a portion of the home or business identified.
                                                                            22   By Defendants’ actions and inactions, each has created a condition or permitted a
                                                                            23   condition to exist that is harmful to the health, indecent and offensive to the
                                                                            24   senses, obstructs the free passage and use of public parks, squares, streets,
                                                                            25   highway, and sidewalks, permits unlawful sales of illicit narcotics, and
                                                                            26   constitutes a fire hazard, as described supra.
                                                                            27         183. Defendants’ conduct has been and is intentional and unreasonable,
                                                                            28   unintentional but negligent or reckless, and/or the condition permitted to exist

                                                                                                               101
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES               Document 361 Filed 11/01/21       Page 102 of 113 Page
                                                                                                              ID #:9349


                                                                             1   was the result of abnormally dangerous activity which substantially interfered
                                                                             2   with each plaintiff’s and Alliance member’s use or enjoyment of his or her land
                                                                             3   that an ordinary person would reasonably be annoyed or disturbed by. No
                                                                             4   plaintiff or Alliance member consented to Defendants’ conduct; each was
                                                                             5   harmed, Defendants’ conduct was a substantial factor in causing the harm, and
                                                                             6   the seriousness of the harm outweighs any public benefit of such conduct (which
                                                                             7   is none).
                                                                             8         184. Plaintiffs seek no damages hereunder and submit this claim for
                                                                             9   equitable and injunctive relief only. As such neither the City nor County are
                                                                            10   entitled to any claims of immunity pursuant to California Government Code
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   section 814.
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                                                                            12                             FIFTH CAUSE OF ACTION
                                      LOS ANGELES, CA 90025




                                                                            13                    Inverse Condemnation/Cal. Const. art. I § 19
                                                                            14                  (Plaintiffs Alliance, Burk, and Frem against City)
                                                                            15         185. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                            16   every allegation set forth in paragraphs 1 through 184 of this Complaint as
                                                                            17   though set forth fully herein.
                                                                            18         186. California Constitution, article I § 19 provides in relevant part:
                                                                            19   “Private property may be taken or damaged for a public use and only when just
                                                                            20   compensation, ascertained by a jury unless waived, has first been paid to, or into
                                                                            21   court for, the owner.” The actions by the City have limited, damaged, and/or
                                                                            22   burdened the owners’ property and/or business so substantially they rise to the
                                                                            23   level of a regulatory taking, yet no compensation has been provided.
                                                                            24
                                                                            25   ///
                                                                            26   ///
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                                                                                                                102
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES               Document 361 Filed 11/01/21         Page 103 of 113 Page
                                                                                                              ID #:9350


                                                                             1                             SIXTH CAUSE OF ACTION
                                                                             2                        Waste of Public Funds and Resources
                                                                             3                              Cal. Civ. Proc. Code § 526a
                                                                             4                                (Against All Defendants)
                                                                             5         187. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                             6   every allegation set forth in paragraphs 1 through 186 of this Complaint as
                                                                             7   though set forth fully herein.
                                                                             8         188. California Code of Civil Procedure section 526a permits private
                                                                             9   individuals or entities to bring an action to “obtain a judgment, restraining and
                                                                            10   preventing any illegal expenditure of, waste of, or injury to, the estate, funds, or
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                                                                            11   other property of a local agency.”
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                                                                            12         189.    Plaintiffs and Alliance members, each of them, are residents of the
                                      LOS ANGELES, CA 90025




                                                                            13   City of Los Angeles and/or County of Los Angeles and/or own property and/or
                                                                            14   businesses therein and pay income tax, sales tax, property tax, and/or business
                                                                            15   license taxes and therefore having standing to bring an action under section 526a.
                                                                            16         190. As described more fully supra, taxpayer funds have been misused
                                                                            17   and wasted by the City and County of Los Angeles, such they are incapable of
                                                                            18   achieving the ostensible goal of addressing the homelessness crisis in any
                                                                            19   significant way, much less “ending” it. Such expenditures, particularly when
                                                                            20   taken in the aggregate, cost several factors more than alternative available
                                                                            21   measures which are demonstrably effective in addressing the crisis.
                                                                            22         191. Proposition HHH and Measure H were promoted and passed by the
                                                                            23   electorate to address the homelessness crisis in a comprehensive and effective
                                                                            24   way. Instead, homelessness has steadily increased in this City and County.
                                                                            25         192. As detailed above the City and the County have spent enormous
                                                                            26   amounts of public funds on the homelessness crisis in ways that have had little or
                                                                            27   no effect on the crisis, and thereby wasted those public funds.
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                                                                                                               103
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES                 Document 361 Filed 11/01/21        Page 104 of 113 Page
                                                                                                                ID #:9351


                                                                             1         193. Plaintiffs seek no damages hereunder and submit this claim for
                                                                             2   equitable and injunctive relief only. As such neither the City nor County are
                                                                             3   entitled to any claims of immunity pursuant to California Government Code
                                                                             4   section 814.
                                                                             5                            SEVENTH CAUSE OF ACTION
                                                                             6                      Violation of California Disabled Persons Act
                                                                             7                                 Cal. Civ. Code § 54, et seq
                                                                             8       (Plaintiffs Van Scoy and Suarez Against Defendant City and County)
                                                                             9         194. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                            10   every allegation set forth in paragraphs 1 through 193 of this Complaint as
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   though set forth fully herein.
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                                                                            12         195. California’s Disabled Persons Act codifies requirements that ensure
                                      LOS ANGELES, CA 90025




                                                                            13   equal and full access to individuals with disabilities. That Act provides, in part:
                                                                            14
                                                                                                Individuals with disabilities or medical conditions have
                                                                            15                  the same right as the general public to the full and free
                                                                                                use of the streets, highways, sidewalks, walkways, public
                                                                            16                  buildings, medical facilities, including hospitals, clinics,
                                                                                                and physicians’ offices, public facilities, and other public
                                                                            17                  places.
                                                                            18         Cal. Civ. Code § 54 (a).
                                                                            19                  Individuals with disabilities shall be entitled to full and
                                                                            20                  equal access, as other members of the general public, to
                                                                                                accommodations, advantages, facilities, medical
                                                                            21                  facilities, including hospitals, clinics, and physicians’
                                                                            22                  offices . . . and other places to which the general public is
                                                                                                invited, subject only to the conditions and limitations
                                                                            23                  established by law, or state or federal regulation, and
                                                                            24                  applicable alike to all persons.
                                                                            25         Cal. Civ. Code § 54.1(a)(1).
                                                                            26
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                                                                                                                 104
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES                Document 361 Filed 11/01/21        Page 105 of 113 Page
                                                                                                               ID #:9352


                                                                             1          196. As detailed above, Plaintiffs Charles Van Scoy and Leandro Suarez
                                                                             2   are individuals with disabilities as defined by the Disabled Persons Act, and are
                                                                             3   being denied full and equal access to places to which the general public is
                                                                             4   invited, including “free and full use” of public sidewalks, by the policies and
                                                                             5   practices of the City of Los Angeles, including its failure to regularly maintain its
                                                                             6   sidewalks in a manner which permits wheelchair-bound individuals “full and free
                                                                             7   use” thereof.
                                                                             8          197. Plaintiffs seek no damages hereunder and submit this claim for
                                                                             9   equitable and injunctive relief only. As such neither the City nor County are
                                                                            10   entitled to any claims of immunity pursuant to California Government Code
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   section 814.
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                                                                            12                            EIGHTH CAUSE OF ACTION
                                      LOS ANGELES, CA 90025




                                                                            13              Violation of Title II of the Americans with Disabilities Act
                                                                            14                                42 U.S.C. § 12131, et seq.
                                                                            15       (Plaintiffs Van Scoy and Suarez against Defendants City and County)
                                                                            16          198. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                            17   every allegation set forth in paragraphs 1 through 197 of this Complaint as
                                                                            18   though set forth fully herein.
                                                                            19          199. The Americans with Disabilities Act (“ADA”) provides that people
                                                                            20   with disabilities be afforded “the full and equal enjoyment of the goods, services,
                                                                            21   facilities, privileges, advantages, or accommodations of any place of public
                                                                            22   accommodation …” 42 U.S.C. § 12182(a). Further, the ADA ensures that
                                                                            23   transportation facilities are constructed to a set of standards that ensures
                                                                            24   accessibility for the disabled. Sidewalks are the most common element of
                                                                            25   transportation infrastructure, yet if they are not accessible, they pose great
                                                                            26   challenges and dangers to anyone in a wheelchair or who has other mobility
                                                                            27   restrictions.
                                                                            28

                                                                                                                 105
                                                                                                 AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES                Document 361 Filed 11/01/21          Page 106 of 113 Page
                                                                                                               ID #:9353


                                                                             1         200. Sidewalks are subject to the access requirements of Title II of the
                                                                             2   ADA and § 504 of the Rehabilitation Act. 42 U.S.C. § 12101(1); Willits, 925 F.
                                                                             3   Supp. 2d at 1093 (“Any public sidewalk over which the City of Los Angeles has
                                                                             4   responsibility to inspect and notify property owners of repair needs is a ‘program,
                                                                             5   service, or activity’ within the meaning of Title II of the Americans with
                                                                             6   Disabilities Act and Section 504 of the Rehabilitation Act of 1973.”).
                                                                             7   Accordingly, sidewalk width requirements ensure that sidewalks are accessible
                                                                             8   for use by wheelchair-bound individuals.
                                                                             9         201. The minimum width for an ADA-compliant sidewalk is 36 inches.
                                                                            10   36 C.F.R. § 1191, app. D, § 403.5.1 (2014) (“the clear width of walking surfaces
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                                                                            11   shall be 36 inches (915 mm) minimum”). Where obstructions such as telephone
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                                                                            12   poles, traffic signal cabinets, or other utilities exist, the sidewalk must be
                                      LOS ANGELES, CA 90025




                                                                            13   constructed to allow the minimum width requirement of 36 inches between the
                                                                            14   edge of the obstruction and the edge of the sidewalk. Id. “A public entity shall
                                                                            15   maintain in operable working condition those features of facilities and equipment
                                                                            16   that are required to be readily accessible to and usable by persons with
                                                                            17   disabilities by the Act or this part.” 28 C.F.R § 35.133(a) (2011).
                                                                            18         202. Throughout Los Angeles, the City and County are failing to uphold
                                                                            19   their obligations to maintain clear and accessible sidewalks and public rights-of-
                                                                            20   way for its disabled residents and visitors, resulting in regular violations of the
                                                                            21   Americans with Disabilities Act. These ADA violations are obvious and known
                                                                            22   to the City and County both through its own inspections and various reports of
                                                                            23   blocked sidewalks due to encampments through its own reporting mechanisms,
                                                                            24   such as 311. Defendants and its agents and employees have failed and continue
                                                                            25   to fail to provide reasonable accommodations for disabled persons using public
                                                                            26   sidewalks.
                                                                            27         203. Defendants are obligated to operate the “service, program, or
                                                                            28   activity” “so that . . ., when viewed in its entirety, it is readily accessible to and

                                                                                                                106
                                                                                                AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES                Document 361 Filed 11/01/21        Page 107 of 113 Page
                                                                                                               ID #:9354


                                                                             1   useable by individuals with disabilities. 28 C.F.R. § 35.150(a) (2012). Yet when
                                                                             2   “viewed in its entirety” public rights-of-way are not provided by Defendants to
                                                                             3   be “readily accessible to and useable” by individuals bound to wheelchairs.
                                                                             4         204. The discrimination and denial of access to the City’s rights-of-way
                                                                             5   for persons with disabilities is the direct result of Defendants’ policies and
                                                                             6   practices of deliberately permitting encampments to proliferate, particularly in
                                                                             7   certain areas such as Skid Row or on Venice Blvd under the 405 freeway, and the
                                                                             8   failure to adopt or implement any adequate procedure for regularly inspecting
                                                                             9   and maintaining the pedestrian rights-of-way clear of obstructions.
                                                                            10         205. As a direct and proximate result of the aforementioned acts,
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                                                                            11   including but not limited to Defendants’ deliberate indifference to the violation of
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                                                                            12   Mr. Van Scoy and CPO Suarez’s federally protected rights, both have suffered
                                      LOS ANGELES, CA 90025




                                                                            13   pain, humiliation, hardship, anxiety, indignity, and severe mental and emotional
                                                                            14   anguish. This causes each of them to be deprived of their independence and
                                                                            15   prevents each from accessing the services and benefits of public establishments.
                                                                            16         206. Pursuant to 42 U.S.C. § 12133, Plaintiffs Van Scoy and Suarez are
                                                                            17   entitled to recover compensatory damages and reasonable attorneys’ fees and
                                                                            18   costs incurred in bringing this action.
                                                                            19                             NINTH CAUSE OF ACTION
                                                                            20                  Violation of Section 504 of the Rehabilitation Act
                                                                            21                                    29 U.S.C. § 791 et seq.
                                                                            22       (Plaintiffs Van Scoy and Suarez against Defendants City and County)
                                                                            23         207. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                            24   every allegation set forth in paragraphs 1 through 206 of this Complaint as
                                                                            25   though set forth fully herein.
                                                                            26         208. Section 504 of the Rehabilitation Act of 1973 provides in relevant
                                                                            27   part: “[N]o otherwise qualified individual with a disability. . . shall, solely by
                                                                            28   reason of his or her disability, be excluded from the participation in, be denied

                                                                                                               107
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES                  Document 361 Filed 11/01/21      Page 108 of 113 Page
                                                                                                                 ID #:9355


                                                                             1   the benefits of, or be subjected to discrimination under any program or activity
                                                                             2   receiving Federal financial assistance. . .” 29 U.S.C. § 794(a) (2016).
                                                                             3         209. Plaintiffs are otherwise qualified to participate in the services,
                                                                             4   programs, or activities that are provided to individuals in the City. The City is a
                                                                             5   recipient of federal financial assistance and therefore subject to Section 504.
                                                                             6   Upon information and belief, Defendants and their agents and employees have
                                                                             7   and continue to violate Section 504 of the Rehabilitation Act by excluding
                                                                             8   Plaintiffs Van Scoy and Suarez from participation in, denying them the benefits
                                                                             9   of, and subjecting them to discrimination regarding the benefits and services
                                                                            10   involved in utilizing public rights-of-way based solely on their disability
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                                                                            11         210. Upon information and belief, said discrimination occurred with
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                                                                            12   deliberate intent and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an
                                      LOS ANGELES, CA 90025




                                                                            13   award of compensatory damages, injunctive relief, and the cost of attorneys’ fees
                                                                            14   in bringing this action.
                                                                            15                              TENTH CAUSE OF ACTION
                                                                            16                    Violation of Due Process and Equal Protection
                                                                            17                     42 U.S.C. § 1983; U.S. Const. amend. V/XIV
                                                                            18                                 (Against all Defendants)
                                                                            19         211. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                            20   every allegation set forth in paragraphs 1 through 210 of this Complaint as
                                                                            21   though set forth fully herein.
                                                                            22         212. Defendants, by enforcing the law in some areas and declining to
                                                                            23   enforce the law in others, and by abdicating their duties under the law, have
                                                                            24   arbitrarily determined where homeless encampments may or may not be located
                                                                            25   and what communities should be affected, without following their own respective
                                                                            26   procedures and in violation of both state and federal law. This has placed a
                                                                            27   disproportionate burden on some persons, communities, and businesses over
                                                                            28   others with intent to discriminate based upon geography.

                                                                                                               108
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES               Document 361 Filed 11/01/21        Page 109 of 113 Page
                                                                                                              ID #:9356


                                                                             1         213. Upon information and belief, City and County officials have within
                                                                             2   the last year affirmatively notified and/or instructed homeless individuals that
                                                                             3   some areas (for example, Skid Row, certain areas in Venice, or under the 405
                                                                             4   freeway) were locations where camps would be allowed to exist and persist. This
                                                                             5   policy of allowing encampments in some areas and not others without review,
                                                                             6   public comment, vote, or other appropriate process is in direct violation of the
                                                                             7   Fifth and Fourteenth Amendments’ prohibitions against deprivation without due
                                                                             8   process and unequal protection of the law. When the City entered into the
                                                                             9   Mitchell settlement providing for the foregoing it agreed by its very terms, and
                                                                            10   implicitly, to treat a segment of the population (those living, working, and
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                                                                            11   owning property within the “Designated Area” known as Skid Row and the
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                                                                            12   surrounding blocks), including many Plaintiffs herein differently than those
                                      LOS ANGELES, CA 90025




                                                                            13   outside the “Designated Area.” The City had no rational basis for doing so.
                                                                            14         214. The homelessness crisis undisputedly has a disparate impact on
                                                                            15   Black and Brown communities. African Americans make up 38-42% of the
                                                                            16   homeless population yet represent just 8% of the total population of Los Angeles.
                                                                            17   The City and County have repeatedly made affirmative decisions and adopted
                                                                            18   policies and laws which has furthered this disparate treatment, knowing the result
                                                                            19   would have a continued and intensified disparate impact. Here the
                                                                            20   discrimination is so blatant and invidious as to infer improper discriminatory
                                                                            21   intent by race.
                                                                            22         215. Upon information and belief, this was done with deliberate intent
                                                                            23   and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an award of
                                                                            24   compensatory damages, injunctive relief, and the cost of attorneys’ fees in
                                                                            25   bringing this action.
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                                                                                                               109
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES               Document 361 Filed 11/01/21        Page 110 of 113 Page
                                                                                                              ID #:9357


                                                                             1
                                                                             2
                                                                             3                          ELEVENTH CAUSE OF ACTION
                                                                             4        Violation of Due Process Clause (State-Created Danger and Special
                                                                             5                                Relationship Doctrines)
                                                                             6                       42 U.S.C. § 1983; U.S. Const. Amend. 14
                                                                             7                        (All Plaintiffs against All Defendants)
                                                                             8         216. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                             9   every allegation set forth in paragraphs 1 through 215 of this Complaint as
                                                                            10   though set forth fully herein.
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                                                                            11         217. By the acts and omissions described above, Defendants have
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                                                                            12   affirmatively created or increased the risk that Plaintiffs would be exposed to
                                      LOS ANGELES, CA 90025




                                                                            13   dangerous conditions, which placed Plaintiffs specifically at risk, and Plaintiffs
                                                                            14   were harmed as a result. The City and County created danger to them and others
                                                                            15   like them by adopting and maintaining various policies and laws coalescing in a
                                                                            16   strategy to contain homeless people in Skid Row which specifically endangered
                                                                            17   Plaintiffs and were deliberately indifferent thereto. The City and County created
                                                                            18   a further danger by focusing nearly exclusively on so-called permanent housing
                                                                            19   options without balancing interim and emergency needs, which could not ever
                                                                            20   meet the ostensible goal, and caused more people to remain unsheltered,
                                                                            21   exacerbating or causing significant mental and physical decline at such a rate that
                                                                            22   outpaces the building and provision of such units.
                                                                            23         218. Further, the City and County have an affirmative duty to act under
                                                                            24   the Special Relationship Doctrine due to the restraint on personal liberty
                                                                            25   exercised to draw in and contain homeless individuals in and near Skid Row.
                                                                            26   Moreover, the City and County have, in all the ways described heretofore caused
                                                                            27   and/or exacerbated homelessness, have acknowledged and recognized the role
                                                                            28   each has played in the crisis, acknowledged and recognized the vulnerability of

                                                                                                               110
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES                Document 361 Filed 11/01/21       Page 111 of 113 Page
                                                                                                               ID #:9358


                                                                             1   unhoused individuals to both the criminal and natural elements, and have
                                                                             2   accepted and assumed responsibility to act to protect the rights of unhoused
                                                                             3   Plaintiffs and Alliance members, and others similarly situated.
                                                                             4         219. Defendants knew or should have known that their acts or omissions
                                                                             5   specifically endangered Plaintiffs and were deliberately indifferent thereto.
                                                                             6                           TWELFTH CAUSE OF ACTION
                                                                             7                                Uncompensated Taking
                                                                             8                    42.    U.S.C. § 1983; U.S. Const. Amend. V/XIV
                                                                             9                 (Plaintiffs Alliance, Burk, and Frem Against City)
                                                                            10         220. Plaintiffs re-allege and incorporate herein by this reference each and
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   every allegation set forth in paragraphs 1 through 219 of this Complaint as
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                                                                            12   though set forth fully herein.
                                      LOS ANGELES, CA 90025




                                                                            13         221. The Fifth Amendment mandates, in relevant part, that “private
                                                                            14   property [shall not] be taken for public use, without just compensation.” U.S.
                                                                            15   Const. amend. V. The Fifth Amendment is applied to the states through the
                                                                            16   Fourteenth Amendment. Chicago, Burlington, & Quincy R.R. Co. v. City of
                                                                            17   Chicago, 166 U.S. 226 (1897). The actions by the City, as described in detail
                                                                            18   supra, have limited, damaged, and/or burdened the property owners’ so
                                                                            19   substantially they rise to the level of a regulatory taking, yet no compensation has
                                                                            20   been provided.
                                                                            21         222. Upon information and belief, this was done with deliberate intent
                                                                            22   and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an award of
                                                                            23   compensatory damages, injunctive relief, and the cost of attorneys’ fees in
                                                                            24   bringing this action.
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                                                                                                               111
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES                Document 361 Filed 11/01/21        Page 112 of 113 Page
                                                                                                               ID #:9359


                                                                             1                        THIRTEENTH CAUSE OF ACTION
                                                                             2   Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)
                                                                             3                                (Against All Defendants)
                                                                             4         223. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                             5   every allegation set forth in paragraphs 1 through 222 of this Complaint as
                                                                             6   though set forth fully herein.
                                                                             7         224. Plaintiffs are informed, believe and allege that, at all times herein
                                                                             8   mentioned, Defendants City of Los Angeles and County of Los Angeles and their
                                                                             9   respective agents, with deliberate indifference, and conscious and reckless
                                                                            10   disregard to the safety, security, and constitutional and statutory rights of
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                            11   Plaintiffs, engaged in the unconstitutional conduct and omissions set forth above,
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                                                                            12   all pursuant to policy, procedure, or customs held by the City and County of Los
                                      LOS ANGELES, CA 90025




                                                                            13   Angeles.
                                                                            14         225. The actions and inactions of the City of Los Angeles and County of
                                                                            15   Los Angeles were known or should have been known to the policy makers
                                                                            16   responsible for that agency and occurred with deliberate indifference to the
                                                                            17   constitutional violations set forth above, and/or to the strong likelihood that
                                                                            18   constitutional rights would be violated as a result of its customs and/or policies.
                                                                            19         226. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                            20   and the cost of attorneys’ fees in bringing this action.
                                                                            21         WHEREFORE, Plaintiffs pray for judgment against all Defendants, and
                                                                            22   each of them, as more fully set forth below.
                                                                            23                            VI.     PRAYER FOR RELIEF
                                                                            24         Plaintiffs pray for judgment against Defendants as follows:
                                                                            25         1.     Injunctive/equitable relief in a manner to be determined by law;
                                                                            26         2.     As to the federal claims and claims under the California constitution
                                                                            27   only, compensatory damages and other special, general and consequential
                                                                            28   damages according to proof;

                                                                                                               112
                                                                                               AMENDED AND SUPPLEMENTAL COMPLAINT
                                                                Case 2:20-cv-02291-DOC-KES        Document 361 Filed 11/01/21        Page 113 of 113 Page
                                                                                                       ID #:9360


                                                                             1   3.    An award of costs of suit, including attorneys’ fees; and
                                                                             2   4.    Such other and further relief as this Court deems just and proper.
                                                                             3                  VII. DEMAND FOR JURY TRIAL
                                                                             4   Plaintiffs hereby demand a jury trial.
                                                                             5
                                                                             6   Dated: November 1, 2021          /s/ Elizabeth A. Mitchell
                                                                                                                    SPERTUS, LANDES & UMHOFER, LLP
                                                                             7                                      Matthew Donald Umhofer (SBN 206607)
                                                                                                                    Elizabeth A. Mitchell (SBN 251139)
                                                                             8
                                                                             9                                            Attorneys for Plaintiffs
                                                                            10
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




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                                      LOS ANGELES, CA 90025




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